                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


SAM HADAWAY,

            Plaintiff,

      v.                                        Case No. 2:19-cv-01106-PP

CITY OF MILWAUKEE, et al.,

            Defendants.




                                Exhibit 4




    Case 2:19-cv-01106-PP Filed 03/20/24 Page 1 of 249 Document 119-4
    BROWN & JONES REPORTING, INC.

                   IN THE UNITED STATES DISTRICT COURT

                 FOR THE EASTERN DISTRICT OF WISCONSIN

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        SAM HADAWAY,


                         Plaintiff,


               -vs-                                Case No. 19-cv-1106


        CITY OF MILWAUKEE, et al.,


                         Defendants.

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                         Video examination of CARL BUSCHMANN,

        taken at the instance of the Plaintiff, under and

        pursuant to the Federal Rules of Civil Procedure,

        before SAMANTHA J. SHALLUE, a Registered Professional

        Reporter and Notary Public in and for the State of

        Wisconsin, at Brown & Jones Reporting, Inc., 735

        North Water Street, Suite M185, Milwaukee, Wisconsin,

        on April 7, 2021, commencing at 10:11 a.m. and

        concluding at 4:19 p.m.




                            735 North Water Street, Suite M185
                                  Milwaukee, WI 53202
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                                            224-9533
                                      (800) 456-9531
                       CARL BUSCHMANN, 04/07/2021                   2


 1                        A P P E A R A N C E S

 2      LOEVY & LOEVY, by
        MS. HEATHER LEWIS DONNELL,
 3      311 North Aberdeen, 3rd Floor,
        Chicago, Illinois 60607,
 4      appeared on behalf of the Plaintiff.

 5      CITY OF MILWAUKEE,
        OFFICE OF CITY ATTORNEY, by
 6      MS. NAOMI E. GEHLING,
        200 East Wells Street, Room 800,
 7      Milwaukee, Wisconsin 53202,
        appeared on behalf of the Defendants.
 8

 9                       A L S O     P R E S E N T

10      MS. KRISTEN WILLIAMS, City of Milwaukee.
        MR. JON HANSEN, Videographer.
11

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            1                          TRANSCRIPT OF PROCEEDINGS

10:11:37    2                        THE VIDEOGRAPHER:     Good morning.       We

10:11:38    3            are on the record.     The time is 10:11.      Today's

10:11:43    4            date, April 7, 2021.     This is Media No. 1 of

10:11:47    5            the deposition of Carl Buschmann.

10:11:49    6                        This deposition is being taken in the

10:11:51    7            matter of Sam Hadaway versus City of Milwaukee,

10:11:57    8            United States District Court for the Eastern

10:11:58    9            District of Wisconsin, Case No. 19-cv-01106.

10:12:04   10                        This deposition is taking place at

10:12:08   11            735 Water Street, Milwaukee, Wisconsin.

10:12:11   12                        My name is Jon Hansen, CLVS, and I'm

10:12:15   13            the videographer with Brown & Jones.

10:12:18   14                        At this time if counsel could state

10:12:20   15            their appearance, after which our reporter will

10:12:21   16            swear in the witness and we can proceed.

10:12:21   17                        MS. DONNELL:    Good morning.    Heather

10:12:23   18            Lewis Donnell, D-O-N-N-E-L-L, on behalf of the

10:12:26   19            plaintiff, Sam Hadaway.

10:12:27   20                        MS. GEHLING:    Good morning.

10:12:29   21            Assistant City Attorney Naomi Gehling, G, as in

10:12:34   22            "girl," -E-H-L-I-N-G, on behalf of the

10:12:36   23            defendants.    With me today is Kristen Williams,

10:12:40   24            regular spelling, my paralegal.

10:12:40   25                        CARL BUSCHMANN, called as a witness



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10:12:40    1            herein, having been first duly sworn on oath,

10:12:48    2            was examined and testified as follows:

10:12:48    3                                 EXAMINATION

10:12:48    4      BY MS. DONNELL:

10:12:51    5      Q     Good morning, Mr. Buschmann.       How are you?

10:12:56    6      A     Fine.

10:12:57    7      Q     I know you've been deposed before, but just for

10:13:00    8            a reminder, if you don't understand one of my

10:13:02    9            questions, please let me know.       I'm happy to

10:13:04   10            say it again or rephrase it, okay?

10:13:06   11      A     Okay.

10:13:06   12      Q     If I -- if you answer one of my questions, I'm

10:13:08   13            going to assume that you understood it.         Fair?

10:13:10   14      A     Fair.

10:13:11   15      Q     If at any point you need to take a break, let

10:13:16   16            me know.    I'm happy to accommodate that.       I

10:13:19   17            just ask that you answer any question that's

10:13:22   18            pending before we take a break, okay?

10:13:24   19      A     Okay.

10:13:24   20      Q     All right.    Did you meet with your attorney to

10:13:29   21            prepare for your deposition today?

10:13:30   22      A     Yes.

10:13:30   23      Q     I don't want to know about the communications

10:13:33   24            you had with her, but I'm going to ask you some

10:13:35   25            questions about those meetings, okay?



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10:13:37    1      A     Sure.

10:13:38    2      Q     Was there more than one meeting?

10:13:40    3      A     No.

10:13:40    4      Q     Who was present for the meeting you had other

10:13:45    5            than you and Ms. Gehling?

10:13:49    6      A     The paralegal.

10:13:50    7      Q     Is that Ms. Williams who's also present here

10:13:54    8            today?

10:13:54    9      A     Yes.    James DeValkenaere and Robert Simons.

10:14:02   10      Q     When was the meeting that you had with

10:14:05   11            Ms. Gehling, Ms. Williams, Mr. DeValkenaere,

10:14:10   12            and Mr. Simons?

10:14:11   13      A     A couple weeks ago.

10:14:12   14      Q     How long was that meeting for?

10:14:17   15      A     About an hour.

10:14:18   16      Q     Where was it?

10:14:22   17      A     In Gehling's office.

10:14:27   18      Q     At the City Attorney's Office in Milwaukee?

10:14:30   19      A     Yes.

10:14:30   20      Q     During that approximately one-hour meeting that

10:14:37   21            you had a couple weeks ago with Ms. Gehling and

10:14:41   22            the other defendants and Ms. Williams, did you

10:14:43   23            look at any documents?

10:14:44   24      A     Yes.

10:14:45   25      Q     What documents did you look at?



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10:14:50    1      A     I looked at Hadaway's statement that he gave to

10:14:56    2            me, I looked at the statements he gave to the

10:15:01    3            previous detectives, and some reports that were

10:15:06    4            filed by other detectives regarding

10:15:10    5            Mr. Hadaway.

10:15:10    6      Q     The first document you mentioned, Mr. Hadaway's

10:15:19    7            statement, was that a handwritten statement?

10:15:22    8      A     Yes.

10:15:23    9      Q     And was that in your handwriting?

10:15:24   10      A     Yes.

10:15:25   11      Q     Okay.   Did you also look at your supplementary

10:15:33   12            report that went along with the statement that

10:15:35   13            Mr. Hadaway gave?

10:15:36   14      A     No.

10:15:36   15      Q     You also said that you looked at statements

10:15:38   16            that Mr. Hadaway had provided to other

10:15:41   17            detectives; is that right?

10:15:42   18      A     Yes.

10:15:42   19      Q     Were those handwritten statements?

10:15:45   20      A     Yes.

10:15:46   21      Q     Did you read any supplementary reports

10:15:50   22            pertaining or correlating with those

10:15:52   23            handwritten statements Mr. Hadaway provided to

10:15:54   24            detectives prior to your interaction with him?

10:15:57   25      A     No.



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10:15:57    1      Q     And then you mentioned some -- some police

10:16:06    2            reports by other detectives; is that right?

10:16:08    3      A     Yes.

10:16:09    4      Q     Were those police reports -- well, strike that.

10:16:15    5                        Do you remember anything about who

10:16:17    6            those reports were by or what they were

10:16:20    7            documenting?

10:16:20    8      A     One was by Detective Cameo Barbian-Gayan, and

10:16:29    9            the other one was Detective Katherine Hein.

10:16:34   10      Q     And with respect to the -- those are

10:16:38   11            supplementary reports, both of them; is that

10:16:41   12            right?

10:16:41   13      A     Yes.

10:16:41   14      Q     Regarding the first supplementary report that

10:16:45   15            you reviewed at your meeting to prepare for

10:16:47   16            your deposition by Cameo Barbian-Gayan, what

10:16:50   17            subject matter did that report pertain to?

10:16:52   18      A     The statement that Hadaway had given to me.

10:17:03   19      Q     And how about the -- anything else that you

10:17:10   20            remember about the supplementary report that

10:17:14   21            Cameo Barbian had prepared?

10:17:14   22      A     She asked him about there possibly being a

10:17:21   23            fourth person with them.

10:17:22   24      Q     And anything else you recall about that report?

10:17:24   25      A     No.



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10:17:25    1      Q     Okay.   How about the one by Detective Katherine

10:17:36    2            Hein?   What do you recall about that

10:17:37    3            supplementary report?

10:17:39    4      A     I know that was regarding Hadaway's meeting

10:17:42    5            with Chaunte Ott's attorney and reviewing his

10:17:47    6            statement to Milwaukee police detectives.

10:17:53    7      Q     Anything else?

10:18:00    8      A     No.

10:18:01    9      Q     Other than the handwritten statements you

10:18:04   10            reviewed of Mr. Hadaway that you've identified

10:18:07   11            and the supplementary report by Detective Cameo

10:18:12   12            Barbian and Detective Hein, any other documents

10:18:14   13            that you recall reviewing during your meeting

10:18:17   14            with your attorney to prepare for your

10:18:18   15            deposition today?

10:18:19   16      A     No.

10:18:19   17      Q     Did you review any of the statements provided

10:18:26   18            by Mr. Richard Gwin?

10:18:29   19      A     No.

10:18:29   20      Q     Do you recall the individual by the name of

10:18:34   21            Richard Gwin who was spoken to during the Payne

10:18:37   22            investigation?

10:18:38   23      A     Yes.

10:18:39   24      Q     Did you review any of your deposition testimony

10:18:52   25            that you gave in the Ott versus City of Chicago



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10:18:56    1            [sic] civil case?

10:18:57    2      A     I did not.

10:18:58    3      Q     Did you look at any photographs from the Payne

10:19:03    4            homicide investigation?

10:19:04    5      A     No.

10:19:05    6      Q     Did you look at the medical examiner's report

10:19:11    7            or toxicology report?

10:19:13    8      A     No.

10:19:13    9      Q     Okay.   Okay.    The last time that I spoke to you

10:19:33   10            or met you was back in 2012, I believe, in the

10:19:38   11            Ott matter, and at that point you were employed

10:19:40   12            with the district attorney's office as an

10:19:43   13            investigator and had been for approximately

10:19:45   14            four years.     Does that sound right to you?

10:19:47   15      A     Yes.

10:19:47   16      Q     Are you still employed as an investigator with

10:19:50   17            the district attorney's office?

10:19:51   18      A     I am not.

10:19:52   19      Q     When did you stop working for the district

10:19:55   20            attorney's office?

10:19:56   21      A     I retired in March of 2018.

10:20:00   22      Q     Are you employed in any capacity now?

10:20:06   23      A     No.

10:20:06   24      Q     So you're fully retired?

10:20:09   25      A     Yes.



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10:20:09    1      Q     Did you work for the DA's office for about a

10:20:22    2            ten-year period of time?

10:20:24    3      A     Just short of 12 years.

10:20:26    4      Q     Oh, just short of 12 years.       Okay.   And was

10:20:33    5            that always in the capacity as an investigator?

10:20:36    6      A     Yes.

10:20:37    7      Q     I guess after 2012, what were your assignments

10:20:49    8            in terms of units or special assignments with

10:20:52    9            the district attorney's office as an

10:20:54   10            investigator?

10:20:55   11      A     I was assigned to the witness protection unit.

10:20:58   12      Q     And were you part of the witness protection

10:21:02   13            unit from 2012 till your retirement in 20- --

10:21:04   14            March of 2018?

10:21:06   15      A     Yes.

10:21:06   16      Q     Okay.   I'm going to briefly go over your

10:21:19   17            employment history with the Milwaukee Police

10:21:21   18            Department, okay?

10:21:22   19      A     Yes.

10:21:22   20      Q     You started as a police cadet or police intern?

10:21:28   21      A     Police aide.

10:21:29   22      Q     Police aide.     I'm sorry.    Different agencies

10:21:32   23            have different terms for it, but basically you

10:21:34   24            started at the age of, was it, 19?

10:21:37   25      A     19.



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10:21:37    1      Q     And you had had family members as part of the

10:21:41    2            department before you, right?

10:21:42    3      A     Yes.

10:21:42    4      Q     Was that your uncle and your cousin?

10:21:44    5      A     Yes.

10:21:44    6      Q     Any other family members that have been part of

10:21:48    7            the Milwaukee Police Department other than you,

10:21:50    8            your uncle, and your cousin?

10:21:52    9      A     No.

10:21:52   10      Q     Okay.   And you served a total of 31 years with

10:21:57   11            the Milwaukee Police Department; is that right?

10:21:59   12      A     Yes.

10:22:00   13      Q     And what was your date of being sworn in?

10:22:06   14      A     Well, when I first was hired it was August of

10:22:15   15            1975.

10:22:18   16      Q     And that was as a police aide?

10:22:20   17      A     Yes.

10:22:21   18      Q     And then when you turned 21, you became a sworn

10:22:24   19            officer?

10:22:25   20      A     Yes.

10:22:25   21      Q     So that would have been '77?

10:22:26   22      A     May of 1977.

10:22:28   23      Q     And I forget, is that before you went to the

10:22:30   24            academy or after you went to the academy that

10:22:32   25            you were sworn?



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10:22:33    1      A     I was sworn in both times, but when I was sworn

10:22:37    2            in as a police officer, it was before the

10:22:39    3            academy.

10:22:39    4      Q     Okay.   So you were sworn in in May 1977 and

10:22:43    5            then you went to the police academy?

10:22:46    6      A     Yes.

10:22:46    7      Q     Okay.   And that academy was here in Milwaukee;

10:22:52    8            is that right?

10:22:52    9      A     Yes.

10:22:53   10      Q     Okay.   And then you were part of the patrol

10:22:59   11            division until you were promoted to the rank of

10:23:01   12            detective in April 1991; is that right?

10:23:04   13      A     Yes.

10:23:04   14      Q     And you'll have to remind me.       Did you have to

10:23:10   15            take a test to become a detective at that time?

10:23:13   16      A     Yes.

10:23:13   17      Q     And you took the -- how many times did you take

10:23:16   18            the test to become a detective?

10:23:18   19      A     One time.

10:23:18   20      Q     And then you retired at the rank of detective,

10:23:25   21            correct?

10:23:25   22      A     Yes.

10:23:26   23      Q     And you never sought to -- did you ever seek to

10:23:29   24            be promoted?

10:23:30   25      A     No.



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10:23:30    1      Q     Okay.   Now, your time at the Criminal

10:23:43    2            Investigative Bureau -- that's the name for the

10:23:46    3            detective division while you were there?

10:23:48    4      A     Yes.

10:23:48    5      Q     Okay.   And is it -- did it -- was it called

10:23:51    6            "CIB" for short?

10:23:52    7      A     Yes.

10:23:52    8      Q     Okay.   So if I use the term "CIB," you'll know

10:23:56    9            what I'm referring to?

10:23:57   10      A     Yes.

10:23:58   11      Q     Okay.   Oh, what was your date of retirement?

10:24:05   12            I'm sorry.    I forgot to ask that.

10:24:07   13      A     June of 2006.

10:24:09   14      Q     Okay.   Okay.    So from April 1991 to June 2006,

10:24:17   15            you were part of CIB, correct?

10:24:20   16      A     Yes.

10:24:20   17      Q     And you had -- it's fair to say you had various

10:24:25   18            assignments within the units of CIB over that

10:24:29   19            time period, right?

10:24:30   20      A     Yes.

10:24:30   21      Q     Okay.   I would like to -- can you describe your

10:24:32   22            assignments that you had from April 1991 till

10:24:37   23            your retirement in June 2006 at CIB?

10:24:40   24      A     I was assigned to the violent crimes unit, the

10:24:47   25            crimes against persons unit, and homicide.



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10:24:50    1      Q     And when were you assigned to -- was your first

10:25:03    2            assignment violent crimes?

10:25:05    3      A     My first assignment I would say was general

10:25:08    4            duty.   I was just learning the position.

10:25:12    5      Q     And how long were you assigned to general duty

10:25:18    6            at CIB?

10:25:19    7      A     I don't recall.

10:25:23    8      Q     Okay.   How long were you assigned to the

10:25:29    9            homicide unit?

10:25:31   10      A     Off and on, about 11 years.

10:25:35   11      Q     11 years total, but not consecutive?

10:25:40   12      A     Correct.

10:25:40   13      Q     Okay.   What was the first stint you did in the

10:25:43   14            homicide unit of CIB?

10:25:45   15      A     I don't recall the year.       It was --

10:25:57   16      Q     Oh, sorry.    The Payne investigation was, you

10:26:00   17            know, October 1995, and at that point you were

10:26:03   18            a homicide detective, right?

10:26:05   19      A     Yes.

10:26:06   20      Q     Was that the first assignment -- time you were

10:26:09   21            first assigned to homicide?

10:26:10   22      A     I probably was there maybe a year before that.

10:26:15   23      Q     Okay.   So you may have been assigned around

10:26:25   24            1994?

10:26:25   25      A     Yes.



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10:26:26    1      Q     And do you remember how long you were at

10:26:30    2            homicide during that first period of

10:26:32    3            assignment?

10:26:33    4      A     A couple years.

10:26:35    5      Q     Like, two to three years?

10:26:38    6      A     Yes.

10:26:38    7      Q     Okay.   And then where did you move after that?

10:26:42    8      A     I went to violent crimes.

10:26:47    9      Q     Can you identify for the record what kind of

10:26:50   10            crimes violent crime detectives investigated?

10:26:53   11      A     We investigate non-fatal shootings, stabbings.

10:27:01   12      Q     Is that non-fatal stabbings?

10:27:03   13      A     Yes.    We basically investigate the same things

10:27:08   14            homicide would investigate, only that our

10:27:11   15            victims survive.

10:27:13   16      Q     Is it accurate to say at this time period in

10:27:18   17            the City of Milwaukee sexual assaults were

10:27:20   18            assigned to the sensitive crime unit within

10:27:24   19            CIB?

10:27:24   20      A     Yes.

10:27:24   21      Q     So violent crimes would not include crimes of

10:27:27   22            sexual assault?

10:27:28   23      A     No.

10:27:28   24      Q     Okay.   If there was a non-fatal crime that

10:27:36   25            included a sexual assault, would it go to



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10:27:39    1            violent crimes or sensitive crimes during this

10:27:42    2            time period?

10:27:43    3      A     The initial investigation may start with

10:27:48    4            violent crimes, but I would say that it would

10:27:52    5            eventually go to sensitive crimes.

10:27:54    6      Q     Do you recall how long you were assigned to the

10:28:01    7            violent crimes unit of CIB?

10:28:04    8      A     A year.

10:28:06    9      Q     Where did you go next?

10:28:11   10      A     Crimes against persons.

10:28:13   11      Q     What kind of crimes does the crimes against

10:28:17   12            persons -- did the crimes against persons unit

10:28:19   13            at CIB investigate when you were assigned

10:28:22   14            there?

10:28:22   15      A     My assignment was to the -- they called it the

10:28:26   16            "holdup squad."     We investigated bank

10:28:29   17            robberies, armed robberies, street robberies,

10:28:35   18            and that.

10:28:37   19      Q     Thank you.    Do you recall how long you were

10:28:40   20            assigned to the crimes against persons unit?

10:28:42   21      A     Two years.

10:28:48   22      Q     Where did you go next?

10:28:50   23      A     Back to homicide.

10:28:51   24      Q     And was that for the last six years you were at

10:28:56   25            homicide?



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10:28:57    1      A     There was a -- I went back to homicide for a

10:29:06    2            couple years.     Then I had a change of shift and

10:29:10    3            went back to robberies.      Then my last four

10:29:14    4            years I finished in homicide.

10:29:15    5      Q     And what shift did you finish in homicide?

10:29:20    6      A     Day shift, 8:00 a.m. to 12:00 -- or 8:00 a.m.

10:29:26    7            to 4:00 p.m.

10:29:28    8      Q     Thank you.    You had regular partners when you

10:29:41    9            were assigned to CIB for -- or various regular

10:29:44   10            partners during that time you worked as a

10:29:47   11            detective at the Milwaukee Police Department,

10:29:49   12            correct?

10:29:49   13      A     Yes.

10:29:49   14      Q     Can you identify some of your -- who your

10:29:52   15            regular partners were?

10:29:53   16      A     Kurt Sutter, Raymond Trudell, Gary Temp, and

10:30:12   17            Jim DeValkenaere, Michael Wesolowski, and I

10:30:24   18            believe my last partner was Thomas Fischer.

10:30:27   19      Q     Thank you.    When -- of the regular partners

10:30:36   20            you've just identified, which ones of them did

10:30:39   21            you work homicides with?

10:30:41   22      A     Sutter, DeValkenaere, Temp, Wesolowski, and

10:30:53   23            Fischer.

10:30:54   24      Q     Okay.   Are you still in communication with

10:31:10   25            Michael Wesolowski, your former partner?



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10:31:13    1      A     He's deceased.

10:31:15    2      Q     Oh, he is?    I'm sorry to hear that.

10:31:18    3      A     Thank you.

10:31:19    4      Q     I deposed him.     I met him in the Ott case.          So

10:31:27    5            I'm sorry to hear that.

10:31:27    6      A     Hm-hm.

10:31:29    7      Q     How about Jim DeValkenaere?       Are you still in

10:31:32    8            contact with him?

10:31:33    9      A     No.

10:31:33   10      Q     How about Gary Temp?

10:31:36   11      A     No.

10:31:37   12      Q     How about Kurt Sutter?

10:31:40   13      A     Once a year we golf together.

10:31:43   14      Q     I want to talk to you about the cold case

10:31:58   15            squad.    Do you know what I'm talking about?

10:32:00   16      A     Yes.

10:32:00   17      Q     Okay.    Can you define -- or how would you

10:32:04   18            describe the cold case squad?

10:32:06   19      A     We would go through open homicides that had

10:32:14   20            come to a dead end and look at the cases and

10:32:19   21            see if there was anything else that may or

10:32:25   22            could have been done, and we would conduct

10:32:27   23            follow-up on those cases.

10:32:30   24      Q     The -- the cold case squad, it came into

10:32:38   25            existence for the first time as part of the



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10:32:41    1            detective -- well, strike that.

10:32:42    2                         Was the cold case squad just

10:32:46    3            pertaining to homicides?

10:32:47    4      A     Yes.

10:32:47    5      Q     Okay.   And when the cold case squad first came

10:32:50    6            into existence, that was right at or shortly

10:32:53    7            before the time of the Payne homicide in

10:32:54    8            October '95, right?

10:32:56    9      A     Yes.

10:32:56   10      Q     And you were one of the first members of that

10:32:59   11            cold case squad?

10:33:01   12      A     Yes.

10:33:01   13      Q     Along with Jim DeValkenaere?

10:33:03   14      A     Yes.

10:33:03   15      Q     Gary Temp?

10:33:04   16      A     Yes.

10:33:04   17      Q     And is it Eric Moore?

10:33:07   18      A     Yes.

10:33:07   19      Q     Okay.   Was that the total of the first

10:33:11   20            iteration of the cold case squad?

10:33:12   21      A     As I recall, yes.

10:33:14   22      Q     How -- and is it fair to say that you were

10:33:16   23            assigned -- all of those four were assigned to

10:33:19   24            the -- detectives were assigned to the cold

10:33:21   25            case squad, but you would also have assignments



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10:33:25    1            on active homicides that weren't cold

10:33:28    2            simultaneously with your cold case assignments?

10:33:31    3      A     As I recall, if we were needed, we could go to

10:33:34    4            other assignments, yes.

10:33:34    5      Q     Okay.    But your involvement -- is it accurate

10:33:36    6            to say that your involvement on the Payne

10:33:38    7            homicide was you got assigned to it as part of

10:33:42    8            your initial cold case investigations?

10:33:45    9      A     Yes, we -- we took on that case.

10:33:48   10      Q     Okay.    Was that the first case you and Jim

10:33:51   11            DeValkenaere took on as a cold case squad case?

10:33:54   12      A     I don't recall.

10:33:55   13      Q     Okay.    But it was at least one of the very

10:33:57   14            first?

10:33:58   15      A     Yes.

10:33:58   16      Q     Who -- sorry.     Who determined or made the

10:34:07   17            assignments to look into certain cold cases?

10:34:11   18            Was it you as the detectives or one of your

10:34:14   19            supervisors?

10:34:14   20      A     We -- we chose the cases we wanted to look at.

10:34:18   21      Q     So you, Jim DeValkenaere, Eric Moore, and Gary

10:34:24   22            Temp would decide the cases you wanted to work

10:34:27   23            on?

10:34:27   24      A     Yes.

10:34:27   25      Q     Okay.    Would you have to get a supervisor's



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10:34:30    1            approval?

10:34:31    2      A     We would touch base with a supervisor to let

10:34:35    3            him know what we were doing.

10:34:37    4      Q     I'm sorry.    For the selection of what case you

10:34:40    5            were going to investigate as a cold case, did

10:34:43    6            you have to get a supervisor's sign-off?

10:34:47    7      A     I wouldn't say we had to get a sign-off, no.

10:34:53    8      Q     So it's fair -- is your testimony that you and

10:34:57    9            one of the other cold case squad detectives

10:35:01   10            could decide what cases you wanted to

10:35:02   11            investigate as a cold case and you would just

10:35:04   12            let your supervisor know; you didn't have to

10:35:06   13            get their approval?

10:35:07   14      A     Correct.

10:35:07   15      Q     Okay.   In your previous deposition in the Ott

10:35:12   16            matter, you identified the captain of the

10:35:15   17            cold -- for the cold case squad to be Captain

10:35:21   18            Domagalski; is that right?

10:35:23   19      A     Yes.

10:35:23   20      Q     And you had identified the lieutenants as

10:35:27   21            Lieutenant Susik, Lieutenant Kane, and

10:35:30   22            Lieutenant Ardis.     Does that sound right to

10:35:34   23            you?

10:35:34   24      A     Yes.

10:35:35   25      Q     Okay.   Other than the Payne case, do you



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10:35:43    1            remember any of the other cases you

10:35:44    2            investigated as part of the cold case squad?

10:35:48    3      A     I really don't, no.

10:35:49    4      Q     Okay.    Do you remember as you sit here today --

10:35:52    5            and, again, it's a long time ago.        I understand

10:35:54    6            that.    So if you don't remember, just let me

10:35:57    7            know.    But do you remember how long you were

10:35:59    8            part of the cold case squad?

10:36:01    9      A     Maybe about a year.

10:36:06   10      Q     Did the squad keep existing after you left

10:36:10   11            after that year and have other people assigned

10:36:13   12            to it?

10:36:14   13      A     I don't recall.

10:36:14   14      Q     Okay.    You previously testified that you and --

10:36:20   15            well, I think you previously testified that you

10:36:22   16            and Jim DeValkenaere were partners during that

10:36:24   17            time period; is that right?

10:36:25   18      A     Yes.

10:36:25   19      Q     Okay.    And was it that Gary Temp and Eric Moore

10:36:30   20            worked together?

10:36:32   21      A     I don't recall if they worked together.

10:36:37   22      Q     Okay.    Thank you.   I think you previously

10:36:41   23            testified that you and Jim DeValkenaere had

10:36:45   24            worked on approximately four to five cases as

10:36:48   25            cold cases.    Does that sound right to you



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10:36:51    1            still?

10:36:51    2      A     I really don't recall.

10:36:52    3      Q     Okay.    You have no reason as you sit here today

10:36:55    4            to doubt your prior testimony, though?

10:36:57    5      A     No, I don't.

10:36:57    6      Q     Okay.    I want to talk to you about what you

10:37:14    7            remember or don't remember about your

10:37:18    8            investigative work on the Payne homicide

10:37:20    9            investigation, but before I do, I want to have

10:37:22   10            an understanding of whether you have an

10:37:24   11            independent recollection of any of your

10:37:27   12            investigatory work on the Payne homicide.         Do

10:37:30   13            you know what I mean when I say "independent

10:37:32   14            recollection"?

10:37:32   15      A     Yes.

10:37:32   16      Q     Okay.    And what do you think I mean by it, or

10:37:36   17            what do you mean by it?

10:37:37   18      A     As I sit here today, do I remember certain

10:37:41   19            events of that investigation.

10:37:42   20      Q     Yes.    Okay.   And so do you have an independent

10:37:45   21            recollection of certain events in that

10:37:48   22            investigation?

10:37:48   23      A     Yes.

10:37:48   24      Q     Can you identify for me what events of the

10:37:52   25            Payne homicide you have an independent



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10:37:54    1            recollection of?

10:37:56    2      A     The investigation involving Richard Gwin, Sam

10:38:04    3            Hadaway, and Chaunte Ott.

10:38:11    4      Q     Okay.    Before you reviewed the records a couple

10:38:16    5            weeks ago pertaining to Mr. Hadaway's statement

10:38:18    6            to you, did you have an independent

10:38:21    7            recollection before you reviewed those

10:38:22    8            documents?

10:38:24    9      A     Limited.

10:38:25   10      Q     Did reviewing the documents refresh your

10:38:27   11            recollection?

10:38:28   12      A     Yes.

10:38:29   13      Q     The -- you didn't review any documents

10:38:33   14            pertaining to Richard Gwin a couple weeks ago

10:38:37   15            getting ready for your deposition.        So do

10:38:39   16            you -- as you sit here today, you have a

10:38:41   17            recollection of some of your involvement with

10:38:43   18            Richard Gwin?

10:38:45   19      A     Yes.

10:38:45   20      Q     Okay.    And then did you -- I don't think you

10:38:48   21            identified any documents pertaining to Mr. Ott

10:38:50   22            that you looked at a couple weeks ago; is that

10:38:53   23            right?

10:38:53   24      A     I did not look at anything pertaining to

10:38:55   25            Mr. Ott.



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10:38:55    1      Q     Okay.   But as you sit here today, you have an

10:38:58    2            independent recollection of some of your

10:39:00    3            interactions with Mr. Ott?

10:39:01    4      A     Yes.

10:39:02    5      Q     Okay.   Let's start with Mr. Gwin.       What do you

10:39:10    6            have an independent recollection of regarding

10:39:12    7            your involvement with Mr. Gwin during the Payne

10:39:16    8            homicide investigation?

10:39:17    9      A     That there was a person who came forward

10:39:26   10            indicating that a subject by the name of Cortez

10:39:33   11            had a girl with him and he was going to sell

10:39:38   12            her.    I guess it was a white girl, and he was

10:39:43   13            going to sell her.      And it was around the time

10:39:47   14            when Jessica Payne -- the Jessica Payne

10:39:54   15            investigation was going on.

10:39:57   16                        So we attempted to identify the

10:40:01   17            person Cortez who subsequently ended up being

10:40:07   18            Richard Gwin, and we brought him down for

10:40:15   19            questioning.     And at one point during the

10:40:19   20            questioning, he gave a statement that he was

10:40:22   21            with Sam Hadaway, Chaunte Ott, and a white girl

10:40:28   22            in his car, that they bought and smoked some

10:40:33   23            weed, that they ended up on 7th and Burleigh,

10:40:38   24            in that area, that Chaunte Ott and Sam Hadaway

10:40:43   25            left with the girl and walked behind a house,



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10:40:47    1            and that he remained in the car smoking his

10:40:51    2            weed.    And then at one point Hadaway and Ott

10:40:57    3            returned to the car without the girl and that

10:41:00    4            he drove off with them, and he eventually drove

10:41:06    5            them to Hadaway's house and dropped them off.

10:41:08    6      Q     Okay.    And what you've just testified to, you

10:41:14    7            have an independent recollection of that

10:41:16    8            statement Mr. Gwin gave to you and your

10:41:20    9            partner, James DeValkenaere, independent of any

10:41:23   10            document?

10:41:25   11      A     Yes.

10:41:25   12      Q     How is it that you have that memory?

10:41:31   13      A     When I read Hadaway's statement, it refreshed

10:41:37   14            my recollection.

10:41:38   15      Q     Okay.    So prior to reading Mr. Hadaway's

10:41:42   16            written statement that you and your partner,

10:41:45   17            James DeValkenaere, obtained from him, you

10:41:47   18            didn't have a detailed memory of the statement

10:41:51   19            Mr. Gwin had provided to you, correct?

10:41:54   20      A     Right.

10:41:54   21      Q     Okay.    Do you recall that Mr. Gwin -- you had

10:41:59   22            two interviews with Mr. Gwin?

10:42:02   23      A     I don't recall that.      I don't know how many

10:42:05   24            times we talked to him.

10:42:06   25      Q     Okay.    As you sit here today, do you have an



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10:42:11    1            independent recollection of any of the

10:42:13    2            circumstances on how Mr. Gwin came to CIB to be

10:42:18    3            interviewed by you and your partner?

10:42:21    4      A     We brought him to -- or no.       No, I don't

10:42:25    5            remember.

10:42:25    6      Q     Okay.   I want to go back before I -- well,

10:42:48    7            strike that.

10:42:48    8                        Before I move forward, have you told

10:42:52    9            me everything that is your independent memory

10:42:55   10            as you sit here today of your interactions with

10:42:56   11            Richard Gwin?

10:42:57   12      A     Yes.

10:42:57   13      Q     Okay.   Do you remember how old Mr. Gwin was at

10:43:03   14            the time that you were interrogating him in the

10:43:07   15            Payne homicide investigation?

10:43:08   16      A     I do not recall.

10:43:10   17      Q     As you sit here today, do you have a memory of

10:43:18   18            whether Mr. Gwin was in your -- was in what was

10:43:22   19            a custodial interrogation at the time he gave

10:43:25   20            the statement that you recall him giving?

10:43:32   21      A     I don't recall.

10:43:33   22      Q     I want to backtrack for just a minute back to

10:43:39   23            when you and James DeValkenaere decided to take

10:43:43   24            on the Payne homicide investigation as one of

10:43:45   25            the first cold cases you were going to



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10:43:49    1            investigate, okay?

10:43:50    2      A     Okay.

10:43:50    3      Q     Was that your decision or James's decision or

10:43:54    4            both of your decisions to investigate it as a

10:43:57    5            cold case?

10:43:58    6      A     Jim had worked on that case previously in

10:44:02    7            regular homicide and wanted to revisit the

10:44:07    8            case.

10:44:08    9      Q     Did you support him in that or agree with his

10:44:16   10            decision to take it on as a cold case?

10:44:19   11      A     Yes.

10:44:19   12      Q     I guess by the very nature of it being worked

10:44:29   13            up as a cold case, the case had gone cold,

10:44:32   14            right?

10:44:34   15      A     It wasn't your typical cold case.        It was only

10:44:38   16            a couple months old, but Jim knew there was

10:44:43   17            some follow-up that needed to be done that

10:44:46   18            hadn't been done, and he wanted to look into

10:44:48   19            that.

10:44:49   20      Q     But at the -- is it fair to say that at the

10:44:57   21            time that you and Jim took it on as a cold case

10:45:00   22            there were not any active leads being

10:45:02   23            investigated by the homicide unit?

10:45:04   24      A     To my knowledge, yes.

10:45:05   25      Q     Okay.    And so in that regard, there weren't any



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10:45:10    1            suspects being actively investigated, correct?

10:45:13    2      A     No.

10:45:13    3      Q     And at that point there weren't -- wasn't any

10:45:17    4            physical evidence that was being followed up

10:45:21    5            on, either, right?

10:45:23    6      A     What do you mean by "physical evidence"?

10:45:24    7      Q     Like, there was no physical evidence that still

10:45:27    8            needed to be tested or analyzed that was --

10:45:29    9            everything had sort of been done up until that

10:45:32   10            point?

10:45:32   11      A     I don't recall.

10:45:33   12      Q     Okay.    Do you recall, as you sit here today,

10:45:45   13            what the follow-up information -- or, sorry,

10:45:50   14            strike that.     That was a bad question.

10:45:52   15                        Do you recall, as you sit here today,

10:45:54   16            what Jim DeValkenaere wanted to follow up on

10:45:57   17            with respect to the Payne homicide

10:46:00   18            investigation?

10:46:00   19      A     The -- trying to identify and locate the person

10:46:03   20            named Cortez.

10:46:04   21      Q     Do you recall, as you sit here today, why Jim

10:46:08   22            DeValkenaere wanted to try and identify and

10:46:12   23            locate the person named Cortez?

10:46:14   24      A     No.

10:46:17   25      Q     When you testified earlier in the Ott case in



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10:46:29    1            your deposition in that case, you indicated

10:46:31    2            that you read all of the reports in the Payne

10:46:35    3            homicide investigation when you first got

10:46:37    4            involved as a cold case.       Do you remember that

10:46:39    5            testimony?

10:46:39    6      A     Yes.

10:46:40    7      Q     Okay.   And is that true?

10:46:41    8      A     Yes.

10:46:42    9      Q     Okay.   So before -- is that true that before

10:46:45   10            you took any steps and went out and tried to

10:46:48   11            find Cortez you reviewed the M file as it

10:46:52   12            existed at that time?

10:46:53   13      A     Yes.

10:46:53   14      Q     Okay.   And why did you do that?

10:46:56   15      A     So I was up to speed on the case and that I was

10:47:00   16            familiar with the case.

10:47:01   17      Q     Okay.   Do you have an independent recollection

10:47:11   18            as you sit here today of the facts of Jessica

10:47:15   19            Payne's homicide?

10:47:19   20      A     Very limited.

10:47:20   21      Q     Okay.   What -- what is your limited memory of

10:47:23   22            that homicide?

10:47:24   23      A     That Jessica Payne was a runaway from South

10:47:29   24            Milwaukee, that she ended up on the north side

10:47:33   25            of Milwaukee where she was staying in a drug



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10:47:38    1            house, that her body was found behind a vacant

10:47:46    2            house either on a mattress or under a mattress,

10:47:53    3            and that her throat had been slashed.

10:47:56    4      Q     Anything else?

10:47:59    5      A     No.

10:47:59    6      Q     Do you recall the -- there had also been

10:48:22    7            evidence of prostitution in the house where

10:48:26    8            Ms. Payne was staying?

10:48:27    9      A     Yes.

10:48:33   10      Q     Okay.   And do you have an independent

10:48:38   11            recollection as you sit here today whether you

10:48:41   12            and your partner, Jim DeValkenaere, also were

10:48:45   13            investigating Ms. Payne's homicide as a

10:48:48   14            possible sexual assault as well as a homicide?

10:48:56   15      A     No.

10:48:58   16      Q     Okay.   Meaning "No," you do not recall, or

10:49:03   17            "No," you did not investigate it as a sexual

10:49:06   18            assault?

10:49:06   19      A     We wouldn't have investigated the sexual

10:49:11   20            assault.

10:49:11   21      Q     Why not?

10:49:12   22      A     That would have already been done during the

10:49:15   23            initial investigation.

10:49:16   24      Q     But in your review of your -- the records, you

10:49:23   25            would have reviewed that a sexual assault kit



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10:49:25    1            was collected from Ms. Payne, right?

10:49:28    2      A     Yes.

10:49:28    3      Q     And do you remember -- you don't remember

10:49:33    4            the -- well, do you remember now whether her

10:49:37    5            body was found clothed or partially clothed?

10:49:40    6      A     Partially clothed.

10:49:42    7      Q     Do you remember how she was partially clothed?

10:49:46    8      A     Her shirt was pulled up, and her pants were

10:49:51    9            pulled down.

10:49:52   10      Q     Okay.   Did your review of the way in which

10:50:04   11            Ms. Payne's body was found indicate to you that

10:50:07   12            there was a possibility she had been the victim

10:50:09   13            of a sexual assault or an attempted sexual

10:50:12   14            assault?

10:50:12   15      A     Definitely could have been.

10:50:15   16      Q     Do you also have a memory of the medical

10:50:28   17            examiner identifying an unidentified white

10:50:32   18            substance in her vagina?

10:50:41   19      A     Yes.

10:50:41   20      Q     Okay.   I believe you also testified in your

10:51:00   21            prior deposition in the Ott case that in

10:51:03   22            addition to reading the police reports, you

10:51:05   23            also would have read the medical -- you did

10:51:08   24            read the medical examiner's report before your

10:51:11   25            involvement in investigating the Payne



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10:51:12    1            homicide.    Is that -- do you remember that?

10:51:17    2      A     Yes.

10:51:17    3      Q     Okay.   And why would you read the medical

10:51:20    4            examiner's report?

10:51:21    5      A     It's all part of the file, and I read the whole

10:51:25    6            file.

10:51:25    7      Q     Okay.   When you became a detective in the

10:51:39    8            Milwaukee Police Department in April 1991, did

10:51:42    9            you go to a detective training academy for some

10:51:45   10            portion of time before being -- working as a

10:51:48   11            detective?

10:51:49   12      A     Yes.

10:51:49   13      Q     How long was the detective academy back in

10:51:53   14            1991?

10:51:53   15      A     It was 80 hours.

10:51:56   16      Q     Was it 80 hours classroom?

10:51:59   17      A     Yes.

10:51:59   18      Q     Was that conducted here in Milwaukee?

10:52:02   19      A     Yes.

10:52:03   20      Q     Were you given training on how to conduct

10:52:07   21            interrogations of suspects?

10:52:13   22      A     No.

10:52:13   23      Q     Were you given any training on how to interview

10:52:18   24            suspects?

10:52:20   25      A     No.



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10:52:20    1      Q     Were you given any training on how to take a

10:52:25    2            statement from a witness or suspect?

10:52:29    3      A     No.

10:52:29    4      Q     Do you remember the subject matter of any of

10:52:38    5            the 80 hours of training you were provided when

10:52:40    6            you were promoted to a detective by the

10:52:42    7            Milwaukee Police Department?

10:52:43    8      A     Yes.

10:52:46    9      Q     What subject matters do you recall being

10:52:49   10            trained on?

10:52:50   11      A     It was crime scene investigations on various

10:52:57   12            crimes.    They set up scenarios for homicides

10:53:02   13            and robberies and arson.       So it was how to

10:53:09   14            conduct a crime scene investigation.

10:53:11   15      Q     Anything else that you recall?

10:53:16   16      A     No.

10:53:17   17      Q     Did they provide any training on how to prepare

10:53:21   18            reports as a detective?

10:53:25   19      A     As a police officer, I already knew how to

10:53:28   20            prepare reports and how to conduct interviews,

10:53:30   21            and they didn't provide that specially, no.

10:53:37   22      Q     Okay.   Is it fair to say during this time

10:53:40   23            period as a detective, the reports would be

10:53:43   24            dictated and called in on a phone line and then

10:53:46   25            there'd be a stenographer to type it up and



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10:53:48    1            send it back typed up for the detective to

10:53:50    2            review?

10:53:50    3      A     Yes.

10:53:50    4      Q     But that wasn't true on patrol; is that right?

10:53:53    5      A     No.

10:53:53    6      Q     Patrol you just wrote your own reports?

10:53:56    7      A     Correct.

10:53:56    8      Q     Okay.   So at the detective academy they didn't

10:53:59    9            give you any training on how to dictate

10:54:01   10            reports?

10:54:02   11      A     No, not that I recall.

10:54:04   12      Q     That was something you learned on the job once

10:54:07   13            you got your assignment?

10:54:08   14      A     Yes.

10:54:08   15      Q     Okay.   Once you're on the job and you got

10:54:11   16            assigned -- well, strike that.

10:54:14   17                        Do you remember who told you how to

10:54:16   18            dictate your reports as a detective?

10:54:17   19      A     No.

10:54:17   20      Q     Were you given any training on the job about

10:54:21   21            what you were supposed to do with the notes you

10:54:24   22            took that were turned into a supplementary

10:54:27   23            report dictated through the phone line that

10:54:30   24            then came back to you?

10:54:31   25      A     Was I told what to do with my --



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10:54:34    1      Q     Yes.

10:54:35    2      A     No.

10:54:35    3      Q     What did you do with your -- well, is it fair

10:54:40    4            to say you used to take notes on, like, a steno

10:54:40    5            pad or some other pad when you were out in the

10:54:42    6            field as a detective?

10:54:43    7      A     Yes.

10:54:43    8      Q     And that was true when you were a homicide

10:54:45    9            detective?

10:54:46   10      A     Yes.

10:54:46   11      Q     Did you ever take notes as a homicide detective

10:54:48   12            in one of your department-issued memo books?

10:54:51   13      A     No.

10:54:51   14      Q     Did you use your memo book as a patrol officer?

10:54:55   15      A     Yes.

10:54:55   16      Q     Okay.   So once you became a detective, you no

10:54:58   17            longer used memo books?

10:55:00   18      A     No.

10:55:01   19      Q     Did other detectives use memo books?

10:55:03   20      A     I don't recall.

10:55:04   21      Q     Okay.   But your practice was to take notes on a

10:55:07   22            steno pad; is that right?

10:55:08   23      A     Yes.

10:55:08   24      Q     Okay.   What was your practice with respect to

10:55:12   25            keeping those notes?



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10:55:14    1      A     If I conducted an interview, I would call a

10:55:21    2            report in based off my notes.       After the report

10:55:27    3            was typed, I reviewed it for its accuracy, and

10:55:31    4            if it was accurate and consistent with my

10:55:33    5            notes, then I destroyed the notes.

10:55:35    6      Q     And were you ever given any instruction one way

10:55:42    7            or the other about maintaining notes as a

10:55:44    8            detective?

10:55:45    9      A     No.

10:55:45   10      Q     What if you had to -- a report came back once

10:55:52   11            it had been written up by the stenographer and

10:55:54   12            you needed to make changes?       What -- how did

10:55:56   13            you do that?

10:55:57   14      A     I would go down and talk to the stenographer in

10:56:01   15            person, point out where changes needed to be

10:56:05   16            made.   They would make the changes, I'd review

10:56:08   17            them for the accuracy, and then I would keep

10:56:10   18            that report as the report of record.

10:56:12   19      Q     Okay.   When you said you would keep the report

10:56:15   20            as the report of record, would you keep a

10:56:17   21            personal copy, or it would go in the file?

10:56:20   22      A     It would go in the file.

10:56:21   23      Q     Were -- were the detectives responsible for

10:56:22   24            turning it into the admin to get it in the

10:56:25   25            file?



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10:56:28    1      A     We would review the reports and place them in

10:56:33    2            a -- a tray where a clerk would file them.

10:56:35    3      Q     Okay.   Would the -- would you have to place

10:56:38    4            them in a tray for a supervisor to sign off on

10:56:41    5            them first?

10:56:41    6      A     Yes.

10:56:41    7      Q     And then you'd have to put them in another tray

10:56:44    8            for the clerk to file once they were signed off

10:56:47    9            on?

10:56:47   10      A     The supervisor would put them in so that they

10:56:50   11            could be filed.

10:56:50   12      Q     Okay.   So the detectives didn't put them in the

10:56:54   13            basket for the clerk to file; they put them in

10:56:57   14            the basket for the supervisor to sign off?

10:56:59   15      A     I don't recall.

10:56:59   16      Q     Okay.   When you went to review -- do you have a

10:57:04   17            memory as you sit here today of reviewing the

10:57:07   18            Payne file when you first took it on as a cold

10:57:10   19            case?

10:57:10   20      A     Independent memory of looking at the file?             No.

10:57:12   21      Q     Okay.   But based on your memory of -- general

10:57:17   22            memory of what happened back then, if you

10:57:19   23            wanted to review an M file when you were a

10:57:22   24            homicide detective, what would you do to obtain

10:57:24   25            the file to look at it?



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10:57:25    1      A     Pull the file off the shelf and look at it.

10:57:30    2      Q     Could a detective just go into the room with a

10:57:34    3            murder file -- do you call them "M files," or

10:57:37    4            do you call --

10:57:37    5      A     "M file."

10:57:38    6      Q     "M file."    And "M file" meant "murder file"?

10:57:40    7      A     Yes.

10:57:40    8      Q     If you wanted to get an M file and look at it,

10:57:44    9            could you just go as a homicide detective and

10:57:47   10            pull it off a shelf, or did you have to check

10:57:49   11            it out from the clerk?

10:57:50   12      A     If you were going to remove it from the CIB,

10:57:53   13            you needed to sign it out.

10:57:55   14      Q     Okay.    Did you ever take M files into the

10:57:58   15            field, like sign them out to take them into the

10:58:01   16            field?

10:58:01   17      A     No.

10:58:01   18      Q     Would you sign them out to take an M file over

10:58:05   19            to the DA's office for a charging conference?

10:58:09   20      A     Yes.

10:58:09   21      Q     Or for court?

10:58:10   22      A     Yes.

10:58:10   23      Q     Okay.    Otherwise, if you were going to look at

10:58:12   24            an M file, you did it in the CIB bureau?

10:58:15   25      A     Yes.



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10:58:15    1      Q     I think I said "CIB."      CID bureau.

10:58:22    2                         Okay.   Did you -- I think you just

10:58:41    3            said you never used your memo book as a

10:58:44    4            detective; is that right?

10:58:46    5      A     Correct.

10:58:46    6      Q     But you maintained your memo books from when

10:58:49    7            you were on patrol for your entire career as a

10:58:51    8            Milwaukee Police Department officer?

10:58:54    9      A     After I got promoted, I -- when I retired,

10:59:04   10            that's when all my memo books and everything

10:59:09   11            were destroyed.

10:59:10   12      Q     Your memo books and everything?        What else

10:59:13   13            was -- did you destroy other than the memo

10:59:15   14            books?

10:59:15   15      A     My memo books.

10:59:16   16      Q     Okay.    And you burnt them, right?

10:59:18   17      A     Yes.

10:59:18   18      Q     Where did you burn them?

10:59:20   19      A     In a fire.

10:59:23   20      Q     Where was the fire?

10:59:26   21      A     In my backyard.

10:59:27   22      Q     Okay.    How long after your retirement did you

10:59:30   23            burn your memo books?

10:59:32   24      A     I don't recall.      It was recently after I

10:59:40   25            retired.



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10:59:41    1      Q     Okay.   Do you need a break, or are you okay?

10:59:53    2      A     I'm okay.

10:59:54    3      Q     Okay.   I believe you just testified that you

11:00:05    4            did not receive any training with respect to

11:00:08    5            interviewing witnesses or suspects or

11:00:11    6            interrogations at the detective academy when

11:00:14    7            you were promoted, true?

11:00:16    8      A     Not that I can recall.

11:00:17    9      Q     Okay.   But you did receive some of that

11:00:20   10            training back at the original police academy

11:00:23   11            when you attended?

11:00:25   12      A     Yes.

11:00:25   13      Q     Okay.   Do you recall any of the substance that

11:00:30   14            you were provided as a cadet at the academy

11:00:35   15            with respect to how to interview suspects?

11:00:38   16      A     No.

11:00:38   17      Q     How about with respect to interrogation skills

11:00:41   18            or techniques?

11:00:42   19      A     Not that I can recall.

11:00:43   20      Q     Do you recall any in-service trainings you

11:00:46   21            received with respect to interrogation

11:00:48   22            techniques?

11:00:49   23      A     No.

11:00:49   24      Q     Were you ever sent to an outside training?

11:00:56   25      A     No.



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11:00:56    1      Q     Do you know the term "Reid technique" from John

11:01:04    2            Reid & Associates?

11:01:05    3      A     I've heard that, yes.

11:01:06    4      Q     Did you get any training in the Reid technique

11:01:10    5            of interrogations while you were an officer

11:01:12    6            with the Milwaukee Police Department?

11:01:13    7      A     No.

11:01:15    8      Q     Were you provided any on-the-job training when

11:01:22    9            you were promoted to detective on how to

11:01:24   10            conduct interrogations?

11:01:27   11      A     Yes.

11:01:27   12      Q     Do you remember any of the officers or

11:01:30   13            detectives that trained you?

11:01:31   14      A     No.

11:01:31   15      Q     Do you remember anything that you were told on

11:01:34   16            the job about how to conduct interrogations?

11:01:37   17      A     Not that I recall.

11:01:39   18      Q     Do you recall any of the -- do they call them

11:01:47   19            "general orders" up here?       I forget.    I use the

11:01:49   20            Chicago term.     What are the orders called that

11:01:53   21            direct Milwaukee Police Department's -- the

11:01:58   22            directives or the orders that direct your

11:02:00   23            officers' conduct?      Do you have a name for

11:02:03   24            that?   Like, the policies and procedures?

11:02:06   25      A     Rules and regulations.



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11:02:07    1      Q     Rules and regulations.      Okay.   I'm sorry.    I

11:02:10    2            was using the Chicago term.

11:02:12    3                        Do you remember, as you sit here

11:02:14    4            today, any of the Milwaukee Police Department's

11:02:16    5            rules and regulations pertaining to

11:02:19    6            interrogations?

11:02:20    7      A     No.

11:02:20    8      Q     How about any of the rules and regulations

11:02:23    9            pertaining to custodial interrogations?

11:02:26   10      A     No.

11:02:26   11      Q     Okay.   So back to your training, you don't

11:02:37   12            remember any of the detectives who trained you

11:02:39   13            on interrogation skills or techniques, and did

11:02:42   14            I ask you, do you remember anything of the

11:02:45   15            substance you were taught?

11:02:46   16      A     And I don't -- I do not recall.

11:02:48   17      Q     Okay.   As a homicide detective, did you have a

11:03:21   18            personal practice in how you conducted

11:03:24   19            interrogations of possible suspects with

11:03:26   20            respect to how you -- well, strike that.         Let

11:03:31   21            me try again.

11:03:31   22                        When you were a homicide detective

11:03:36   23            with the Milwaukee Police Department, did you

11:03:40   24            have a personal practice with respect to how

11:03:42   25            you treated non-public facts about the homicide



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11:03:47    1            when you were interrogating suspects?

11:03:52    2      A     I don't understand the question.

11:03:53    3      Q     Thanks for letting me know.       It maybe wasn't

11:03:57    4            clear.    Do you understand the phrase

11:03:58    5            "non-public facts"?

11:04:02    6      A     No.

11:04:02    7      Q     No.    Okay.   So you know when you're

11:04:05    8            investigating a homicide, there's details about

11:04:07    9            how the crime occurred -- maybe the weapon

11:04:09   10            used, where the injuries are on the body, where

11:04:11   11            the body was found -- that isn't reported in

11:04:15   12            the news or generally known.       I'm referring to

11:04:17   13            that as, like, a non-public fact, something

11:04:19   14            that only the investigators and the perpetrator

11:04:26   15            would know.

11:04:27   16      A     Okay.

11:04:27   17      Q     Do you understand what I'm saying now?

11:04:29   18      A     Yes.

11:04:29   19      Q     So, for example, if you're an investigating a

11:04:33   20            homicide of a missing person and you're

11:04:38   21            interrogating a suspect and the suspect can

11:04:40   22            take you to the body, that's good evidence that

11:04:43   23            that's the perpetrator, right?

11:04:45   24      A     Yes.

11:04:45   25      Q     Okay.    Similarly, if you're interrogating



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11:04:50    1            somebody and they know a specific detail about

11:04:53    2            injuries to the victim or something about the

11:04:55    3            crime scene, that helps the investigator

11:04:59    4            understand that this is the -- the suspect

11:05:01    5            they're interrogating is the perpetrator,

11:05:03    6            right?

11:05:03    7      A     Yes.

11:05:04    8      Q     So did you have a practice with respect to how

11:05:06    9            you treated non-public facts in the context of

11:05:10   10            your interrogation of a suspect in a homicide?

11:05:13   11      A     I would keep them private.

11:05:18   12      Q     And why would you keep them private?

11:05:23   13      A     If I was conducting an interrogation, I would

11:05:26   14            want to hear it from the person I'm

11:05:28   15            interrogating.

11:05:31   16      Q     Did you make efforts to try and determine what

11:05:36   17            facts were known in the public either through

11:05:38   18            the news or through people who had found a

11:05:42   19            victim and it was generally known in the

11:05:44   20            neighborhood, would you try and figure out what

11:05:46   21            was sort of known and not known?

11:05:48   22      A     I'm sorry, again I don't understand.

11:05:50   23      Q     Oh, I'm sorry.     That's a bad question.      Thank

11:05:52   24            you.   I'm sorry.    Did you ever make any effort

11:05:55   25            to try and determine what facts were known



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11:05:57    1            publicly either because reported in the news or

11:05:59    2            known in the neighborhood where the crime

11:06:01    3            occurred and those that were truly non-public

11:06:06    4            facts, known only to the investigators and the

11:06:09    5            perpetrator?

11:06:09    6      A     Now, we're talking the Payne homicide?

11:06:11    7      Q     I was talking in general, but -- I was talking

11:06:16    8            in general.

11:06:17    9      A     In general?

11:06:17   10      Q     Yep.

11:06:19   11      A     Could you repeat the question again?

11:06:22   12      Q     Yeah, no problem.     I'm -- I'm sorry that

11:06:25   13            they're not clear.      I think that's my fault.

11:06:28   14            Did you have a general practice with respect to

11:06:30   15            when you were interrogating a suspect in a

11:06:33   16            homicide investigation to try and determine

11:06:36   17            before you interrogated the suspect what facts

11:06:38   18            were known publicly about the crime and what

11:06:41   19            weren't known publicly about the crime?

11:06:44   20      A     Yes.

11:06:44   21      Q     And why would you do that?

11:06:46   22      A     So that you would have knowledge of the crime

11:06:55   23            and you -- I would not share that knowledge

11:06:57   24            with the person I was interrogating because I

11:07:01   25            would want to hear it from that person.         If



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11:07:02    1            they did have knowledge, I wanted to hear it

11:07:05    2            from them.

11:07:06    3      Q     Would you ever use a non-public fact to test

11:07:11    4            whether the suspect had knowledge or not?

11:07:13    5            Would you ever do that in the context of an

11:07:15    6            interrogation?

11:07:16    7      A     Yes.

11:07:18    8      Q     So sometimes you would use a non-public fact to

11:07:20    9            try and tease out whether the person had

11:07:24   10            knowledge or not?

11:07:25   11      A     I'm allowed to, yes.

11:07:26   12      Q     Okay.   So is it fair you sometimes did that

11:07:33   13            from time to time?

11:07:33   14      A     I don't recall how many times.

11:07:35   15      Q     I'm just saying sometimes -- you did do that on

11:07:38   16            occasion, correct?

11:07:41   17      A     I don't recall.

11:07:44   18      Q     I'm not asking how many times you did it; I'm

11:07:47   19            just saying your testimony is that you

11:07:49   20            occasionally would use a non-public fact in the

11:07:52   21            context of an interrogation to try and

11:07:54   22            determine whether the person was a perpetrator

11:07:56   23            or not?

11:07:57   24      A     I recall that I could.      I do not recall if I

11:08:03   25            did or when I did.



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11:08:04    1      Q     How do you recall that you could do that?

11:08:07    2      A     I'm allowed to use trickery when talking to a

11:08:14    3            person that I'm interrogating.

11:08:15    4      Q     Okay.    And what -- when you use the term

11:08:23    5            "trickery," was that ever defined for you, what

11:08:29    6            you could do and what you couldn't do?

11:08:31    7      A     When would -- when would it have been defined

11:08:40    8            to me?

11:08:40    9      Q     Yeah, or was it ever defined to you, like, what

11:08:44   10            are some tools you can use as trickery that

11:08:46   11            were permissible.     You're saying that you

11:08:51   12            were -- you recall that you could do that, that

11:08:51   13            you were allowed to use trickery when you were

11:08:51   14            interrogating a person, and I was just asking

11:08:52   15            you to define what you mean by "trickery."

11:08:54   16      A     Giving them facts that were not necessarily

11:09:01   17            true.

11:09:06   18      Q     So you could give false facts?

11:09:08   19      A     Yes.

11:09:13   20      Q     Could you also use non-public facts that were

11:09:20   21            known about the crime that were true to

11:09:24   22            determine whether or not you were talking to

11:09:25   23            the perpetrator of the crime?

11:09:30   24      A     Again, if it were facts that would lead to a

11:09:36   25            person being suspected of the crime, I wouldn't



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11:09:42    1            give them those facts until that person gave

11:09:46    2            them to me.

11:09:48    3      Q     Before you interviewed Mr. Richard Gwin in the

11:10:17    4            Payne homicide, you had reviewed all the

11:10:22    5            investigatory reports, right?

11:10:24    6      A     Yes.

11:10:25    7      Q     And the medical examiner's reports, right?

11:10:32    8      A     Anything that was in that file.

11:10:32    9      Q     Would the crime scene photographs have also

11:10:35   10            been in that file, in the M file?

11:10:36   11      A     Yes.

11:10:36   12      Q     So you also reviewed all the crime scene

11:10:38   13            photographs of the Payne homicide

11:10:40   14            investigation, right?

11:10:41   15      A     Yes.

11:10:41   16      Q     And that was something -- you would have seen

11:10:43   17            those photographs prior to your interactions

11:10:46   18            with Mr. Gwin in October 1995, right?

11:10:48   19      A     Yes.

11:10:48   20      Q     Okay.   And so prior to your efforts to locate

11:10:57   21            and identify Cortez, you knew who the victim

11:11:03   22            was, Jessica Payne, right?

11:11:05   23      A     Yes.

11:11:05   24      Q     You knew the date her body was found?

11:11:07   25      A     Yes.



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11:11:07    1      Q     You knew the location that she was found,

11:11:10    2            behind the house?

11:11:12    3      A     Yes.

11:11:13    4      Q     You knew that she was found underneath a stack

11:11:16    5            of mattresses?

11:11:17    6      A     Yes.

11:11:18    7      Q     You knew that she was found with her shirt up,

11:11:22    8            right?

11:11:23    9      A     Yes.

11:11:23   10      Q     You knew that she was wearing a green bra and

11:11:25   11            it was torn?

11:11:26   12      A     That I don't recall.

11:11:27   13      Q     Okay.    But you would have known that based on

11:11:30   14            your review of the photographs and the records,

11:11:33   15            right?

11:11:33   16      A     Yes.

11:11:33   17      Q     And you knew that she was found with her pants

11:11:36   18            pulled down, right?

11:11:37   19      A     Yes.

11:11:37   20      Q     You knew that she was identified as having some

11:11:42   21            tattoos on her body, right?

11:11:45   22      A     I would have known then.       I don't recall that

11:11:47   23            now.

11:11:47   24      Q     Sure.    You knew all of the evidence of injury

11:11:55   25            to her body that the medical examiner had



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11:11:58    1            identified, right?

11:11:59    2      A     Yes.

11:12:00    3      Q     Okay.    And so you knew that she had -- her neck

11:12:07    4            had been cut, right?

11:12:09    5      A     Yes.

11:12:09    6      Q     You knew there was some bruising on her hands,

11:12:12    7            right?

11:12:15    8      A     If it was in the reports, then I would have

11:12:18    9            known about it.

11:12:18   10      Q     Okay.    You knew there was some bruising on her

11:12:21   11            legs, both the anterior and the post

11:12:24   12            internal -- inside of her leg and outside of

11:12:25   13            her leg, right?

11:12:26   14      A     I don't recall now, but if it was in the

11:12:33   15            reports, then I'm sure I reviewed it.

11:12:36   16      Q     Okay.    And you had knowledge in terms of what

11:12:46   17            was reported about Ms. Payne's whereabouts

11:12:49   18            until she was found; you had knowledge about

11:12:52   19            where she had been staying and some of the

11:12:54   20            people she had been with as well, right?

11:12:56   21      A     Yes.

11:12:56   22      Q     Okay.    Okay.   You said earlier that you had a

11:13:24   23            limited but independent recollection of your

11:13:27   24            interactions with Mr. Chaunte Ott, right?

11:13:30   25      A     Yes.



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11:13:31    1      Q     Can you please describe for me your independent

11:13:34    2            recollections of your interactions with Chaunte

11:13:37    3            Ott during the Payne homicide investigation?

11:13:39    4      A     We met with him in an interview room.

11:13:44    5      Q     At the CIB?

11:13:45    6      A     In the CIB.    And I remember him being very

11:13:53    7            smug, and he denied any knowledge or

11:13:58    8            involvement.

11:14:00    9      Q     Can you describe for me what Mr. -- you recall

11:14:11   10            Mr. Ott saying or doing that made you interpret

11:14:18   11            him as being very smug?

11:14:19   12      A     He was chuckling and laughing.

11:14:21   13      Q     Anything else?

11:14:26   14      A     No.

11:14:31   15      Q     Do you have an independent recollection of how

11:14:33   16            long you spoke to Mr. Ott?

11:14:34   17      A     No.

11:14:37   18      Q     Do you have an independent memory of the

11:14:40   19            charging conference for Mr. Ott and Mr. Hadaway

11:14:44   20            that was conducted at the district attorney's

11:14:46   21            office with Mark Williams?

11:14:48   22      A     Somewhat.

11:14:49   23      Q     What's your independent recollection of the

11:14:51   24            charging conference with Mark Williams for

11:14:55   25            Mr. Hadaway and Mr. Ott?



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11:14:56    1      A     I know that Mr. Hadaway was brought in to talk

11:15:03    2            to Mr. Williams and that he was provided

11:15:06    3            counsel for the interview and that Hadaway

11:15:16    4            confirmed that what he told us was the truth,

11:15:21    5            and he went to relay that statement back to

11:15:26    6            Mr. Williams.

11:15:27    7      Q     Do you have an independent recollection of you

11:15:33    8            and -- you taking Mr. Hadaway to be polygraphed

11:15:38    9            after the charging conference?

11:15:41   10      A     I know that he was polygraphed.        I don't know

11:15:44   11            if I took him there.      I don't recall that.

11:15:47   12      Q     Okay.   Okay.    Do you remember Mr. Gwin being

11:15:54   13            part of this charging conference?

11:15:58   14      A     I don't know at what point Mr. Gwin was brought

11:16:04   15            in to talk to Mr. Williams.

11:16:06   16      Q     Okay.   Have you told me everything that

11:16:15   17            consists of your independent recollection of

11:16:17   18            your interactions with Mr. Ott?

11:16:18   19      A     Yes.

11:16:19   20      Q     Okay.   Now, you also said you had an

11:16:23   21            independent recollection that had been recently

11:16:27   22            refreshed by your review of the statements

11:16:29   23            Mr. Hadaway gave to you and James DeValkenaere,

11:16:31   24            as well as other detectives: Eric Moore,

11:16:36   25            Detective Dubis, and Detective Percy Moore,



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11:16:39    1            right?

11:16:39    2      A     Yes.

11:16:39    3      Q     Okay.    Do you have an independent recollection

11:16:49    4            that before you spoke to Mr. Hadaway that you

11:16:53    5            reviewed the reports or the handwritten

11:16:56    6            statements that Detective Eric Moore, Detective

11:17:01    7            Percy Moore or Dubis had prepared?

11:17:05    8      A     I don't recall looking at their statements.

11:17:08    9      Q     Is it fair to say that you would have known --

11:17:15   10            you would have read those statements or talked

11:17:16   11            to those detectives to find out what

11:17:20   12            Mr. Hadaway said to them before you spoke to

11:17:22   13            Mr. Hadaway?

11:17:23   14      A     Yes.

11:17:23   15      Q     And why would you do that, or why did you do

11:17:25   16            that?

11:17:26   17      A     So I know what he had told the previous

11:17:30   18            detectives regarding his knowledge or

11:17:33   19            involvement in the investigation.

11:17:36   20      Q     Do you remember that after you and James

11:17:41   21            DeValkenaere talked to Richard Gwin that you

11:17:45   22            briefed the next shift and told them to go find

11:17:48   23            Mr. Hadaway and bring him in?

11:17:49   24      A     I don't recall that.

11:17:56   25      Q     Okay.    I'm going to mark your deposition, your



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11:18:13    1            first deposition in the Ott case as Exhibit 1

11:18:16    2            and see if it refreshes your recollection,

11:18:18    3            okay?

11:18:18    4                        (Discussion off the record.)

11:18:36    5                        (Exhibit No. 1 was marked.)

11:18:53    6                        MS. DONNELL:    Do you want to take a

11:18:55    7            short break, or are you just e-mailing it now?

11:18:59    8                        MS. WILLIAMS:     I'm just looking for

11:19:02    9            it.   It'll just take me a second.

11:19:05   10                        MS. GEHLING:    You can start.      It's

11:19:06   11            fine.   You don't have to wait for me.

11:19:08   12                        MS. DONNELL:    Okay.

11:19:09   13      BY MS. DONNELL:

11:19:09   14      Q     Mr. Buschmann, I'm going to hand you what I've

11:19:12   15            designated as Exhibit 1 to your deposition, and

11:19:15   16            Exhibit 1 is the deposition that was taken of

11:19:17   17            you in the Ott versus City of Chicago matter on

11:19:21   18            June 30th, 2010, okay?

11:19:24   19      A     Okay.

11:19:24   20      Q     And I'm going to call your attention to Page 91

11:19:32   21            of your deposition, and this has four pages, so

11:19:38   22            it's going to be on Page 93.

11:19:44   23      A     Page 93?

11:19:46   24      Q     93 of the document, but it's going to be

11:19:48   25            Page 91 of the deposition.       It's kind of



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11:19:51    1            strange.    I'm not sure why.     Oh, here.    It's

11:19:55    2            about midway through.

11:20:13    3                         Okay.   So, Mr. Buschmann, I'm just

11:20:15    4            going to have you review your testimony on

11:20:17    5            Page 91 starting at Line 3 going down to Line,

11:20:26    6            let's see, 21, and you can just let me know

11:20:34    7            when you've had a chance to review that

11:20:36    8            testimony.

11:20:50    9      A     Okay.

11:20:50   10      Q     Does that refresh your recollection that after

11:20:53   11            you and James DeValkenaere drove Mr. Gwin home

11:20:57   12            that you briefed the next shift of detectives

11:20:59   13            to try and locate Mr. Hadaway?

11:21:03   14      A     Maybe I'm in the wrong part here.

11:21:06   15      Q     Okay.

11:21:08   16      A     You said Page --

11:21:09   17      Q     Page 91, lines --

11:21:15   18      A     Oh.

11:21:15   19      Q     Sorry.

11:21:15   20      A     I'm on 81.

11:21:15   21      Q     Oh, 81?

11:21:16   22      A     I'm sorry.

11:21:17   23      Q     No problem.    That's not a problem.      Thanks for

11:21:21   24            letting me know.     If you want to just review

11:21:23   25            your testimony on Page 91 of the deposition



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11:21:26    1            starting at Line 3 --

11:21:29    2      A     Okay.

11:21:30    3      Q     -- to, like, Line 23.      21, sorry.    3 to 21.

11:21:35    4      A     Okay.

11:21:35    5      Q     Okay.   Did you have a chance to review your

11:21:38    6            testimony back in 2010?

11:21:39    7      A     Yes.

11:21:39    8      Q     Does that refresh your recollection that it was

11:21:42    9            you and your partner, DeValkenaere, James

11:21:46   10            DeValkenaere, had briefed the next shift of

11:21:48   11            detectives after you drove Mr. Gwin home?

11:21:51   12      A     Yes.

11:21:52   13      Q     Okay.   Do you, as you sit here -- and I can --

11:21:55   14            you can set that down.      We'll just leave it

11:21:56   15            here if we need it.      Do you remember anything

11:21:58   16            about that briefing?

11:22:03   17      A     No.

11:22:03   18      Q     Okay.   Generally speaking, can you describe

11:22:07   19            what those briefing -- were there -- sorry,

11:22:10   20            strike that.

11:22:10   21                        Were there briefings at the beginning

11:22:14   22            and end of each shift in the detective -- in

11:22:19   23            the homicide unit?

11:22:19   24      A     Yes.

11:22:19   25      Q     Okay.   And what did those briefings consist of?



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11:22:22    1      A     Any follow-up that had been conducted by the

11:22:25    2            previous shift would be conveyed to the next

11:22:29    3            shift that's going to still be working on the

11:22:31    4            case, and any new information that was obtained

11:22:35    5            by the previous shift would be passed on to the

11:22:38    6            shift that was going to be working on the case.

11:22:40    7      Q     So was it common practice that when you were

11:22:43    8            coming on shift you would start your shift by

11:22:46    9            hearing the briefing from the shift going off?

11:22:48   10      A     Yes.

11:22:48   11      Q     And then it was also common practice that

11:22:51   12            unless you were actively investigating a crime,

11:22:54   13            you'd come back to CIB and participate in the

11:22:57   14            briefing at the end of the shift?

11:22:59   15      A     Yes.

11:22:59   16      Q     And was the purpose or one of the main reasons

11:23:02   17            of that is to have continuity in investigations

11:23:05   18            and to pass on new information?

11:23:06   19      A     Yes.

11:23:06   20      Q     And that was because while reports might be

11:23:09   21            getting dictated -- they weren't quite in the

11:23:11   22            file -- you could share information in real

11:23:13   23            time about what had happened through the course

11:23:15   24            of the shift?

11:23:16   25      A     Correct.



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11:23:16    1      Q     Okay.   Okay.    I was asking you some questions

11:23:38    2            about the training you received or didn't

11:23:43    3            receive about interrogations of suspects.         Did

11:23:47    4            you have a -- a general approach to how you

11:23:49    5            conducted interrogations when you were working

11:23:51    6            homicide as a Milwaukee police detective?

11:23:54    7      A     Yes.

11:23:55    8      Q     Can you describe your approach to

11:23:57    9            interrogations of suspects?

11:23:59   10      A     Every person is different, but I had a -- a set

11:24:06   11            practice that I tried to follow where I would

11:24:12   12            first advise the person of their Miranda

11:24:17   13            warnings, then I would get background

11:24:20   14            information, and then I would start talking to

11:24:24   15            them about whatever incident it was that I was

11:24:27   16            investigating.     I would write the statement out

11:24:34   17            in the presence of that person.        I would read

11:24:38   18            it out loud to them.      I would make note of any

11:24:45   19            cross-outs or deletions or additions I had on

11:24:49   20            the statement, and I would have them place

11:24:51   21            their initials where that correction was made,

11:24:54   22            and I would also place my initials there.

11:24:58   23                        At the end of the statement, I would

11:25:01   24            have them write that they had either read or

11:25:04   25            had read to them the statement and that it was



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11:25:07    1            true and had them sign it.       Then after the

11:25:11    2            statement was done, then I asked them if there

11:25:13    3            would be anything they would want to write in

11:25:16    4            their own handwriting and in their own words at

11:25:19    5            the end of the statement.

11:25:20    6      Q     Why would you do that last part, ask them to --

11:25:24    7            if they wanted to write anything out in their

11:25:26    8            own words?

11:25:27    9      A     It personalizes the -- the statement and if

11:25:32   10            they -- many times they show remorse, and they

11:25:38   11            want to put in words that they are apologizing

11:25:41   12            or why they did something and they want to

11:25:45   13            apologize to families and of the such.

11:25:49   14      Q     Was the approach to interrogations that you've

11:25:58   15            just described for us that you used, was that

11:26:00   16            in any way informed by your training at the

11:26:06   17            detective academy?

11:26:09   18      A     No.

11:26:09   19      Q     Okay.   Were you given any training as a

11:26:23   20            detective or a police officer on how to handle

11:26:28   21            an individual with -- individuals with limited

11:26:31   22            cognitive functioning?

11:26:33   23      A     No.

11:26:33   24      Q     How about how to -- and is that true with

11:26:38   25            interrogations, you didn't get any special



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11:26:40    1            training on how to conduct interrogations of

11:26:42    2            someone with limitations in their cognitive

11:26:45    3            functioning?

11:26:45    4      A     No.

11:26:47    5      Q     Okay.    How about as a detective or police

11:26:54    6            officer?    Did the Milwaukee Police Department

11:26:57    7            provide to you any training on -- on custodial

11:27:04    8            interrogations of individuals who had medical

11:27:09    9            needs?

11:27:10   10      A     Not that I recall.

11:27:11   11      Q     So no training with respect how to handle

11:27:15   12            diabetics or anybody like that?

11:27:17   13      A     Not that I recall.

11:27:17   14      Q     Okay.    You were not provided any training as a

11:27:57   15            polygraph examiner on how to read polygraph

11:28:01   16            charts, correct?

11:28:01   17      A     No.

11:28:01   18      Q     I mean, it's true you don't have any training

11:28:03   19            with respect to polygraphs, right?

11:28:07   20      A     Correct.

11:28:07   21      Q     Okay.    Sorry.   I had that double negative in

11:28:10   22            there.

11:28:17   23                        Okay.   Do you know the person by the

11:28:56   24            name Walter Ellis?

11:29:00   25      A     Yes, I've heard his name.



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11:29:02    1      Q     Okay.   And who do you know Walter Ellis to be?

11:29:06    2      A     He was referred to as the "North Side

11:29:13    3            Strangler."

11:29:14    4      Q     And did you have any -- well, as you sit here

11:29:24    5            today, did you ever have any interactions with

11:29:27    6            Mr. Ellis when you were a Milwaukee police

11:29:30    7            officer or detective that you're aware of?

11:29:31    8      A     None.

11:29:32    9      Q     How about with his -- any of his family

11:29:39   10            members?    Do you, as you sit here today,

11:29:41   11            remember any interactions with Martha Ellis?

11:29:44   12      A     No.

11:29:44   13      Q     Mattie Ellis?

11:29:46   14      A     No.

11:29:46   15      Q     All right.    I'm going to mark this as Exhibit

11:30:13   16            2.

11:30:14   17                         (Exhibit No. 2 was marked.)

11:30:31   18      BY MS. DONNELL:

11:30:31   19      Q     Okay.   Detective Buschmann, I'm handing you

11:30:35   20            what I've designated as Exhibit 2 to your

11:30:38   21            deposition.    Do you recognize Exhibit 2 as a

11:30:44   22            Milwaukee Police Department Supplementary

11:30:49   23            Report, a two-page report?       It has the Bates

11:30:52   24            stamp MPD SJH284 and 285.       Do you recognize the

11:30:59   25            form that this exhibit is prepared on?



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11:31:03    1      A     Yes.

11:31:03    2      Q     Okay.   And I'll represent to you that this is

11:31:11    3            from the M file for the Payne homicide, okay?

11:31:14    4      A     Okay.

11:31:15    5      Q     And do you see here -- I'm going to call your

11:31:20    6            attention to the bottom of Page 1 of Exhibit 2

11:31:23    7            where the officer reports "I then interviewed a

11:31:26    8            Martha S. Ellis, black female, 2/11/63, of 602

11:31:33    9            West Burleigh and she stated that possibly last

11:31:36   10            Saturday or Sunday she was standing on her

11:31:37   11            porch when she observed a white female walking

11:31:39   12            past her house and that she appeared to be 16

11:31:42   13            or 17 and she was carrying her shoes and her

11:31:45   14            purse in her hand and that as she walked past

11:31:48   15            her house, a car pulled over and she walked

11:31:52   16            towards the car and after a few seconds, the

11:31:55   17            car pulled away and she continued to walk on

11:31:57   18            Burleigh.    Ellis was then also interviewed by

11:32:00   19            the detective bureau."      Do you see that?

11:32:02   20      A     Hm-hm, yes.

11:32:03   21      Q     Okay.   And so this report of an interview with

11:32:08   22            Ms. Martha Ellis was one of the reports you

11:32:12   23            would have reviewed in the -- your review of

11:32:16   24            the Payne homicide file prior to you working it

11:32:19   25            up as a cold case, correct?



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11:32:21    1      A     It would have been in the file, yes.

11:32:22    2      Q     Okay.   And you would have reviewed it?

11:32:25    3      A     Yes.

11:32:25    4      Q     Okay.   Okay.    As you sit here today, do you

11:33:13    5            have a memory of doing any work on the Payne

11:33:15    6            homicide yourself prior to being involved as a

11:33:17    7            cold case?

11:33:19    8      A     No.

11:33:19    9      Q     Okay.   Let's mark this as Exhibit 3.

11:33:28   10                         (Exhibit No. 3 was marked.)

11:33:40   11      BY MS. DONNELL:

11:33:40   12      Q     Mr. Buschmann, I'm handing you what I've

11:33:42   13            designated as Exhibit 3 to your deposition.

11:33:45   14            Exhibit 3 has Bates stamp MPD SJH354 and 3- --

11:33:51   15            534 and 535.     It also has the M file from

11:33:57   16            M3084, Section 4, Pages 258 and 259.         Do you

11:34:05   17            recognize Exhibit 3 as your supplementary

11:34:09   18            report from your work on the Jessica Payne

11:34:11   19            homicide from back on October 9th, 1995?

11:34:14   20      A     Yes.

11:34:14   21      Q     Okay.   And that's your signature on the back of

11:34:17   22            Page 2?

11:34:19   23      A     Yes, it is.

11:34:20   24      Q     Okay.   And was this when you were working it as

11:34:22   25            a cold case, or was this working it before it



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11:34:25    1            became a cold case?

11:34:27    2      A     While I was on cold case.

11:34:34    3      Q     This would have been on cold case?

11:34:36    4      A     Yes.

11:34:36    5      Q     How do you know that?

11:34:37    6      A     Because that's the first time I was partners

11:34:40    7            with James DeValkenaere.

11:34:41    8      Q     Is when you were assigned to the cold case

11:34:45    9            squad?

11:34:45   10      A     Yes.

11:34:45   11      Q     Okay.    Okay.   And Exhibit 3 is documenting an

11:34:58   12            interview you and James DeValkenaere conducted

11:35:02   13            with Cassandra McMurray who reportedly had

11:35:08   14            information about Rebecca Morrison about the

11:35:10   15            Payne homicide, right?

11:35:11   16      A     Yes.

11:35:11   17      Q     Okay.    Do you know who Rebecca Morrison was?

11:35:17   18      A     Yes.

11:35:17   19      Q     Who was she?

11:35:18   20      A     She was a friend of Jessica Payne.

11:35:21   21      Q     And do you recall that she was with Jessica

11:35:27   22            staying at that home on the north side of

11:35:29   23            Milwaukee with Sandra Giles prior to Jessica's

11:35:32   24            murder?

11:35:33   25      A     Yes.



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11:35:33    1      Q     Sandra Giles -- here, I can take that.         Do you

11:35:37    2            know Sandra Giles?

11:35:39    3      A     I do not.

11:35:40    4      Q     Okay.   Okay.    This will be Exhibit 4.

11:36:57    5                        (Exhibit No. 4 was marked.)

11:36:58    6      BY MS. DONNELL:

11:37:02    7      Q     Okay.   Mr. Buschmann, I'm handing you what I've

11:37:05    8            designated as Exhibit 4.       Exhibit 4 is Bates

11:37:08    9            stamped HADAWAY38647 consecutive through 38656.

11:37:17   10            It also has a prior exhibit designation to the

11:37:20   11            deposition that I took of you back in the Ott

11:37:22   12            case on April 12th, 2012, okay?

11:37:27   13      A     Okay.

11:37:27   14      Q     And we have referred to it as the "Moore

11:37:33   15            report," but it's a memorandum by Detective

11:37:37   16            Eric Moore dated Tuesday, January 9th, 1996,

11:37:44   17            documenting -- identifying cases that -- for

11:37:48   18            possible submission of evidence to the FBI lab

11:37:51   19            for DNA analysis, right?

11:37:53   20      A     Yes.

11:37:53   21      Q     And I showed this document to you back in April

11:37:57   22            of 2012.    Do you remember that?

11:37:59   23      A     No.

11:37:59   24      Q     Okay.   Well, I'd like to give you a chance to

11:38:09   25            look over it, but maybe what we'll do is I'm



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11:38:12    1            going to ask you some preliminary questions,

11:38:14    2            and then I'll give you a chance to read it.

11:38:16    3            It's not very long, but I'm going to ask you

11:38:18    4            some questions first, and then maybe we can

11:38:21    5            take a break and you can look at it, okay?

11:38:21    6      A     Okay.

11:38:22    7      Q     As you sit here today, before you have a chance

11:38:24    8            to look at Exhibit 4 -- and, again, I am going

11:38:27    9            to give you a chance to look at it, so I'm not

11:38:29   10            trying to trick you at all -- but do you

11:38:32   11            remember at that time that the cold case squad

11:38:33   12            was created in the Milwaukee Police Department

11:38:37   13            that there was an effort to identify unsolved

11:38:43   14            homicides that may have been perpetrated by a

11:38:46   15            common perpetrator?

11:38:49   16      A     Yes.

11:38:49   17      Q     Can you tell me what you recall just

11:38:52   18            independent about that?

11:38:56   19      A     I think independently they were prostitutes,

11:39:04   20            known prostitutes, that were found to be

11:39:08   21            victims of homicides.

11:39:10   22      Q     Okay.   And so there was -- was there a thought

11:39:23   23            among homicide detectives that there might be a

11:39:25   24            single perpetrator who was committing those

11:39:28   25            crimes, those murders?



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11:39:29    1      A     They were trying to link them together.

11:39:33    2      Q     And that was -- the thought was that there was

11:39:38    3            enough homicides that had sort of similar

11:39:41    4            features that it looked like it could have been

11:39:43    5            a single perpetrator?

11:39:45    6      A     Yes.

11:39:45    7      Q     Okay.   Do you remember any briefings that

11:39:50    8            happened in the homicide unit that pertained to

11:39:53    9            that?

11:39:54   10      A     I don't recall.

11:39:55   11      Q     Okay.   Do you remember any memos going out that

11:39:59   12            were identifying murders or homicide victims

11:40:01   13            that were possibly linked?

11:40:03   14      A     Not that I recall.

11:40:04   15      Q     Okay.   Do you remember, as you sit here today,

11:40:42   16            any other features of the homicides other than

11:40:45   17            the victims were prostitutes?

11:40:56   18      A     They were all black.

11:41:00   19      Q     The victims were black?

11:41:01   20      A     The victims were black, and I believe they were

11:41:08   21            strangled.

11:41:09   22      Q     And were they -- all the victims you were

11:41:12   23            thinking of, were they women?

11:41:14   24      A     Yes.

11:41:14   25      Q     Okay.   How about the locations where the bodies



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11:41:17    1            were found?    Do you remember, as you sit here

11:41:19    2            today, anything that was common about that?

11:41:21    3      A     No.

11:41:21    4      Q     Okay.   Sorry, just one second.       Okay.   Okay.

11:43:01    5            Well, why don't you take a chance to look at

11:43:06    6            Exhibit 4, and maybe we could take just a -- go

11:43:09    7            off the record and take a short break?

11:43:12    8                        THE VIDEOGRAPHER:     Going off the

11:43:12    9            record at 11:43.

11:43:16   10                          (Brief recess taken.)

11:52:47   11                        THE VIDEOGRAPHER:     We're back on the

11:52:53   12            record at 11:52.

11:52:54   13      BY MS. DONNELL:

11:52:55   14      Q     Okay.   On the break, Mr. DeValkenaere -- I

11:52:56   15            mean, Mr. -- sorry, Mr. Buschmann, on the

11:52:59   16            break, were you able to review Exhibit 4 which

11:53:01   17            is the Moore report?

11:53:02   18      A     Yes.

11:53:02   19      Q     Did reviewing the Moore report refresh your

11:53:06   20            recollection in any way of some of the efforts

11:53:09   21            Eric Moore was making as part of the cold case

11:53:12   22            unit to identify cases for further

11:53:14   23            investigation or DNA testing?

11:53:16   24      A     Yes.

11:53:16   25      Q     Okay.   How did -- what did -- how did it



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11:53:18    1            refresh your recollection?

11:53:22    2      A     Just from reading it, that he resubmitted the

11:53:25    3            evidence to be retested at the crime lab, along

11:53:30    4            with possible suspects in the other cases or

11:53:36    5            people of interest.      I -- I wasn't in the

11:53:41    6            homicide unit any longer when this report was

11:53:43    7            authored.

11:53:45    8      Q     In January 1996?

11:53:47    9      A     Yes.

11:53:48   10      Q     How do you know that?

11:53:49   11      A     I was only there for about a year, and I

11:53:55   12            went -- went to another unit after.        I don't

11:53:59   13            believe I was there at this time.

11:54:01   14      Q     So right after you were doing your

11:54:04   15            investigation of the Payne homicide you were

11:54:06   16            only in the cold case for a couple months or --

11:54:12   17            because, you know, the --

11:54:13   18      A     I --

11:54:14   19      Q     Sorry.

11:54:15   20      A     I would have been there until the end of the --

11:54:18   21            the Ott trial.     So, yeah, I would have been

11:54:21   22            there.

11:54:22   23      Q     Because the Ott trial was in 1996?

11:54:25   24      A     Yes.

11:54:25   25      Q     Okay.    So this Moore report would have been at



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11:54:28    1            the same time that you and James DeValkenaere

11:54:31    2            and Eric Moore were all part of the cold case

11:54:34    3            squad?

11:54:35    4      A     Yes.

11:54:35    5      Q     Okay.    So I'm just curious if refreshing -- if

11:54:38    6            reviewing Eric Moore's report on the cases he

11:54:41    7            was reviewing to identify for additional DNA

11:54:45    8            testing refreshed your recollection of any

11:54:48    9            conversations you guys had as the cold case

11:54:51   10            squad about this review he was doing?

11:54:55   11      A     Detective Moore was working by himself on

11:55:01   12            these.    He was assigned to reevaluate the

11:55:04   13            evidence and to resubmit it for testing.         He

11:55:09   14            didn't work with us at all.       This was his

11:55:12   15            assignment.

11:55:12   16      Q     So the cold case squad, those four of you, Eric

11:55:19   17            Moore and -- I'm forgetting the other guy's

11:55:24   18            name.    He was one of your regular partners at

11:55:27   19            one point, too.

11:55:27   20      A     Gary Temp?

11:55:29   21      Q     Gary Temp.    Gary Temp was part of the cold case

11:55:31   22            squad, too, when you were first there, right?

11:55:33   23      A     I believe so, yes.

11:55:33   24      Q     And so he was doing his own thing, or was he

11:55:36   25            partnered with anybody?



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11:55:37    1      A     I can't answer -- I -- I know that Eric Moore

11:55:40    2            had been assigned to this.

11:55:43    3      Q     Meaning this project of identifying --

11:55:47    4      A     This project, yes.

11:55:48    5      Q     Meaning Exhibit 4, identifying cases for DNA

11:55:51    6            testing?

11:55:52    7      A     Correct.

11:55:52    8      Q     Or identifying cold cases that would benefit

11:55:54    9            from DNA testing?

11:55:56   10      A     Yes.

11:55:56   11      Q     And one of the cases that Eric Moore identified

11:55:58   12            is Murder 3084 for Jessica Payne, right, if you

11:56:08   13            look at Page 2 of the Eric Moore report?

11:56:14   14      A     Yes.

11:56:14   15      Q     So Eric Moore was identifying the Payne

11:56:20   16            homicide as a case that could benefit from

11:56:24   17            further DNA testing, right?

11:56:26   18      A     Yes.

11:56:26   19      Q     And this was just a few months after you had

11:56:29   20            obtained statements from Mr. Gwin and

11:56:31   21            Mr. Hadaway?

11:56:32   22      A     Correct.

11:56:33   23      Q     Okay.   Did you have conversations with Eric

11:56:36   24            Moore about identifying Jessica Payne's case

11:56:40   25            for additional DNA testing since it was right



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11:56:43    1            at the time when you and your partner were

11:56:45    2            investigating it?

11:56:45    3      A     Not that I recall.

11:56:47    4      Q     Okay.    Do you see on Page -- and nothing in

11:56:51    5            Exhibit 4 refreshes your recollection about any

11:56:53    6            of those conversations?

11:56:54    7      A     No.

11:56:54    8      Q     As you sit here today, can you think of a

11:56:57    9            reason why Jessica Payne was on this list, you

11:57:05   10            know, two months after you and your partner had

11:57:08   11            obtained statements from Mr. Gwin and

11:57:11   12            Mr. Hadaway?

11:57:11   13                        MS. GEHLING:    Objection; foundation.

11:57:15   14            You can answer if you know.

11:57:19   15                        THE WITNESS:    No.

11:57:19   16      BY MS. DONNELL:

11:57:19   17      Q     Okay.    On the third page of Eric Moore's

11:57:24   18            report, there were 33 persons that were

11:57:25   19            subsequently identified as possible suspects,

11:57:28   20            right?

11:57:30   21      A     Yes.

11:57:31   22      Q     And some of those individuals are redacted out,

11:57:41   23            correct?

11:57:42   24      A     Yes.

11:57:43   25      Q     And some of those individuals include



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11:58:02    1            individuals that were suspects that are

11:58:05    2            identified in the Payne homicide, correct, if

11:58:08    3            you look at Page 4?      So you'll see --

11:58:18    4      A     Yes.

11:58:18    5      Q     -- suspect -- Eric Moore had identified Suspect

11:58:23    6            No. 27 as Terrance Wallace, right?

11:58:25    7      A     Correct.

11:58:25    8      Q     And that was from the -- a suspect from the

11:58:27    9            Payne homicide?

11:58:27   10      A     Yes.

11:58:28   11      Q     He had identified Johnnie Lee Jones from the

11:58:31   12            Payne homicide?

11:58:32   13      A     Yes.

11:58:32   14      Q     And he identified Walter J.D. Moffett from the

11:58:37   15            Payne homicide, right?

11:58:39   16      A     Yes.

11:58:39   17      Q     Does that refresh your recollection in any way

11:58:41   18            as to conversations you had with Eric Moore

11:58:44   19            about further investigation of three suspects

11:58:47   20            from the Payne homicide you were investigating?

11:58:49   21      A     No.

11:58:49   22      Q     Do you remember the suspect that Eric Moore

11:59:07   23            identified as No. 14, Mr. Thomas Wynn, who had

11:59:12   24            been identified as a suspect in the Preston,

11:59:17   25            McCormick, Farrior, and Maniece cases?



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11:59:18    1      A     Yes.

11:59:18    2      Q     He was a city forestry worker.        Do you remember

11:59:20    3            that guy?

11:59:22    4      A     Yes, I do.

11:59:23    5      Q     What do you remember about Mr. Wynn?

11:59:25    6      A     That he was a city forestry worker.

11:59:28    7      Q     Anything else?

11:59:29    8      A     No.

11:59:29    9      Q     Do you remember, back then, information about

11:59:34   10            some of the victims were -- had been part of

11:59:40   11            community drug rehab groups and had all been

11:59:43   12            participants in that or some of them had been

11:59:46   13            participants in community drug rehab groups, a

11:59:49   14            friendship group, a friendship circle?

11:59:52   15      A     I don't recall.

11:59:56   16      Q     It's fair to say that even though you reviewed

11:59:59   17            all of Exhibit 4 today, Eric Moore's report,

12:00:03   18            and see that both Jessica Payne is identified

12:00:07   19            here for DNA testing and three of the suspects

12:00:13   20            from Jessica Payne's homicide are identified

12:00:15   21            for further testing, that nothing in this has

12:00:19   22            refreshed your recollection as to conversations

12:00:20   23            you had with Eric Moore back in late '95, early

12:00:25   24            '96 about the Payne homicide?

12:00:27   25      A     Correct.



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12:00:27    1      Q     Okay.   This memo was submitted to Victor Venus,

12:00:43    2            the captain of the police, right?

12:00:44    3      A     Yes.

12:00:44    4                        MS. GEHLING:    Objection; foundation.

12:00:46    5      BY MS. DONNELL:

12:00:46    6      Q     Or it's identified to -- on Page 1, to Victor

12:00:50    7            Venus, right?

12:00:51    8      A     To Victor Venus, yes.

12:00:53    9      Q     And was that the chief of the Milwaukee Police

12:00:56   10            Department at that time?

12:00:56   11      A     No.

12:00:56   12      Q     He was a captain?

12:00:58   13      A     Yes.

12:00:58   14      Q     Was he captain of the CIB?

12:01:01   15      A     I don't recall.

12:01:02   16      Q     Okay.   When you said Eric Moore had been

12:01:05   17            assigned to this project of identifying cases

12:01:07   18            for additional testing, who -- do you know who

12:01:12   19            assigned him to that task?

12:01:13   20      A     No.

12:01:13   21      Q     Okay.   Who did you report to when you were part

12:01:20   22            of the cold case squad?

12:01:23   23      A     I don't recall.

12:01:24   24      Q     Okay.   If you previously testified that you

12:01:29   25            mostly interacted with Lieutenant Ardis, does



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12:01:32    1            that refresh your recollection?

12:01:34    2      A     I know he was a homicide lieutenant.

12:01:38    3      Q     Okay.   Do you ever see or talk to Eric Moore

12:02:30    4            since your retirement?

12:02:31    5      A     No.

12:02:31    6      Q     How about Percy Moore?

12:02:43    7      A     No.

12:02:57    8      Q     Okay.   Do you remember Walter J.D. -- I mean, I

12:03:39    9            don't -- J.D.     Moffett as an individual in the

12:03:43   10            Payne homicide?

12:03:47   11      A     I recall the name.

12:03:50   12      Q     Do you remember his interactions with Jessica

12:03:54   13            Payne prior to her murder?

12:03:55   14      A     No.

12:03:56   15      Q     Okay.   Do you remember that Sandra Giles had

12:03:59   16            reported that he had had sex with her, that she

12:04:04   17            had sex with him?

12:04:04   18      A     I don't recall that.

12:04:05   19      Q     Okay.   I'm going to show you what I've

12:04:08   20            designated as Exhibit 5 to your -- Exhibit 5 to

12:04:12   21            your deposition.

12:04:25   22                        (Exhibit No. 5 was marked.)

12:04:25   23      BY MS. DONNELL:

12:04:25   24      Q     Mr. Buschmann, I'm holding -- handing you what

12:04:27   25            I've designated as Exhibit 5 to your



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12:04:31    1            deposition.    It has Bates stamp MPD SJH497 and

12:04:36    2            498.    This is a supplementary report by

12:04:40    3            reporting officer Detective Mark Levenhagen,

12:04:46    4            and I'm -- and this is from the Jessica Payne

12:04:53    5            M file, Section 4, Pages 220 and 221, okay?

12:04:57    6      A     Hm-hm, yes.

12:04:58    7      Q     Okay.    And this is documenting his

12:05:00    8            investigation from September 12, 1995, where he

12:05:05    9            spoke to Sandra Giles at the -- the jail,

12:05:09   10            right?

12:05:12   11      A     Yes.

12:05:13   12      Q     And this would have been one of the reports

12:05:15   13            that was in the M file for the Payne homicide

12:05:17   14            that you reviewed prior to getting involved as

12:05:20   15            a cold case investigation, correct?

12:05:22   16      A     Yes.

12:05:22   17      Q     And if you see on the back, the last paragraph,

12:05:29   18            Mark Levenhagen asked Sandra Giles if J.D.,

12:05:33   19            meaning J.D. Moffett who was identified on

12:05:35   20            the -- Walter J.D. Moffett who's identified on

12:05:40   21            the front page, whether he had had sex with

12:05:42   22            Rebecca to which she said that J.D. had had sex

12:05:46   23            with both Rebecca Morrison and Jessica Payne,

12:05:48   24            and then he inquired how Giles knew that, and

12:05:50   25            she explained that J.D. had been in the back



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12:05:53    1            room with Jessica for several hours when

12:05:57    2            Rebecca was gone and that she stated at one

12:05:58    3            point Jessica came out dressed in blue jeans

12:05:59    4            and a T-shirt and J.D. said to get Jessica a

12:06:02    5            towel.    "She stated that while Jessica was

12:06:05    6            getting a towel in the bathroom, he told Giles

12:06:07    7            how -- how good Jessica's stuff was, and I

12:06:09    8            asked Giles what J.D. meant by this, at which

12:06:13    9            Giles stated she believed J.D. had sex with

12:06:15   10            Jessica because that's what he meant by 'her

12:06:17   11            good stuff,'" right?

12:06:18   12      A     That's what it says.

12:06:19   13      Q     Okay.    And this would have been one of those

12:06:23   14            reports you read, right?

12:06:24   15      A     Yes.

12:06:24   16      Q     Okay.    And J.D. -- J.D. Moffett is one of those

12:06:27   17            individuals identified for further

12:06:28   18            investigation as a suspect in Eric Moore's

12:06:33   19            report, right?

12:06:33   20      A     Yes.

12:06:34   21      Q     And there was evidence that Jessica Payne was

12:06:36   22            having sex in the house where she was staying

12:06:39   23            with Sandra Giles, right?

12:06:42   24      A     Based on this, yes.

12:06:49   25      Q     Okay.    Do you remember there being evidence



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12:06:52    1            that Becky Morrison had been prostituting

12:06:54    2            herself during that same time frame?

12:06:56    3      A     I don't recall.

12:06:56    4      Q     Okay.    But if there was that evidence in the

12:07:01    5            supplementary report, you would have been aware

12:07:04    6            of it back when you were investigating in 1995,

12:07:06    7            right?

12:07:07    8      A     Yes.

12:07:07    9      Q     Okay.    But you do recall independently there

12:07:17   10            was evidence of drug use in the home where

12:07:20   11            Becky Morrison and Jessica Payne were staying

12:07:22   12            before her murder, right?

12:07:25   13      A     Yes.

12:07:26   14      Q     Okay.    Okay.   I'm going to mark this as

12:08:10   15            Exhibit 6.

12:08:11   16                         (Exhibit No. 6 was marked.)

12:08:12   17      BY MS. DONNELL:

12:08:12   18      Q     Mr. Buschmann, I'm handing you what I've

12:08:15   19            designated as Exhibit 6 to your deposition.            Do

12:08:18   20            you recognize Exhibit 6 as a supplementary

12:08:21   21            report prepared by your partner, James

12:08:25   22            DeValkenaere, in the Payne homicide

12:08:26   23            investigation?

12:08:26   24      A     Yes.

12:08:27   25      Q     Okay.    And you didn't see this supplementary



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12:08:31    1            report to prepare for your deposition; is that

12:08:33    2            right?

12:08:33    3      A     That's correct.

12:08:33    4      Q     Okay.    This documents that on Friday, October

12:08:43    5            20th you and James DeValkenaere were assigned

12:08:52    6            to assist in the investigation of the

12:08:55    7            above-captioned incident.       Do you see that?

12:08:56    8      A     Yes.

12:08:56    9      Q     But you had already -- were you assigned to

12:09:00   10            assist with it, or this is what you were

12:09:02   11            working as a cold case at this point?

12:09:04   12      A     I don't recall.

12:09:05   13      Q     Okay.    But this indicates that you were going

12:09:07   14            to find a suspect named Cortez who was

12:09:11   15            described as a 17-year-old black male, right?

12:09:14   16      A     Yes.

12:09:14   17      Q     And you recall that being one of the first

12:09:16   18            things that you and James DeValkenaere were

12:09:19   19            doing as part of the cold case investigation

12:09:22   20            was to figure out who this Cortez was, right?

12:09:25   21      A     Yes.

12:09:25   22      Q     Okay.    So that refreshes your recollection that

12:09:27   23            this was part of your cold case investigation,

12:09:29   24            right?

12:09:29   25      A     Yes.



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12:09:29    1      Q     And, in fact, you didn't get partnered with

12:09:32    2            James DeValkenaere until you were part of the

12:09:34    3            cold case squad, right?

12:09:36    4      A     Yes.

12:09:37    5      Q     And what I showed you in Exhibit 3 -- or

12:09:43    6            Exhibit 3 was a report that you authored from

12:09:48    7            October 9th which predated this and you said

12:09:52    8            that was when you were working it up as a cold

12:09:55    9            case, right?

12:09:56   10      A     Yes.

12:10:06   11      Q     And this was about 11 days later, right?

12:10:15   12      A     I guess what -- yes.

12:10:23   13      Q     So in Exhibit 3, it documented your

12:10:29   14            investigation with James DeValkenaere on

12:10:31   15            October 9th when you went to talk to Cassandra

12:10:36   16            McMurray who had information about Rebecca

12:10:39   17            Morrison, Jessica Payne's friend, right?

12:10:41   18      A     Yes.

12:10:41   19      Q     And then your Exhibit 6 has -- documents your

12:10:45   20            investigation with James DeValkenaere to try

12:10:48   21            and figure out who Cortez is, right?

12:10:51   22      A     Correct.

12:10:51   23      Q     Okay.   Does that refresh your recollection in

12:10:53   24            any way that the first thing you were doing in

12:10:55   25            the cold case was to find out information about



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12:10:57    1            Becky Morrison?

12:11:01    2      A     In chronological order, yes.

12:11:03    3      Q     Okay.   Okay.    So back to Exhibit 6, this would

12:11:08    4            have been when you were working it up with Jim

12:11:11    5            DeValkenaere as a cold case, right?

12:11:13    6      A     Yes.

12:11:13    7      Q     And you were trying to find out who this

12:11:16    8            17-year-old Cortez is, and so you wanted to

12:11:19    9            talk to family members who were residing at

12:11:22   10            1611 North 19th Street, right?

12:11:24   11      A     Yes.

12:11:26   12      Q     And at that residence you talked to Teresa

12:11:29   13            Gwin; is that right?

12:11:30   14      A     Yes.

12:11:31   15      Q     And she stated that Cortez Brown is her

12:11:33   16            brother, Richard Gwin?

12:11:37   17      A     Yes.

12:11:38   18      Q     Okay.   Then you go on to -- this report

12:11:49   19            indicates that three days later on October 23rd

12:11:52   20            you and Jim DeValkenaere went to go find

12:11:57   21            Richard Gwin's mother, Melva Gwin, right?

12:12:01   22      A     Yes.

12:12:01   23      Q     And you guys told Mrs. Gwin, his mom, that you

12:12:08   24            needed to speak to her son about a serious

12:12:10   25            situation, but you didn't advise her on the



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12:12:14    1            specifics, right?

12:12:15    2      A     Right.

12:12:24    3      Q     And then at the bottom, the second-to-last

12:12:28    4            paragraph, it says "At approximately 1:30 p.m.

12:12:31    5            on 10/24/95, Melva Gwin appeared at the

12:12:35    6            Criminal Investigation Bureau along with her

12:12:37    7            son, Richard C. Gwin.      Subsequently Richard

12:12:41    8            Gwin was interviewed in an interview room at

12:12:44    9            the Criminal Investigation Bureau"?

12:12:47   10      A     Yes.

12:12:47   11      Q     Does that refresh your recollection that

12:12:49   12            Mr. Gwin was brought in by his mom?

12:12:51   13      A     Yes.

12:12:51   14      Q     Okay.    And so does this refresh your

12:12:58   15            recollection that the first time you and Jim

12:13:00   16            DeValkenaere talked to Mr. Gwin was on the

12:13:03   17            afternoon of October 24th?

12:13:05   18      A     Yes.

12:13:05   19      Q     Okay.    And then if you look, in that interview

12:13:15   20            with Mr. Gwin, he denied any knowledge of the

12:13:18   21            incident which had occurred at North 7th Street

12:13:21   22            and West Burleigh and he denied having ever

12:13:24   23            made statements to anyone regarding any girl

12:13:26   24            being held for sale or anyone having killed a

12:13:29   25            girl and stating that she deserved it, right?



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12:13:31    1            He denied any knowledge or involvement,

12:13:35    2            correct?

12:13:35    3      A     Yes.

12:13:35    4      Q     Okay.   Do you see on this -- the last page of

12:13:55    5            Exhibit 6 that -- that you went -- it says --

12:14:04    6            the report says "When questioned further, Gwin

12:14:06    7            went on to describe how the girl who was found

12:14:09    8            behind the house on North 7th Street and West

12:14:11    9            Burleigh Street had died as a result of having

12:14:15   10            her throat slashed.      Gwin was confronted with

12:14:16   11            the fact that he was showing personal knowledge

12:14:17   12            of this offense and he was unable to give any

12:14:19   13            explanation as to how he would have received

12:14:21   14            this knowledge," right?

12:14:22   15      A     Yes.

12:14:22   16      Q     Was the fact that her throat was slashed, was

12:14:30   17            that publicly known?

12:14:32   18      A     No, not to my knowledge.

12:14:34   19      Q     You know that there were public citizens who

12:14:37   20            had found the body and reported it, right?

12:14:41   21      A     Yes.

12:14:42   22      Q     And so her -- the observation of her neck being

12:14:49   23            slashed had been observed by members of the

12:14:51   24            public, right?

12:14:52   25      A     I don't -- I don't recall.



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12:14:53    1      Q     Well, you have no knowledge that that wasn't

12:14:58    2            known by individuals who had found the body,

12:15:01    3            right?

12:15:01    4                        MS. GEHLING:    Objection; foundation.

12:15:03    5            You can answer.

12:15:04    6                        THE WITNESS:    I don't recall.

12:15:05    7      BY MS. DONNELL:

12:15:05    8      Q     Had you done -- it states that "He initially

12:15:08    9            stated he had seen news accounts relative to

12:15:12   10            the death, but then he was told that this had

12:15:14   11            not been public knowledge."       Do you see that?

12:15:16   12      A     Yes.

12:15:16   13      Q     How did you and James DeValkenaere know that

12:15:20   14            the fact that Jessica Payne's throat had been

12:15:23   15            slashed was not public?

12:15:26   16      A     The manner of death had not been released to

12:15:29   17            the public by our department.

12:15:31   18      Q     Other than that, the fact that the manner of

12:15:35   19            death had not been released by the department,

12:15:38   20            did you have any awareness of what was known in

12:15:41   21            the neighborhood at the time?

12:15:41   22      A     No.

12:15:41   23      Q     Okay.    So it's entirely possible that the fact

12:15:46   24            that the white girl had been found with her

12:15:48   25            neck slashed was known in the neighborhood



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12:15:50    1            based on what people had observed, right?

12:15:53    2                        MS. GEHLING:    Objection; foundation.

12:15:55    3                        THE WITNESS:    I don't know.

12:15:56    4      BY MS. DONNELL:

12:15:56    5      Q     Okay.   You have no way of knowing that it

12:15:58    6            wasn't known in the neighborhood even if the

12:16:00    7            department hadn't released that information,

12:16:02    8            correct?

12:16:03    9      A     I -- I don't know.

12:16:06   10      Q     But this report goes on -- I was going to ask

12:16:22   11            you more questions about the report.

12:16:22   12      A     Okay.

12:16:24   13      Q     The report goes on to say "Due to the

12:16:25   14            information that had been received prior to

12:16:27   15            Richard Gwin appearing at the Criminal

12:16:29   16            Investigation Bureau and the fact that he was

12:16:32   17            displaying some knowledge of this incident" --

12:16:36   18            meaning that he knew her throat had been

12:16:38   19            slashed, right?

12:16:39   20      A     Yes.

12:16:40   21      Q     -- "he was taken into custody at 4:50 p.m. on

12:16:45   22            10/24/95," right?

12:16:47   23      A     Yes.

12:16:47   24      Q     And so you and your partner arrested Mr. Gwin

12:16:52   25            for the Payne homicide based on this, right?



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12:16:55    1      A     Yes.

12:16:56    2      Q     Okay.   Then the report goes on to say

12:17:01    3            "Subsequent to being taken into custody, Gwin

12:17:04    4            would give additional statements.        These

12:17:06    5            statements are detailed in separate

12:17:08    6            supplementary reports," right?

12:17:09    7      A     Yes.

12:17:09    8      Q     And then this report is dated 10/27/95, right?

12:17:13    9      A     Yes.

12:17:13   10      Q     A week after the actual -- or, sorry, strike

12:17:17   11            that.

12:17:18   12                        Three days after the actual interview

12:17:19   13            with Mr. Gwin on October 24th, right?

12:17:22   14      A     Yes.

12:17:22   15      Q     Okay.   Does having reviewed Exhibit 6 refresh

12:17:29   16            your recollection in any way of your

12:17:32   17            interrogation of Mr. Richard Gwin?

12:17:43   18      A     Minimal.

12:17:44   19      Q     Okay.   Does it refresh your recollection that

12:18:26   20            you and your partner decided to take him into

12:18:29   21            custody for the Payne homicide?

12:18:31   22      A     Yes.

12:18:32   23      Q     Okay.   Okay.    Do you remember taking Mr. Gwin

12:18:51   24            to be polygraphed?

12:18:54   25      A     No.



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12:18:54    1      Q     Okay.    I'm going to mark this as Exhibit 7.

12:19:48    2                        (Exhibit No. 7 was marked.)

12:19:48    3      BY MS. DONNELL:

12:19:49    4      Q     Okay.    I'm handing you what I've designated as

12:19:52    5            Exhibit 7 to your deposition.       Exhibit 7 has

12:19:54    6            Bates stamp MPD SJH552, 553.       It comes from the

12:19:59    7            M homicide file 3084, Section 4, Pages 276 and

12:20:03    8            277.    Do you recognize this as the

12:20:06    9            supplementary report prepared by your partner,

12:20:10   10            James DeValkenaere, picking up on Tuesday,

12:20:14   11            October 24th at 4:50 p.m. for the custodial

12:20:20   12            interrogation of Mr. Gwin right after you guys

12:20:22   13            decided to arrest him?

12:20:24   14      A     Yes.

12:20:24   15      Q     Okay.    And you have not had a chance to review

12:20:30   16            this in preparing for your deposition; is that

12:20:33   17            right?

12:20:33   18      A     No.

12:20:33   19      Q     Okay.    All right.   So Exhibit 7 indicates that

12:20:51   20            you and your partner provided Mr. Gwin his

12:20:56   21            Miranda rights; is that right?

12:20:58   22      A     Yes.

12:20:58   23      Q     And he gives some background information that

12:21:01   24            he was born in Memphis but moved to Milwaukee a

12:21:05   25            year and a half ago and he lives with his mom



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12:21:07    1            on 20th and Locust?

12:21:09    2      A     Yes.

12:21:09    3      Q     Okay.   He said he's currently in the 11th grade

12:21:14    4            at the North Division High School, right?

12:21:15    5      A     Yes.

12:21:15    6      Q     And here he gives his date of birth as

12:21:19    7            12/22/77, right?

12:21:20    8      A     Yes.

12:21:21    9      Q     And so when you were interviewing Mr. Gwin, he

12:21:26   10            was 17 years old, just shy of his 18th

12:21:30   11            birthday; is that right?

12:21:31   12      A     Yes.

12:21:31   13      Q     Okay.   He again denied having any involvement

12:21:38   14            in Jessica Payne's homicide, right?

12:21:41   15      A     Yes.

12:21:43   16      Q     And he again denied that he had any -- ever

12:21:47   17            said that he had a girl for sale or that he'd

12:21:49   18            killed a girl and she deserved it, right?

12:21:51   19      A     Correct.

12:21:52   20      Q     And then he goes on to say that he thought the

12:21:58   21            police wanted to talk to him about the death of

12:22:00   22            a white girl on 7th and Burleigh because

12:22:02   23            someone told him about it, and he said he'd

12:22:05   24            heard about it from a guy named Sammy Joe who's

12:22:08   25            a black male who lives next door to his sister,



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12:22:12    1            Teresa, on 19th and Galena, right?

12:22:17    2      A     Yes.

12:22:17    3      Q     Okay.   Before I ask you more questions about

12:22:23    4            Exhibit 7, do you remember anything of the

12:22:27    5            questioning back and forth that you and your

12:22:29    6            partner had with Mr. Gwin prior to your

12:22:32    7            decision to arrest him, so, you know, when you

12:22:34    8            were first talking to him on the afternoon of

12:22:38    9            the 24th before 4:50 when you guys decided to

12:22:45   10            arrest him?

12:22:45   11      A     No.

12:22:46   12      Q     Do you remember whether it was an accusatorial

12:22:51   13            questioning or if it was just open-ended

12:22:53   14            questioning?     Do you remember anything about

12:22:54   15            the nature of the questioning you and your

12:22:56   16            partner were engaged in?

12:22:58   17      A     No.

12:22:58   18      Q     Do you remember, prior to his mom bringing him

12:23:12   19            in, that you and your partner thought Richard

12:23:15   20            Gwin was a suspect and possibly had involvement

12:23:19   21            in Payne's homicide based on the statements he

12:23:23   22            had allegedly made?

12:23:28   23      A     Statements he made to whom?

12:23:32   24      Q     Well, the statements that you were inquiring of

12:23:38   25            him about, that he had said he had a white girl



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12:23:40    1            for sale and that -- and that he'd killed a

12:23:46    2            girl and she deserved it?

12:23:47    3      A     He was a person of interest.

12:23:49    4      Q     What's a person of interest?

12:23:50    5      A     Someone that displayed possible knowledge.

12:23:57    6      Q     So in your interactions with him before you

12:24:03    7            arrested him -- well, in your first interaction

12:24:08    8            with him, it doesn't indicate that he was given

12:24:11    9            his Miranda rights, does it?

12:24:13   10      A     He was not in custody.

12:24:14   11      Q     Okay.   So at that time he wasn't being

12:24:17   12            interrogated as a suspect; is that right?

12:24:19   13      A     Correct.

12:24:19   14      Q     Why not?

12:24:23   15      A     We didn't have probable cause to arrest him.

12:24:27   16      Q     So from 11:00 a.m. -- sorry, from -- so from

12:24:34   17            1:30 p.m. on October 24th to 4:50 p.m., he was

12:24:40   18            not being interrogated as a suspect in the

12:24:43   19            Payne homicide?

12:24:44   20      A     No.

12:24:45   21      Q     And then at 4:50 p.m., you decided to arrest

12:24:49   22            him and that's when he got his Miranda rights?

12:24:52   23      A     Yes.

12:24:52   24      Q     Was his mom present for that first interview

12:24:56   25            from 1:30 p.m. to 4:50 p.m.?



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12:25:00    1                        MS. GEHLING:    Objection; relevance.

12:25:02    2                        THE WITNESS:    No.

12:25:02    3      BY MS. DONNELL:

12:25:02    4      Q     Was there any requirement for individuals under

12:25:04    5            18 to have a present -- a parent or legal

12:25:07    6            guardian with them during a murder

12:25:09    7            interrogation?

12:25:09    8      A     No.

12:25:10    9      Q     Why not?

12:25:12   10                        MS. GEHLING:    Objection; foundation;

12:25:13   11            also relevance.

12:25:18   12                        THE WITNESS:    I don't know.

12:25:19   13      BY MS. DONNELL:

12:25:19   14      Q     Okay.    Okay.   Once he was arrested and you

12:25:27   15            started a custodial interrogation of him, did

12:25:32   16            it turn to be accusatorial in nature at that

12:25:40   17            point?

12:25:40   18      A     I don't recall.

12:25:41   19      Q     You don't recall one way or the other?

12:25:44   20      A     I don't have independent recollection of how

12:25:48   21            the interview went.

12:25:50   22      Q     So as you sit here today, you have no memory of

12:25:53   23            how the interrogation went -- the custodial

12:25:56   24            interrogation went with Mr. Gwin, right?

12:25:58   25      A     That's correct.



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12:25:59    1      Q     Okay.   On your -- in your custodial

12:26:25    2            interrogation of Mr. Gwin, he states that --

12:26:35    3            that he reported that when he was at his

12:26:38    4            sister's house a couple months ago late at

12:26:40    5            night, he happened to look over to Sammy Joe's

12:26:43    6            house and he saw Sammy Joe on the porch with

12:26:45    7            two white girls, right?

12:26:47    8      A     Yes.

12:26:47    9      Q     And then your partner's -- your report -- James

12:26:52   10            DeValkenaere's report says "Subject identifies

12:26:54   11            one of the girls as Jessica Payne after being

12:26:59   12            shown her photo," right?

12:27:00   13      A     Yes.

12:27:00   14      Q     What photo did you and your partner show

12:27:03   15            Richard Gwin in this interrogation on October

12:27:07   16            24th?

12:27:07   17      A     I don't recall.

12:27:08   18      Q     Would it have been the crime scene photograph?

12:27:13   19      A     No.

12:27:13   20      Q     It would have been a photograph of her alive?

12:27:15   21      A     Yes.

12:27:19   22      Q     Okay.   Okay.    And then according to this

12:27:28   23            report, Mr. Gwin had let you know that Sammy

12:27:32   24            Joe had stated a month later that the girl he

12:27:34   25            was kicking it with had been found at 7th and



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12:27:38    1            Burleigh and that -- behind an abandoned house

12:27:42    2            with her neck cut, right?

12:27:43    3      A     Yes.

12:27:43    4      Q     And then it indicates that Mr. Gwin had an

12:27:49    5            opportunity to review the handwritten

12:27:50    6            statement, right?

12:27:51    7      A     Yes.

12:27:53    8      Q     And that this interview concluded at 7:45 p.m.?

12:28:00    9      A     Correct.

12:28:01   10      Q     Okay.   So you and your partner were

12:28:03   11            interrogating -- well, you and your partner

12:28:05   12            were interviewing Mr. Gwin from 1:30 to 4:50

12:28:13   13            p.m. first, right?

12:28:14   14      A     Yes.

12:28:14   15      Q     And then at 4:50 you guys arrested him and

12:28:18   16            continued to interrogate him in a custodial

12:28:21   17            interrogation until 7:45 p.m., right?

12:28:24   18      A     Yes.

12:28:24   19      Q     And then he was taken over to the jail?

12:28:27   20      A     I believe so.

12:28:28   21      Q     Okay.   Now, nothing in the reports you've read

12:28:35   22            so far, Exhibits 6 and 7, gives an inculpatory

12:28:42   23            statement or a statement inculpating

12:28:45   24            Mr. Hadaway or Mr. Ott in the murder of Jessica

12:28:48   25            Payne, correct?



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12:28:49    1      A     Right.

12:28:49    2      Q     Okay.    So at this point on the 24th, Mr. Gwin

12:28:54    3            still hasn't given you a statement that he had

12:28:56    4            actual knowledge or participation in Jessica

12:28:59    5            Payne's murder, right?

12:29:00    6      A     Correct.

12:29:00    7      Q     You're not -- you have no information saying

12:29:02    8            that Mr. Hadaway had knowledge or participation

12:29:05    9            in Jessica Payne's murder, right?

12:29:08   10      A     Correct.

12:29:08   11      Q     And Mr. Ott isn't even mentioned?

12:29:18   12      A     Correct.

12:29:18   13      Q     Okay.

12:29:20   14                        MS. DONNELL:    I think I said that we

12:29:22   15            would get a break at 12:30, so let's take a

12:29:25   16            lunch break.

12:29:26   17                        THE VIDEOGRAPHER:     Going off the

12:29:27   18            record at 12:29.

12:29:30   19                            (Recess taken.)

01:19:11   20                        THE VIDEOGRAPHER:     We're back on the

01:19:14   21            record at 1:19.

01:19:18   22      BY MS. DONNELL:

01:19:19   23      Q     Okay.    Where we left off, I was asking you

01:19:25   24            questions about your -- in your time with

01:19:29   25            Mr. Richard Gwin.     Do you remember that?



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01:19:31    1      A     Yes.

01:19:31    2      Q     Okay.   I think I asked you earlier before we

01:19:34    3            took a break whether you have any independent

01:19:36    4            recollection of taking Mr. Gwin to be

01:19:39    5            polygraphed on October 25th, 1995, and I

01:19:44    6            believe you said no; is that right?

01:19:46    7      A     Correct.

01:19:47    8      Q     Okay.   I'm going to show you what I'm

01:19:51    9            designating as Exhibit 8 to your deposition and

01:20:06   10            see if it refreshes your recollection.

01:20:06   11                        (Exhibit No. 8 was marked.)

01:20:06   12      BY MS. DONNELL:

01:20:08   13      Q     Mr. Buschmann, I'm handing you what I've

01:20:08   14            designated as Exhibit 8 to your deposition.

01:20:11   15            Exhibit 8 has Bates stamps MPD SJH1347 and -48.

01:20:15   16            It's from the Payne homicide file, M3084.         This

01:20:20   17            is from Section 15, Pages 93 and 94.         You can

01:20:24   18            get a chance to look at that and I'll see if it

01:20:27   19            refreshes your recollection, okay?

01:20:54   20      A     Okay.

01:20:54   21      Q     Does reviewing -- do you recognize Exhibit 8 as

01:20:58   22            a Milwaukee Police Department Criminal

01:21:01   23            Investigation Bureau report of a polygraph

01:21:04   24            examination?

01:21:04   25      A     Yes.



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01:21:05     1      Q     Okay.   And this report was documenting the

01:21:09     2            polygraph examination of Richard Gwin on

01:21:12     3            October 25th, 1995, at 10:02 a.m. until 11:41

01:21:20     4            a.m.; is that right?

01:21:21     5      A     Yes.

01:21:21     6      Q     And you are the submitting investigator, right?

01:21:24     7      A     That's what it says.

01:21:25     8      Q     Okay.   And this would have been after we looked

01:21:32     9            at Exhibit 7, your custodial interrogation of

01:21:35    10            Mr. Gwin on the 24th, right?

01:21:38    11      A     Correct.

01:21:38    12      Q     It's the next morning, right?

01:21:39    13      A     Yes.

01:21:39    14      Q     Okay.   And the polygraph examiner is Richard --

01:21:45    15            I'm sorry, Robert Simons, right?

01:21:47    16      A     Yes.

01:21:48    17      Q     Okay.   And you -- you know Robert Simons?

01:21:50    18      A     I do.

01:21:51    19      Q     Had you worked with him before your work with

01:21:57    20            him in the polygraphs he did in the Payne

01:22:00    21            homicide investigation?

01:22:01    22      A     We were in the same unit.

01:22:04    23      Q     Okay.   Where was the polygraph examination room

01:22:09    24            with respect to where the homicide unit was?

01:22:11    25      A     It's on the same floor as the CIB, fourth



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01:22:16     1            floor, and it was off in a corner in a back

01:22:23     2            office.

01:22:23     3      Q     Do you remember how many polygraph examiners

01:22:27     4            there were in '95 other than Robert Simons?

01:22:31     5      A     I believe there was one other one, Peter

01:22:35     6            Gauthier.

01:22:36     7      Q     Okay.   And if you wanted to polygraph someone,

01:22:43     8            did you have to set up an appointment, or could

01:22:44     9            you just bring someone over during business

01:22:47    10            hours, or how did it work?

01:22:48    11      A     You'd have to set up an appointment to make

01:22:51    12            sure they were available.

01:22:52    13      Q     Did they work more than one shift?

01:22:56    14      A     No.

01:22:56    15      Q     Did the polygraph examiners just work day shift

01:23:01    16            in the mid '90s?

01:23:02    17      A     Yes.

01:23:04    18      Q     And that was 8:00 a.m. to 4:00 p.m.?

01:23:06    19      A     Yes.

01:23:06    20      Q     So if you wanted to polygraph someone, it had

01:23:10    21            to be during those hours?

01:23:11    22      A     Unless they made arrangements to be available.

01:23:13    23      Q     Does anything you've reviewed so far refresh

01:23:16    24            your recollection as to when you had requested

01:23:20    25            Mr. Gwin to be polygraphed?



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01:23:30     1      A     I don't recall requesting Mr. Gwin to be

01:23:34     2            polygraphed.

01:23:35     3      Q     Okay.    Fair to say nothing you've seen so far

01:23:39     4            refreshes your recollection on that score?

01:23:40     5      A     No.

01:23:40     6      Q     But you don't have reason to dispute that you

01:23:43     7            had submitted to have Gwin polygraphed and he

01:23:47     8            was polygraphed on October 25th?

01:23:48     9      A     Correct.

01:23:49    10      Q     Okay.    And he was -- according to Robert

01:23:54    11            Simons' report, Gwin was being polygraphed for

01:23:58    12            the purpose of determining the truthfulness of

01:24:00    13            his denials that he had knowledge or

01:24:02    14            involvement in the homicide of Jessica Payne,

01:24:05    15            right?

01:24:06    16      A     Yes.

01:24:06    17      Q     And according to this report, he was asked four

01:24:13    18            relevant questions in the course of the

01:24:16    19            polygraph examination, right?

01:24:20    20      A     Yes.

01:24:20    21      Q     "Do you know for sure who murdered Jessica,"

01:24:24    22            right?

01:24:24    23      A     Yes.

01:24:24    24      Q     "Did you murder Jessica," right?

01:24:26    25      A     Yes.



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01:24:27     1      Q     "Were you present when Jessica was murdered?"

01:24:30     2      A     Right.

01:24:30     3      Q     And "Right now, can you give me the name of the

01:24:33     4            person who murdered Jessica," right?

01:24:35     5      A     Correct.

01:24:35     6      Q     And Mr. Gwin is reported to have answered no to

01:24:39     7            each of those four relevant questions, right?

01:24:42     8      A     Correct.

01:24:42     9      Q     Do you -- when an individual is being taken to

01:24:48    10            be polygraphed, would you -- and you were

01:24:50    11            requesting it, would you first meet with

01:24:52    12            Mr. Simons or Gauthier and give them

01:24:56    13            information about the case and the suspect

01:24:58    14            before they administered the polygraph?

01:25:01    15      A     Yes.

01:25:01    16      Q     And that was, like -- was that considered,

01:25:04    17            like, a pre-polygraph interview?

01:25:06    18      A     Giving background on what they were going to be

01:25:09    19            talking to the person about.

01:25:10    20      Q     Because they may not necessarily -- meaning the

01:25:15    21            polygraph examiner, may not have any knowledge

01:25:17    22            of what that homicide was, the details about

01:25:20    23            it, right?

01:25:20    24      A     Correct.

01:25:21    25      Q     So it's fair to say sometime before Mr. Gwin



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01:25:24     1            was administered a polygraph examination by

01:25:30     2            Examiner Simons, you would have talked to

01:25:32     3            Simons about the Payne homicide?

01:25:35     4      A     Possibly me or DeValkenaere.       I'm not sure who.

01:25:41     5      Q     Or both of you?

01:25:42     6      A     Or both.

01:25:42     7      Q     Yep.    And you would not have the individual

01:25:45     8            present for that meeting, meaning Richard Gwin

01:25:48     9            would not be present for it?

01:25:50    10      A     No.

01:25:50    11      Q     Do you know whether -- do you have any

01:25:51    12            knowledge about reports that were prepared by

01:25:55    13            the polygraph examiner for that pre-polygraph

01:25:58    14            interview, the interview they had with

01:26:01    15            detectives to get information about the case

01:26:04    16            and about the individual they would be

01:26:06    17            examining?

01:26:06    18      A     No.

01:26:06    19      Q     Okay.    According to this Simons report, that

01:26:18    20            "Upon conducting the examination and making

01:26:20    21            careful evaluation of the polygraph charts,

01:26:23    22            it's the opinion of this polygraphist that

01:26:26    23            Richard Gwin is not being completely truthful

01:26:29    24            in his denials," right?

01:26:30    25      A     Right.



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01:26:30     1      Q     And he goes on to indicate that he "reacted

01:26:33     2            strongly to Questions 3 and 4 as listed below

01:26:35     3            and may have some knowledge of who may have

01:26:39     4            committed the offense or who may have been at

01:26:41     5            the scene."    Do you see that?

01:26:42     6      A     Yes.

01:26:42     7      Q     The opinion is being classified as "restricted

01:26:47     8            lying due to the subject's young age and him

01:26:54     9            having trouble with certain control questions

01:26:57    10            used in the polygraph technique."        Do you see

01:26:58    11            that?

01:26:58    12      A     Yes.

01:26:59    13      Q     Do you, as you sit here today, know what the

01:27:03    14            classification "restricted lying" means as a

01:27:05    15            classification of a polygraph examination?

01:27:07    16      A     I have no idea.

01:27:08    17      Q     Okay.   According to the report, one of the

01:27:11    18            reasons for that was Mr. Gwin's young age

01:27:13    19            because he was 17 at the time, right?

01:27:15    20      A     He was, yes.

01:27:16    21      Q     Did you -- is there any -- strike that.

01:27:19    22                        Did you have to get a parent or legal

01:27:23    23            guardian's approval to polygraph a minor?

01:27:26    24                        MS. GEHLING:    Objection; relevance.

01:27:29    25                        THE WITNESS:    I don't recall.



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01:27:30     1      BY MS. DONNELL:

01:27:32     2      Q     There's nothing in this report that indicates

01:27:34     3            that consent was given by Mr. Gwin's mom,

01:27:40     4            correct?

01:27:41     5                        MS. GEHLING:    Objection; relevance

01:27:43     6            and foundation.

01:27:44     7                        MS. DONNELL:    You can answer.

01:27:45     8                        THE WITNESS:    Correct.

01:27:45     9      BY MS. DONNELL:

01:27:45    10      Q     Okay.    And you don't have any memory of doing

01:27:48    11            that, right?

01:27:49    12      A     No.

01:27:50    13      Q     Okay.    I'm going to hand you what I've

01:28:07    14            designated as Exhibit 9.

01:28:24    15                        (Exhibit No. 9 was marked.)

01:28:24    16      BY MS. DONNELL:

01:28:25    17      Q     Okay.    Mr. Buschmann, I've handed you what I've

01:28:28    18            designated as Exhibit 9 to your deposition.

01:28:30    19            This is Bates stamped MPD SJH716 consecutive to

01:28:38    20            718, and it's a copy of the handwritten

01:28:41    21            statement prepared by your partner as well as

01:28:46    22            the Miranda rights.

01:28:49    23      A     Hm-hm.

01:28:49    24      Q     Is that right?

01:28:50    25      A     Yes.



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01:28:50     1      Q     You didn't look at this document -- and this

01:28:53     2            one's dated, I'm sorry, October 24th, 1995, at

01:28:58     3            4:50 p.m., right?

01:29:00     4      A     Yes.

01:29:00     5      Q     You didn't look at this to prepare for your

01:29:03     6            deposition; is that right?

01:29:03     7      A     That's correct.

01:29:04     8      Q     Do you recognize your signature on the second

01:29:08     9            page of Exhibit 9?

01:29:11    10      A     Yes.

01:29:11    11      Q     And you also recognize your signature on the

01:29:14    12            third page of Exhibit 9 for the Miranda

01:29:18    13            warnings?

01:29:19    14      A     Yes.

01:29:19    15      Q     Okay.   And it indicates that this interview

01:29:23    16            started at 4:54 p.m. and ended at 7:45 p.m.; is

01:29:28    17            that right?

01:29:28    18      A     Yes.

01:29:28    19      Q     And do you recognize this handwriting as your

01:29:31    20            partner, Jim DeValkenaere's?

01:29:34    21      A     Yes.

01:29:34    22      Q     And this statement is the statement that

01:29:49    23            corresponds to the supplementary report that

01:29:52    24            your partner prepared of the custodial

01:29:57    25            interrogation, Exhibit 7, right?



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01:29:59     1      A     Correct.

01:29:59     2      Q     This will be 10 and 11.

01:30:34     3                    (Exhibit Nos. 10 and 11 were marked.)

01:30:36     4      BY MS. DONNELL:

01:30:37     5      Q     Okay.    I'm going to hand you first what is

01:30:37     6            Exhibits 10 and 11.     Exhibit 10 is Bates

01:30:38     7            stamped MPD SJH720 consecutive through 722.            Do

01:30:44     8            you recognize this as the handwritten statement

01:30:46     9            that James DeValkenaere prepared for your

01:30:49    10            interrogation of Richard Gwin on the following

01:30:52    11            day, October 25th, 1995, beginning at 5:15

01:30:57    12            p.m.?

01:30:57    13      A     Yes.

01:30:57    14      Q     And this statement is reported to have

01:31:03    15            concluded at 6:45 p.m., right?

01:31:07    16      A     Yes.

01:31:07    17      Q     Okay.    And so this would have been sometime

01:31:11    18            after the polygraph examination.       There was

01:31:14    19            another time that you and your partner spoke to

01:31:17    20            Mr. Gwin, right?

01:31:18    21      A     Yes.

01:31:18    22      Q     And this statement comes after Mr. Gwin had

01:31:27    23            denied any knowledge or involvement in the

01:31:29    24            Payne homicide to you and your partner on

01:31:31    25            October 24th, right?



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01:31:33     1      A     Correct.

01:31:33     2      Q     First as a witness, right?

01:31:37     3      A     Yes.

01:31:37     4      Q     Then in a custodial interrogation, right?

01:31:40     5      A     Yes.

01:31:40     6      Q     And then again on the morning of the 25th after

01:31:44     7            the -- or during the polygraph examination?

01:31:47     8      A     Yes.

01:31:47     9      Q     Okay.   Do you know whether you spoke -- how

01:31:52    10            long you spoke to Mr. Gwin after the polygraph

01:31:57    11            examination?

01:31:58    12      A     No.

01:31:58    13      Q     Was it typical if the polygraph examination

01:32:03    14            resulted in a -- a finding of possible lying

01:32:07    15            being detected that you would then conduct a

01:32:11    16            post-polygraph interrogation of the individual?

01:32:14    17      A     Yes.

01:32:14    18      Q     So is it fair to say that you would have likely

01:32:19    19            again interrogated Mr. Gwin after you got the

01:32:23    20            results of his polygraph examination?

01:32:27    21      A     Yes.

01:32:27    22      Q     Was it typical that you'd wait, like, for six

01:32:31    23            hours to do that?

01:32:34    24      A     It doesn't -- there's no time limit on when we

01:32:38    25            would have got to it.



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01:32:39     1      Q     Was it typical to interrogate someone right

01:32:42     2            after they learned that the examiner found

01:32:44     3            deception indicated?

01:32:52     4      A     I -- I don't know.     In this case, I don't know.

01:32:53     5      Q     Sure.   Putting this case aside since you don't

01:32:56     6            remember this case, but was it typical -- like,

01:32:59     7            you would go and set up a polygraph

01:33:01     8            examination, give Simons or the other examiner

01:33:04     9            information about the case and the individual,

01:33:04    10            he would take them alone to be polygraphed,

01:33:07    11            read the charts, come back with the results,

01:33:09    12            and then depending on the results of the

01:33:11    13            examination, there'd be a post-polygraph

01:33:14    14            interrogation, right?

01:33:15    15      A     There was times when the polygraphist would

01:33:21    16            interview the person after the exam themselves.

01:33:26    17      Q     Okay.

01:33:26    18      A     Right after?    There's no written rule when the

01:33:29    19            person's going to be talked to after a

01:33:31    20            polygraph is administered.

01:33:32    21      Q     Is it possible that you talked to Richard Gwin

01:33:35    22            right after the polygraph examination?

01:33:37    23      A     I don't recall.

01:33:37    24      Q     Okay.   Were you as a detective able to observe

01:33:43    25            the individual being polygraphed?



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01:33:45     1      A     No.

01:33:46     2      Q     Like, there wasn't, like, a two-way glass or --

01:33:52     3      A     No.

01:33:52     4      Q     Okay.    So the examiner would take the person

01:33:55     5            alone.   Would you guys wait in the polygraph

01:33:58     6            office or go to the CIB?

01:34:00     7      A     No, we wouldn't -- once he's with the

01:34:04     8            polygraphist, we'd go about our own business.

01:34:07     9      Q     Would the polygraph examiner call you when they

01:34:10    10            had the results?

01:34:11    11      A     Yes.

01:34:12    12      Q     Okay.    Do -- do you have a recollection of how

01:34:18    13            long a typical examination took?

01:34:21    14      A     No.

01:34:21    15      Q     Okay.    Thanks.   All right.   So the statement

01:34:25    16            here, do you recognize your signature on Page 3

01:34:30    17            of Exhibit 10, the 10/25/95 statement by

01:34:36    18            Mr. Gwin?

01:34:36    19      A     Yes.

01:34:36    20      Q     Okay.    Now, this statement -- strike that.

01:34:53    21                        Do you see at the top of the

01:35:02    22            handwritten statement where it says -- after

01:35:06    23            giving the time and date and location of the

01:35:11    24            interview, it says "This interview was

01:35:13    25            conducted after Gwin's release from custody."



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01:35:20     1            Do you see that?

01:35:21     2      A     Yes.

01:35:21     3      Q     And then it says "He was -- he was re-advised

01:35:27     4            of his rights where he states he understands";

01:35:31     5            is that right?

01:35:31     6      A     Yes.

01:35:32     7      Q     Can you explain to me what that -- what that

01:35:36     8            means, that he was released from custody but

01:35:39     9            then he was re-advised of his rights?

01:35:41    10                        MS. GEHLING:    Objection; foundation.

01:35:46    11                        THE WITNESS:    He was released from

01:35:47    12            custody.    There wasn't enough probable cause to

01:35:50    13            hold him at the time.      And when he was

01:35:55    14            re-talked to, he was re-advised of his rights

01:36:02    15            in case he was going to provide any

01:36:07    16            incriminating information.

01:36:11    17      BY MS. DONNELL:

01:36:12    18      Q     Do you -- well, you said Mr. Gwin was released

01:36:15    19            because there wasn't probable cause to hold

01:36:17    20            him; is that right?

01:36:18    21      A     Yes.

01:36:18    22      Q     Why was there not probable cause to hold him?

01:36:20    23      A     We didn't have enough probable cause to hold

01:36:23    24            him and get him charged.

01:36:25    25      Q     Is this the interview, the October 25th early



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01:36:48     1            evening interview of Mr. Gwin, that you have an

01:36:50     2            independent recollection of?

01:36:53     3      A     I haven't read the statement.

01:36:57     4      Q     I've also designated in front of you Exhibit 11

01:37:01     5            which is the supplementary report for the

01:37:05     6            re-interview of Mr. Gwin from 10/25/1995 as

01:37:09     7            well.   Do you see that?

01:37:11     8      A     Yes.

01:37:11     9      Q     And you recognize that as your partner's

01:37:13    10            supplementary report --

01:37:15    11      A     Yes.

01:37:15    12      Q     -- documenting your and his interview of

01:37:19    13            Mr. Gwin after he was released, his

01:37:21    14            administrative release from custody?

01:37:23    15      A     Yes.

01:37:23    16      Q     Okay.

01:37:30    17      A     Yes, this is what I would say I -- this is what

01:37:33    18            I recall.

01:37:34    19      Q     Okay.   Can you tell me everything you recall

01:37:36    20            about this re-interview of Mr. Cortez [sic]?

01:37:42    21      A     We already talked about that.

01:37:43    22      Q     Well, did you release him from custody and tell

01:37:47    23            him he was free to go home?

01:37:49    24      A     We told him he was released from custody and

01:37:54    25            that we wanted to talk to him before he went



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01:37:57     1            home.

01:37:58     2      Q     And you guys were his way home, right?

01:38:03     3                        MS. GEHLING:    Objection; relevance.

01:38:05     4      BY MS. DONNELL:

01:38:05     5      Q     Well, you guys eventually drove Mr. Gwin home,

01:38:08     6            right?

01:38:08     7      A     I don't recall.

01:38:08     8      Q     Do you remember seeing that in the -- your

01:38:11     9            testimony in Ott?

01:38:13    10      A     I never read the Ott deposition.

01:38:16    11      Q     On Page 91, when I referred you to your

01:38:20    12            testimony earlier today.      If you look at Page

01:38:32    13            91 -- oh, I'm sorry, it's not there.        Hold on

01:39:02    14            just a second.    My apologies.

01:39:02    15                        MS. GEHLING:    90.   It's the page

01:39:02    16            right before.

01:39:14    17                        MS. DONNELL:    Sorry.   Thank you.

01:39:14    18      BY MS. DONNELL:

01:39:15    19      Q     If you look at Page 90 --

01:39:15    20                        MS. GEHLING:    Yeah.

01:39:17    21      BY MS. DONNELL:

01:39:17    22      Q     -- does that refresh your recollection that you

01:39:19    23            and your partner drove Mr. Gwin home?

01:39:29    24      A     Yes.

01:39:30    25      Q     Okay.    So you did drive Mr. Gwin home on the



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01:39:34     1            25th, right?

01:39:35     2      A     Yes.

01:39:35     3      Q     All right.    So before Mr. Gwin gave the

01:39:42     4            statement on the 25th, you had indicated to him

01:39:45     5            that he was free to go home?

01:39:47     6      A     Yes.

01:39:48     7      Q     And he chose not to go home?

01:39:53     8      A     He chose to talk with us.

01:39:55     9      Q     Did he indicate why he chose to talk to you?

01:39:59    10      A     No.

01:39:59    11      Q     Was that unusual that an individual who had

01:40:04    12            just been held in custody and interrogated

01:40:07    13            for -- and polygraphed for knowledge and

01:40:09    14            involvement in a murder was then released from

01:40:12    15            custody and chose to stay and talk?

01:40:15    16      A     No.

01:40:15    17      Q     That happened before other than this occasion?

01:40:18    18      A     I don't recall if it's ever happened before.

01:40:21    19            It's not unusual.

01:40:21    20      Q     But you can't think of another instance today,

01:40:24    21            can you?

01:40:25    22      A     Not today, no.

01:40:26    23      Q     Okay.   Did Mr. Gwin indicate to you why he was

01:40:42    24            choosing to talk to you and your partner after

01:40:47    25            he was released from custody?



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01:40:52     1      A     I don't know.

01:40:53     2      Q     Did -- is it fair to assume that after Mr. Gwin

01:41:02     3            was found to have had failed or possible

01:41:06     4            deception on his polygraph that there would

01:41:08     5            have been a post-polygraph interrogation of

01:41:11     6            Mr. Gwin?

01:41:14     7      A     This is -- are you saying this is the

01:41:18     8            post-polygraph?

01:41:19     9      Q     I'm not saying that.     I'm saying it's just fair

01:41:24    10            to assume there would have been at one point a

01:41:25    11            post-polygraph interrogation where deception is

01:41:28    12            indicated?

01:41:29    13      A     Yes.

01:41:29    14      Q     That would have been an investigative step that

01:41:32    15            would have been conducted in a homicide

01:41:34    16            investigation where there's somebody who's

01:41:36    17            taken to be polygraphed for knowledge or

01:41:37    18            participation in a murder and deception is

01:41:39    19            indicated.    That wouldn't just be left gone,

01:41:44    20            left alone; there would be an interrogation by

01:41:46    21            somebody, right?

01:41:48    22      A     Yes.

01:41:48    23      Q     So either you or your partner would have done

01:41:52    24            it or you would expect the examiner to do it?

01:41:55    25      A     Yes.



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01:41:56     1      Q     Okay.   And that post-polygraph examination of

01:42:00     2            Mr. Gwin should be documented by somebody,

01:42:03     3            whoever did it, right?

01:42:04     4      A     Correct.

01:42:05     5      Q     Okay.   Did you make Mr. Gwin any promises that

01:42:20     6            if he implicated Mr. Hadaway in the Payne

01:42:28     7            homicide that he would receive?

01:42:31     8      A     No.

01:42:31     9      Q     Did you -- did your partner in your presence

01:42:35    10            make any promises to Mr. Gwin that if he

01:42:38    11            cooperated and implicated Mr. Hadaway in the

01:42:41    12            Payne homicide that he might receive?

01:42:44    13      A     No.

01:42:44    14      Q     Did you make any threats to Mr. Gwin that he

01:42:48    15            could be charged with the Payne homicide if he

01:42:52    16            did not implicate Mr. Hadaway in the Payne

01:42:56    17            homicide?

01:42:57    18      A     No.

01:42:57    19      Q     Did you hear your partner, Jim DeValkenaere,

01:42:59    20            make any threats to Mr. Richard Gwin that if he

01:43:04    21            did not implicate Chaunte Ott in the Payne

01:43:07    22            homicide that he could be charged with it?

01:43:09    23      A     No.

01:43:10    24      Q     And even when Mr. Gwin was under arrest -- or

01:43:27    25            was under arrest and in custody for possibly



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01:43:30     1            committing the Payne homicide, you did not --

01:43:36     2            did you -- well, strike that.

01:43:37     3                        Did you at any point during your

01:43:39     4            custodial interrogation of Mr. Gwin threaten

01:43:42     5            that he could be charged with a crime?

01:43:46     6      A     No.

01:43:47     7      Q     Did you provide Mr. Gwin any non-public facts

01:43:58     8            about the Payne homicide in your questioning of

01:44:00     9            him?

01:44:00    10      A     No.

01:44:00    11      Q     Did your partner provide any non-public facts

01:44:03    12            to Mr. Gwin in his questioning of Mr. Gwin?

01:44:05    13      A     No.

01:44:05    14      Q     Okay.   In this -- in the supplementary report

01:44:32    15            or in the statement, whichever is -- which

01:44:35    16            would you like to refer to?

01:44:36    17      A     This one.

01:44:38    18      Q     Exhibit 11?

01:44:39    19      A     Yes.

01:44:39    20      Q     Okay.   So looking at Exhibit 11, on Page 2 it's

01:44:42    21            documented that Mr. Gwin stated that he was in

01:44:49    22            the car with Sammy, meaning Sam Hadaway, in the

01:44:53    23            front passenger seat, the girl in the back

01:44:55    24            middle seat, and Chaunte was in the back right

01:44:58    25            seat; is that right?



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01:44:59     1      A     Yes.

01:44:59     2      Q     And that Gwin stated he drove to 7th Street,

01:45:03     3            North 7th Street, and West Burleigh Street

01:45:07     4            without stopping?

01:45:07     5      A     Yes.

01:45:07     6      Q     And then he indicates he stopped on North 7th

01:45:11     7            Street, and after stopping, all of them smoked

01:45:17     8            some bud that he had, right?

01:45:21     9      A     Yes.

01:45:21    10      Q     And "bud" was referring to marijuana?

01:45:25    11      A     Yes.

01:45:25    12      Q     And that after that they were in the car

01:45:28    13            listening to music and that Sammy then said he

01:45:33    14            thought the girl had some money and that's why

01:45:36    15            they were talking -- taking her to the spot,

01:45:38    16            right?

01:45:39    17      A     Yes.

01:45:41    18      Q     And then he stated Sammy said that they should

01:45:44    19            go to the -- into the spot -- well, strike

01:45:46    20            that.

01:45:47    21                        Gwin said that Sammy told them they

01:45:50    22            would be back in a minute, and then he waited

01:45:52    23            in the car, right?

01:45:53    24      A     Yes.

01:45:53    25      Q     And then the report goes on to say that Sammy



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01:46:18     1            said about 15 -- that Gwin said about 15

01:46:21     2            minutes later Sammy and Chaunte came back to

01:46:23     3            the car without the girl, right?

01:46:25     4      A     Yes.

01:46:25     5      Q     And then apparently Mr. Gwin said that "Sammy

01:46:30     6            said she didn't have no money, so Chaunte cut

01:46:33     7            her throat," right?

01:46:34     8      A     Yes.

01:46:34     9      Q     And then Gwin said he drove -- after that

01:46:46    10            conversation, alleged conversation, they drove

01:46:48    11            to his cousin's house, Charlotte Brown's house,

01:46:53    12            right?

01:46:53    13      A     Yes.

01:46:54    14      Q     Where Mr. Gwin wanted to check on his drug-sale

01:46:58    15            business?

01:46:59    16      A     Yes.

01:46:59    17      Q     And then according to Mr. Gwin, a month later

01:47:13    18            Sammy was told -- he talked to Sammy and Sammy

01:47:18    19            said -- told him that the girl who was found

01:47:21    20            dead behind the house was the girl who was with

01:47:24    21            them and that he made a cutting throat [sic]

01:47:26    22            saying her throat got cut, right?

01:47:29    23      A     Yes.

01:47:29    24      Q     Okay.    Now, Mr. Gwin, after denying any

01:47:33    25            knowledge or involvement for over a day of



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01:47:37     1            being -- in talking to you and your partner

01:47:41     2            both in and out of custody and being

01:47:42     3            polygraphed suddenly volunteers all this

01:47:45     4            information after he was released from custody,

01:47:47     5            right?

01:47:48     6      A     Yes.

01:47:48     7      Q     Can you explain why that -- that happened?

01:47:50     8      A     No.

01:47:51     9      Q     And you don't think that's unusual?

01:47:56    10      A     I don't recall how the interview happened.

01:48:03    11      Q     As you sit here today, you have no memory of

01:48:06    12            how it happened?

01:48:07    13      A     That's correct.

01:48:07    14      Q     So you have no memory of the specific questions

01:48:09    15            that you or your partner asked Mr. Gwin?

01:48:12    16      A     No.

01:48:12    17      Q     And you have no memory of his responses?

01:48:15    18      A     No.

01:48:15    19      Q     Other than how it's documented in these

01:48:18    20            reports?

01:48:18    21      A     Correct.

01:48:19    22      Q     Okay.    Is it accurate to say that the

01:48:25    23            information that Mr. Gwin provided to you on

01:48:29    24            the 25th about the Payne homicide and the

01:48:33    25            manner of death was information you already



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01:48:35     1            had?

01:48:38     2      A     No.

01:48:39     3      Q     Well, you already knew her neck had been cut,

01:48:43     4            correct?

01:48:43     5      A     Yes.

01:48:44     6      Q     Okay.   So was there any information about

01:48:49     7            the -- the cause of her death that was new to

01:48:52     8            you that Mr. Gwin provided?

01:48:54     9      A     He wasn't there when the incident happened.

01:49:04    10            When the murder happened, he was in the car, so

01:49:07    11            he would have no knowledge of what happened

01:49:11    12            back there, other than what was told to him.

01:49:12    13      Q     And what was allegedly told to him was

01:49:15    14            information you already had, right?

01:49:18    15      A     No, because we didn't know about Sammy Joe

01:49:21    16            Hadaway or Chaunte Ott prior to his statement.

01:49:25    17      Q     Okay.   Putting aside the Sammy Joe and Chaunte

01:49:30    18            Ott piece in terms of the cause of -- what

01:49:32    19            caused Ms. Payne's death, there was no new

01:49:34    20            information that Mr. Gwin was able to provide

01:49:35    21            to you?

01:49:38    22      A     Correct.

01:49:38    23      Q     And in terms of the location of where her body

01:49:42    24            was found, you also had that information --

01:49:45    25      A     Yes.



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01:49:45     1      Q     -- prior to Mr. Gwin?

01:49:47     2      A     Yes.

01:49:47     3      Q     Okay.   Okay.   Is it fair to say that the next

01:50:08     4            thing you did on the Payne homicide

01:50:13     5            investigation was -- well, strike that.

01:50:16     6                        After your interview with Mr. Gwin,

01:50:20     7            you and your partner drove him home, right?

01:50:24     8      A     Yes.

01:50:24     9      Q     And then you came back and briefed the next

01:50:27    10            shift on the follow-up investigation you were

01:50:29    11            requesting?

01:50:29    12      A     Correct.

01:50:29    13      Q     And that was to find Sam Hadaway?

01:50:32    14      A     Yes.

01:50:32    15      Q     Was it also to find Chaunte Ott?

01:50:36    16      A     I don't recall.

01:50:36    17      Q     Okay.   And then you did -- I don't know if I

01:50:51    18            asked you this, so forgive me if I already did.

01:50:55    19            Prior to your involvement in the Payne

01:50:57    20            homicide, had you had any interactions with my

01:51:00    21            client, Sam Hadaway, that you're aware of?

01:51:02    22      A     No.

01:51:02    23      Q     How about with respect to Chaunte Ott?        Prior

01:51:05    24            to your involvement in the Payne homicide

01:51:07    25            investigation, had you had any interactions



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01:51:09     1            with Mr. Ott that you're aware of?

01:51:11     2      A     No.

01:51:14     3      Q     And how about Mr. Gwin?

01:51:15     4      A     No.

01:51:16     5      Q     How about Walter J.D. Moffett?       Had you had

01:51:24     6            interactions with him --

01:51:25     7      A     No.

01:51:25     8      Q     -- that you're aware of?      No?

01:51:30     9                        Okay.   Do you remember back in

01:51:41    10            October '95 what days you were working?

01:51:44    11      A     No.

01:51:44    12      Q     Do you remember, was there, like, a rotation?

01:51:48    13            Like, you'd work five days on, two days off,

01:51:50    14            and it would rotate back then?

01:51:52    15      A     I don't recall.     They changed the shifts for

01:51:58    16            seven days on, three days off.       Then it was

01:52:03    17            five days on, two days off, four days on, two

01:52:07    18            days off.    They switched it up, so back then I

01:52:09    19            don't know.

01:52:09    20      Q     It's hard to remember?

01:52:10    21      A     I don't remember.

01:52:11    22      Q     Is it fair to say while you were working the

01:52:14    23            cold case squad with DeValkenaere during this

01:52:18    24            time frame you were working days, though?

01:52:20    25      A     Yes.



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01:52:20     1      Q     Okay.    Okay.   The next thing that you remember

01:52:36     2            being involved in was your interrogation of

01:52:38     3            Mr. Hadaway, right?

01:52:40     4      A     Correct.

01:52:40     5      Q     Okay.    And like you said earlier, you were

01:52:50     6            aware when you were going to interrogate

01:52:53     7            Mr. Hadaway that he had already been

01:52:55     8            interrogated by several of your colleagues,

01:52:58     9            right?

01:52:58    10      A     Yes.

01:52:59    11      Q     And so he was interrogated by Eric Moore on

01:53:04    12            October 25th, right?

01:53:06    13      A     Yes.

01:53:06    14      Q     And he was then interrogated by Detective Dubis

01:53:14    15            and Percy Moore, right?

01:53:16    16      A     Yes.

01:53:16    17      Q     And then eventually you guys spoke to him on

01:53:20    18            the 27th, right?

01:53:22    19      A     Correct.

01:53:23    20      Q     And so you were aware at the time that you were

01:53:37    21            talking to Mr. Hadaway that -- that he had

01:53:46    22            denied any knowledge or involvement to Eric

01:53:50    23            Moore, right?

01:53:51    24      A     Yes.

01:53:51    25      Q     And he had denied any knowledge or involvement



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01:53:54     1            to Detective Dubis and Percy Moore, right?

01:53:57     2      A     Correct.

01:53:58     3      Q     Okay.

01:54:56     4                        MS. DONNELL:    Okay.   I apologize.

01:54:58     5            Can we go off the record for just a second?

01:55:03     6            Can we go off the record, please?

01:55:05     7                        THE VIDEOGRAPHER:     Going off the

01:55:06     8            record at 1:55.

01:55:08     9                         (Brief recess taken.)

02:00:26    10                        THE VIDEOGRAPHER:     We're back on the

02:00:27    11            record at 2:00.

02:00:29    12                        MS. DONNELL:    Thanks.

02:00:29    13      BY MS. DONNELL:

02:00:33    14      Q     Okay.   Detective Buschmann, you had said

02:00:38    15            earlier that you had an independent

02:00:41    16            recollection of your interrogation of my

02:00:45    17            client, Sammy Hadaway, right?

02:00:47    18      A     I reviewed his statement.

02:00:48    19      Q     You reviewed his handwritten statement that is

02:00:52    20            in your handwriting?

02:00:53    21      A     Yes.

02:00:53    22      Q     And you did that a couple weeks ago to prepare

02:00:56    23            for your deposition?

02:00:57    24      A     Correct.

02:00:57    25      Q     Okay.   And in doing that, it refreshed your



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02:01:01     1            recollection as to some of -- to have an

02:01:05     2            independent recollection of your interactions

02:01:08     3            with Mr. Hadaway; is that true?

02:01:09     4      A     Yes.

02:01:09     5      Q     Okay.   Can you tell me your independent

02:01:12     6            recollection of this independent, you know,

02:01:16     7            refreshed recollection of your interactions

02:01:18     8            with Mr. Hadaway on October 27th, 1995?

02:01:26     9      A     I guess, can you repeat the question?

02:01:30    10      Q     Sure.   Please describe for me your independent

02:01:33    11            recollection, what you remember as you sit here

02:01:37    12            today, of your interactions with Mr. Hadaway on

02:01:40    13            October 27th, 1995.

02:01:44    14      A     My first recollection was getting him from the

02:01:50    15            city jail as he had summoned a jailer that he

02:01:58    16            wished to talk to the detectives, and so I was

02:02:02    17            assigned to go and bring him down, and Jim and

02:02:07    18            I put him in an interview room.       I advised him

02:02:15    19            of his constitutional rights which I had him

02:02:22    20            read from a card.     He indicated he understood

02:02:25    21            his rights and that he was willing to answer

02:02:27    22            questions, and then we just went into talking

02:02:30    23            to him.    I said, "You wanted to talk to us;

02:02:34    24            what did you want to tell us," words to that

02:02:36    25            effect, and he went on to talk about the



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02:02:39     1            incident in which he was under arrest for.

02:02:44     2      Q     Okay.    As you sit here today, do you know how

02:03:15     3            long Mr. Hadaway had been under arrest for the

02:03:18     4            Payne homicide at the time you were talking to

02:03:21     5            him?

02:03:22     6      A     No.

02:03:22     7      Q     Eric Moore, your colleague, had an

02:03:39     8            interrogation of him that was at 3:25 p.m. on

02:03:43     9            October 25th, right?

02:03:48    10      A     Okay.

02:03:48    11      Q     And your conversation with him was starting at

02:03:51    12            12:30 on October 27th?

02:03:57    13      A     I think it was 2:00.

02:04:00    14      Q     2:00 was when you started?      Yes, sorry.

02:04:06    15            Thank -- let's see -- thank you for clarifying

02:04:09    16            at 2:00.

02:04:09    17      A     Yes.

02:04:10    18      Q     Let's mark this as the next exhibit, Exhibit

02:04:14    19            12.

02:04:15    20                    (Exhibit Nos. 12 and 13 were marked.)

02:04:39    21      BY MS. DONNELL:

02:04:40    22      Q     Okay.    I've handed you what I've designated as

02:04:43    23            Exhibits 12 and 13 to your deposition.        Do you

02:04:45    24            recognize Exhibit 12 as the handwritten

02:04:47    25            statement in your handwriting of Mr. Hadaway



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02:04:50     1            from your interrogation of him on October 27th,

02:04:56     2            1995?

02:04:57     3      A     Yes.

02:04:57     4      Q     And it also includes a signed Miranda waiver;

02:05:02     5            is that right?

02:05:02     6      A     Yes.

02:05:02     7      Q     With your signature on it?

02:05:04     8      A     Yes.

02:05:05     9      Q     And it also includes a -- the last page is a

02:05:10    10            diagram, right?

02:05:11    11      A     Yes.

02:05:18    12      Q     And that diagram is part -- in part is in your

02:05:22    13            handwriting as well?

02:05:23    14      A     It's both my handwriting and Hadaway's.

02:05:27    15      Q     Okay.   If I give you this pink pen, can you

02:05:31    16            identify on the last page of Exhibit 12 what

02:05:34    17            part's in your handwriting, other than your

02:05:37    18            signature, and what part's in Mr. Hadaway's?

02:05:41    19            So can you indicate in pink -- in red what's

02:05:45    20            your -- circle what's your --

02:05:46    21      A     What's mine?

02:05:47    22      Q     Yeah, what's yours.

02:06:05    23      A     Well, my -- I drew the -- the layout of the map

02:06:10    24            for 7th and Burleigh.

02:06:12    25      Q     Okay.   So is that your writing on the last page



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02:06:15     1            of Exhibit 12 that says "N. 7th"?        That's your

02:06:19     2            handwriting?

02:06:20     3      A     Yes.

02:06:20     4      Q     Okay.    Can you circle it?

02:06:20     5      A     (Witness complies.)

02:06:24     6      Q     And "West Burleigh" down at the bottom, that's

02:06:26     7            yours?

02:06:27     8      A     Yes.

02:06:27     9      Q     And the north indication at the top orientating

02:06:30    10            the map, that's yours?

02:06:32    11      A     Yes.

02:06:33    12      Q     Okay.    And then this "X-way" over on the left,

02:06:38    13            is that you -- your handwriting as well, it

02:06:39    14            looks like?

02:06:40    15      A     Yeah.

02:06:40    16      Q     Okay.    And then the street designation that

02:06:44    17            says 7th and Burleigh, is that also yours on

02:06:50    18            the blocks?    I'm sorry.    So, like, these

02:06:53    19            squares, did you draw these squares indicating

02:06:56    20            the streets?

02:06:56    21      A     Yes.

02:06:57    22      Q     Okay.    How about the "abandoned house" with an

02:07:03    23            arrow?   Is that your handwriting?

02:07:04    24      A     No.

02:07:05    25      Q     Okay.    How about "mattress"?     Is that your



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02:07:07     1            handwriting?

02:07:08     2      A     No.

02:07:08     3      Q     And how about the squiggly lines and then it

02:07:15     4            says, I don't know, "CB" and "HS"?        Is the "CB"

02:07:19     5            your initials?

02:07:20     6      A     Yes.

02:07:20     7      Q     And that's the alley being crossed out?

02:07:23     8      A     Yes.

02:07:23     9      Q     And you're initialing that the same way Hadaway

02:07:28    10            is?

02:07:28    11      A     Yes.

02:07:28    12      Q     Although his initials are backwards, right?

02:07:33    13      A     Yeah.

02:07:34    14      Q     Okay.

02:07:34    15                         MS. GEHLING:   Or just upside down.

02:07:36    16                         THE WITNESS:   Or upside down, yeah.

02:07:37    17      BY MS. DONNELL:

02:07:38    18      Q     Okay.   How about the indication of a car?

02:07:41    19      A     The "car" is my handwriting.

02:07:43    20      Q     Okay.

02:07:44    21      A     The car itself isn't; it was his.

02:07:48    22      Q     Hadaway's?

02:07:49    23      A     Yes.

02:07:49    24      Q     Okay.   The "abandoned house" you said is not

02:07:53    25            your writing?



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02:07:54     1      A     No.

02:07:54     2      Q     That's Hadaway's writing?

02:07:56     3      A     Yes.

02:07:56     4      Q     Okay.   And how about the three blocks?       One is

02:08:02     5            indicating an abandoned house, and there's two

02:08:04     6            other squares.    Who drew those?

02:08:06     7      A     I don't recall.

02:08:12     8      Q     It could have been you?

02:08:13     9      A     It could have been me.      I'm thinking it was

02:08:16    10            him.

02:08:16    11      Q     But you don't really know one way -- you're not

02:08:21    12            sure?

02:08:21    13      A     I'm not sure.

02:08:21    14      Q     I don't want you to speculate.       So are you

02:08:24    15            uncertain who put the squares or the

02:08:26    16            rectangles, excuse me, for the house

02:08:27    17            indications?

02:08:27    18      A     I thought that's what we were talking about.

02:08:29    19      Q     Yeah, I'm saying to be clear, you don't recall

02:08:32    20            one way or the other whether it was you or Sam

02:08:34    21            who did that?

02:08:35    22      A     Correct.

02:08:35    23      Q     Okay.   How about the square for the mattress?

02:08:38    24      A     That was him.

02:08:38    25      Q     And the writing that says "mattress" or --



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02:08:41     1      A     His.

02:08:41     2      Q     -- "matters"?

02:08:43     3      A     That was his.

02:08:45     4      Q     Okay.

02:08:45     5                        MS. GEHLING:    And, I'm sorry, I

02:08:46     6            just -- did he say the writing for the car was

02:08:50     7            his but the square was --

02:08:50     8                        MS. DONNELL:    You know, I can --

02:08:54     9                        MS. GEHLING:    I'm sorry.

02:08:54    10                        MS. DONNELL:    Well, if you want to

02:08:58    11            clean it up later you can, but...

02:08:59    12                        MS. GEHLING:    Yeah.

02:08:59    13      BY MS. DONNELL:

02:09:00    14      Q     The "car," the "C-A-R," that's your

02:09:01    15            handwriting?

02:09:02    16      A     Yes.

02:09:02    17      Q     And you're not sure who did the rectangle to

02:09:06    18            indicate the car, or do you know who did that?

02:09:08    19      A     That would have been Sam.

02:09:10    20      Q     Okay.   Okay.   How about these squiggly lines in

02:09:16    21            the back and then, I don't know, it looks like

02:09:18    22            a circle and a triangle and some other things?

02:09:21    23            Do you know what that indicates?

02:09:22    24      A     I don't know what that is.      I don't remember.

02:09:23    25      Q     Do you know who did it?



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02:09:25     1      A     No.

02:09:25     2      Q     Okay.   And Page -- or Exhibit 12, this is all

02:09:38     3            in your handwriting except where Mr. Hadaway

02:09:41     4            has signed it; is that right?

02:09:43     5      A     Where he signed it and where my partner signed

02:09:46     6            it.

02:09:46     7      Q     Okay.   And then at the very -- let's see -- the

02:09:51     8            third-to-last page, Page MPD SJH747 --

02:10:01     9      A     Okay.

02:10:02    10      Q     -- is that -- or the last lines "I have had the

02:10:08    11            above statement read to me and it is true, Sam

02:10:11    12            Hadaway" with the date 10/27/95, that's

02:10:17    13            Mr. Hadaway's?

02:10:17    14      A     Yes.

02:10:17    15      Q     And then "I am sorry it had to turn out this

02:10:21    16            way and am sorry I had to lie the first two

02:10:24    17            days, but it came to me to tell the truth and

02:10:27    18            now I am here, Sam Hadaway, end 4:25," was that

02:10:27    19            all Mr. Hadaway?

02:10:27    20      A     Yes.

02:10:30    21      Q     The "2 cans of orange soda," is that your

02:10:34    22            writing again?

02:10:35    23      A     Yes.

02:10:35    24      Q     Okay.   And that last part -- those two last

02:10:37    25            parts I've just read from Exhibit 12, that was



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02:10:39     1            sort of part of your protocol to have the

02:10:42     2            individual write in their own words that the

02:10:44     3            statement had been either read to them or they

02:10:47     4            read it to themselves, right?

02:10:47     5      A     Yes, my own way I did it, yes.

02:10:50     6      Q     And then it was also your own way that you did

02:10:53     7            it to give the individual an opportunity to add

02:10:56     8            anything else that they wanted to?

02:10:57     9      A     Yes.

02:10:58    10      Q     Okay.    Thank you.   Now, you had indicated that

02:11:07    11            you had Mr. Hadaway read the Miranda rights,

02:11:10    12            right?

02:11:11    13      A     Yes.

02:11:11    14      Q     On a photocopy card, right?

02:11:15    15      A     Yes.

02:11:16    16      Q     And is that what you had him read which is the

02:11:19    17            second-to-last page of Exhibit 12, Bates 748?

02:11:24    18      A     Yes.

02:11:24    19      Q     And he's initialed it here and signed it along

02:11:27    20            with you?

02:11:28    21      A     Yes.

02:11:28    22      Q     Now, was that typical that you did in your

02:11:31    23            interrogations for everybody?

02:11:33    24      A     Yes.

02:11:34    25      Q     And you would include the signed Miranda



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02:11:36     1            statements for everybody?

02:11:40     2      A     As I recall, yes.

02:11:43     3      Q     Did you have some concern that Mr. Hadaway

02:11:46     4            wasn't able to read?

02:11:50     5      A     I wanted to make sure that he could read.

02:11:52     6      Q     Why did you want to make sure he could read?

02:11:55     7      A     Because I was -- part of building my rapport

02:11:59     8            with him was to know that he could read and

02:12:01     9            understand my questions and that he was

02:12:03    10            coherent enough to go on with the interview.

02:12:05    11      Q     Did you have an understand -- well, did you

02:12:09    12            have an impression of Mr. Hadaway that he may

02:12:13    13            have limited education?

02:12:15    14      A     Not that I recall.

02:12:16    15      Q     How about limited cognitive functioning?

02:12:19    16      A     No, not that I recall.

02:12:20    17      Q     Do you remember observing him having weakness

02:12:24    18            on the left side of his body?

02:12:25    19      A     I learned that, that he had cerebral palsy.

02:12:30    20      Q     When did you learn that Sam Hadaway had

02:12:36    21            cerebral palsy?

02:12:36    22      A     I believe when he was interviewed by Detective

02:12:39    23            Simons.

02:12:40    24      Q     Okay.   Did you -- did Mr. Hadaway tell you in

02:12:49    25            part of the time building your rapport with him



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02:12:51     1            that he had cerebral palsy?

02:12:53     2      A     Not that I recall.

02:12:55     3      Q     And you went and got him from the jail and

02:12:56     4            transported him up to the CIB, correct?

02:13:00     5      A     Yes.

02:13:00     6      Q     So you observed Sam Hadaway walking?

02:13:04     7      A     Yeah.   He would have walked with me.

02:13:06     8      Q     Do you remember observing any limitations in

02:13:09     9            his ability to walk?

02:13:10    10      A     No.

02:13:10    11      Q     Did you -- did Mr. Hadaway tell you that he had

02:13:18    12            a seizure disorder?

02:13:20    13      A     Not that I recall.

02:13:21    14      Q     Did Mr. Hadaway convey to you that he took

02:13:25    15            medicine to prevent him from suffering

02:13:28    16            seizures?

02:13:29    17      A     Not that I recall.

02:13:30    18      Q     And you don't recall providing any medication

02:13:32    19            for Mr. Hadaway, correct?

02:13:34    20      A     No.

02:13:35    21      Q     Do you deny that Mr. Hadaway told you he had a

02:13:41    22            seizure disorder, or you just don't know one

02:13:44    23            way or the other?

02:13:45    24      A     I don't remember him saying anything about his

02:13:48    25            seizure disorder.



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02:13:49     1      Q     So he could have; you just don't remember?

02:13:51     2      A     I don't recall.

02:13:52     3      Q     Okay.   But, I mean, by saying you don't recall

02:13:55     4            means he could have told you; you just don't

02:13:57     5            recall, correct?

02:13:59     6      A     I would have documented it somewhere.        If he

02:14:02     7            needed seizure medication, we would have got it

02:14:04     8            for him.

02:14:05     9      Q     Is it your testimony that if Mr. Hadaway had

02:14:09    10            told you he had a seizure disorder you would

02:14:11    11            have put it in his statement?

02:14:13    12      A     If he requested his medication, we would have

02:14:16    13            gotten it for him.

02:14:18    14      Q     Would you have documented it if you did it?

02:14:27    15      A     If he would have requested it, it would have

02:14:29    16            been documented.

02:14:30    17      Q     Okay.   And it's your testimony that you don't

02:15:04    18            believe you knew Sam Hadaway had cerebral palsy

02:15:10    19            until he was taken to be polygraphed?

02:15:13    20      A     As I recall today, the way I found out about

02:15:19    21            cerebral palsy was through Detective Simons'

02:15:21    22            interview with him.

02:15:23    23      Q     Okay.   And you realize that that interview with

02:15:25    24            Detective Simons occurred after this October

02:15:27    25            27th interview, correct?



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02:15:29     1      A     That's correct.

02:15:29     2      Q     Okay.    Did you at any point in time in your

02:15:47     3            interrogation of Mr. Hadaway on October 27th,

02:15:50     4            1995, threaten him that he would spend 80 years

02:15:55     5            in prison for the murder of Jessica Payne?

02:15:57     6      A     No.

02:15:58     7      Q     It's your testimony that that didn't occur?

02:16:02     8      A     That's correct.

02:16:03     9      Q     Did you witness your partner, James

02:16:06    10            DeValkenaere, threaten Mr. Hadaway that he

02:16:09    11            would go to prison for 80 years for Jessica

02:16:12    12            Payne's murder?

02:16:12    13      A     No.

02:16:13    14      Q     Is it your testimony that that did not occur?

02:16:16    15      A     Yes.

02:16:16    16      Q     Did you make any promise to Mr. Hadaway that if

02:16:22    17            he implicated Chaunte Ott in the murder of

02:16:24    18            Jessica Payne that he'd only have to do five

02:16:26    19            years?

02:16:27    20      A     No.

02:16:27    21      Q     Did you witness your partner promise

02:16:31    22            Mr. Hadaway that if he implicated Chaunte Ott

02:16:34    23            in the murder of Jessica Payne he'd only have

02:16:37    24            to serve five years in prison?

02:16:39    25      A     No.



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02:16:39     1      Q     Is it your testimony that didn't occur?

02:16:42     2      A     Yes.

02:16:42     3      Q     Did you threaten Sam Hadaway that if he went to

02:16:49     4            prison he'd be raped?

02:16:50     5      A     No.

02:16:50     6      Q     Did your partner, James DeValkenaere, threaten

02:16:53     7            Mr. Hadaway that if he went to prison he'd be

02:16:57     8            raped?

02:16:58     9      A     No.

02:16:58    10      Q     Is it your testimony that didn't occur?

02:17:00    11      A     Yes.

02:17:00    12      Q     Did you use any physical threat of violence

02:17:03    13            with Mr. Hadaway when you interrogated him?

02:17:05    14      A     No.

02:17:05    15      Q     Did you push over any furniture in the

02:17:08    16            interrogation room during your interrogation of

02:17:09    17            him?

02:17:10    18      A     No.

02:17:10    19      Q     Did you witness James DeValkenaere use any

02:17:13    20            threat of physical violence with Mr. Hadaway?

02:17:17    21      A     No.

02:17:18    22      Q     Did you witness your partner turn over any

02:17:20    23            furniture or chairs in the interrogation room

02:17:22    24            during the interrogation of Sam Hadaway?

02:17:25    25      A     No.



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02:17:27     1      Q     Was any physical force used with Mr. Hadaway?

02:17:30     2      A     No.

02:17:30     3      Q     Did Mr. Hadaway deny any knowledge or

02:17:38     4            involvement in the Payne homicide in your

02:17:41     5            interrogation of him?

02:17:44     6      A     No.

02:17:45     7      Q     Do you have any knowledge of whether

02:17:51     8            Mr. Hadaway was provided his seizure medicine

02:17:53     9            in the time that he was in custody prior to

02:17:56    10            your interrogation of him?

02:17:58    11                        MS. GEHLING:    Objection; foundation.

02:18:02    12                        MS. DONNELL:    You can answer.

02:18:03    13                        THE WITNESS:    I wasn't aware he was

02:18:05    14            on medicine at the time.

02:18:05    15      BY MS. DONNELL:

02:18:06    16      Q     So it's true you have no knowledge about

02:18:08    17            whether he was provided any medicine during his

02:18:11    18            custody, correct?

02:18:11    19      A     I don't have -- no, I don't.

02:18:13    20      Q     Okay.   Do you have any knowledge, personal

02:18:18    21            knowledge, of Mr. Hadaway's meals he was

02:18:25    22            provided?

02:18:26    23      A     No.

02:18:27    24      Q     Do you know how long you were allowed to hold

02:18:39    25            somebody in custody before charges were



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02:18:42     1            approved at that time?

02:18:45     2      A     We had 48 hours to establish probable cause,

02:18:50     3            and after that's established, then you have 72

02:18:52     4            hours for charging.

02:18:54     5      Q     Was there probable cause to hold -- to arrest

02:19:00     6            Mr. Hadaway -- well, strike that.

02:19:02     7                        Was there probable cause to hold

02:19:04     8            Mr. Hadaway prior to your interrogation of him?

02:19:06     9                        MS. GEHLING:    Objection; foundation.

02:19:12    10            You can answer if you know.

02:19:15    11                        THE WITNESS:    I don't recall.

02:19:17    12      BY MS. DONNELL:

02:19:17    13      Q     Based on the information that Mr. Gwin had

02:19:20    14            allegedly provided to you and your partner,

02:19:24    15            James DeValkenaere, was there probable cause,

02:19:26    16            in your view, to arrest Mr. Hadaway for the

02:19:29    17            Payne homicide?

02:19:30    18      A     Yes.

02:19:30    19      Q     Okay.   Was there probable cause to seek charges

02:19:36    20            for Mr. Hadaway prior to your interrogation of

02:19:40    21            him on October 27th, 1995, at 2:00 p.m.?

02:19:45    22      A     No.

02:19:45    23      Q     Why not?

02:19:46    24      A     It didn't -- there was no admission on his part

02:19:52    25            of being involved and Mr. Gwin wasn't a witness



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02:19:56     1            to the homicide.

02:19:58     2      Q     Is it fair to say that if in your interrogation

02:20:08     3            of Mr. Hadaway he had denied involvement or

02:20:13     4            knowledge, you would have had to let him go?

02:20:17     5      A     Yes.

02:20:17     6      Q     Okay.   Are you aware as you sit here today of

02:20:22     7            what was the basis of probable cause to charge

02:20:25     8            Mr. Hadaway with Jessica Payne's murder?

02:20:28     9      A     Based on his own statement.

02:20:30    10      Q     Anything else?

02:20:32    11      A     And Gwin's statement.

02:20:34    12      Q     Anything else?

02:20:36    13      A     No.

02:20:37    14      Q     Is it fair to say none of the -- there was no

02:20:42    15            eyewitnesses to -- that ever linked Mr. Hadaway

02:20:46    16            to the Payne homicide?

02:20:47    17      A     Correct.

02:20:47    18      Q     And there was no physical evidence linking Sam

02:20:50    19            Hadaway to the Jessica Payne homicide?

02:20:51    20      A     Correct.

02:20:52    21      Q     And Mr. Ott never implicated Mr. Hadaway,

02:21:01    22            correct?

02:21:02    23      A     No.

02:21:02    24      Q     Okay.   Whatever's easiest to look at, if you

02:21:42    25            want to look at Exhibit 12 or Exhibit 13 --



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02:21:44     1            well, actually, before we do that, do you have

02:21:47     2            any memory of any of the specific questions you

02:21:51     3            asked Mr. Hadaway in this or -- well, strike

02:21:55     4            that.

02:21:55     5                        Do you have any memory of the

02:21:58     6            specific questions that you asked Mr. Hadaway

02:22:01     7            other than the one you just testified to "What

02:22:03     8            did you want to tell us?"

02:22:05     9      A     No.

02:22:06    10      Q     Was this statement the product of a

02:22:11    11            back-and-forth of question or answering?

02:22:14    12      A     Yes.

02:22:14    13      Q     This isn't, like, a verbatim account of

02:22:17    14            Mr. Hadaway just telling you a bunch of things,

02:22:20    15            right?

02:22:21    16      A     Correct.

02:22:21    17      Q     And I believe you testified earlier your

02:22:23    18            practice was, you know, to have some background

02:22:25    19            questions, get a -- ask questions about the

02:22:26    20            incident, and then go back and write it out,

02:22:29    21            right?

02:22:29    22      A     Yes.

02:22:29    23      Q     And that's the protocol you followed for

02:22:32    24            Exhibit 12?

02:22:33    25      A     Yes.



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02:22:34     1      Q     Okay.   In Exhibit 12 or 13, there's a portion

02:22:41     2            in which Mr. Hadaway allegedly said that

02:22:44     3            Mr. Ott struck Mr. Payne -- Ms. Payne in the

02:22:47     4            face a number of times.      Do you remember that?

02:22:49     5      A     Yes.

02:22:49     6      Q     Was there any evidence of bruising on

02:22:52     7            Ms. Payne's face?

02:22:53     8      A     I don't recall.

02:22:55     9      Q     I'm going to mark this as Exhibit 14.        This is

02:23:05    10            the medical examiner's report.

02:23:18    11                       (Exhibit No. 14 was marked.)

02:23:18    12      BY MS. DONNELL:

02:23:18    13      Q     Okay.   Mr. Buschmann, I'm handing you

02:23:21    14            Exhibit 14 which is the medical examiner and

02:23:24    15            toxicology report for Jessica Payne dated

02:23:25    16            August 30th, 1995, okay?

02:23:27    17      A     Hm-hm, yes.

02:23:28    18      Q     And this is something you read prior to your

02:23:30    19            involvement on the Payne homicide, right?

02:23:33    20      A     Yes.

02:23:33    21      Q     Okay.   And if you -- you can review it, but I

02:23:38    22            can call your -- your attention to the page

02:23:41    23            that has Bates stamps MPD952 and 953 where it

02:23:46    24            says "Other Evidence of Trauma."       It's -- it's

02:23:50    25            Section 11, Page 17 of the M file, and it has



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02:23:53     1            Bates stamp 952, and there's a subsection that

02:24:03     2            says "Other Evidence of Trauma."

02:24:07     3      A     Okay.

02:24:07     4      Q     And it says "Other evidence of trauma is

02:24:10     5            limited to areas of contusion inclusive of a

02:24:11     6            small -- two small contusions along the medial

02:24:15     7            right costal margin," right?

02:24:17     8      A     Yes.

02:24:17     9      Q     "A contusion on the left medial costal margin

02:24:21    10            of the anterior chest wall," right?

02:24:23    11      A     Yes.

02:24:23    12      Q     "A contusion over the dorsum of the right

02:24:25    13            hand"?

02:24:26    14      A     Yes.

02:24:26    15      Q     "A superficial abrasion along the left groin,"

02:24:30    16            right?

02:24:30    17      A     Yes.

02:24:30    18      Q     And that's indicated as a "probable postmortem

02:24:35    19            artifact," right?

02:24:37    20      A     Yes.

02:24:37    21      Q     Then there's "A series of contusions along the

02:24:40    22            right leg anteriorly," and then there's various

02:24:43    23            measurements of those contusions along the

02:24:45    24            outside of the right leg, right?

02:24:46    25      A     Yes.



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02:24:47     1      Q     And then there's "Two contusions on the left

02:24:49     2            anterior thigh" as well, right?

02:24:52     3      A     Yes.

02:24:52     4      Q     There is no evidence that the autopsy indicated

02:24:58     5            of any bruising or contusions on Ms. Payne's

02:25:01     6            face, right?

02:25:03     7      A     Correct.

02:25:03     8      Q     In terms of injuries to Ms. Payne, there's

02:25:28     9            nothing that Mr. Hadaway provided to you that

02:25:31    10            you didn't already know prior to your

02:25:33    11            interrogation of him on the 27th of October,

02:25:36    12            1995, correct?

02:25:40    13      A     To Ms. Payne's --

02:25:41    14      Q     Body.

02:25:42    15      A     -- body?   Correct.

02:25:44    16      Q     And, in fact, the -- the statement that Chaunte

02:25:49    17            Ott struck her in the face, there was no

02:25:51    18            corroborating physical evidence in the

02:25:53    19            photographs or the medical examiner's report,

02:25:56    20            correct?

02:25:56    21      A     No.

02:25:59    22      Q     Okay.   And -- and the same is true with the

02:26:15    23            statement of Mr. Richard Gwin, you also knew

02:26:19    24            the location that Ms. Gwin's [sic] body was

02:26:22    25            found before you ever talked to Mr. Hadaway or



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02:26:25     1            Gwin, correct?

02:26:27     2      A     Yes.

02:26:27     3      Q     Okay.    Now, it's fair to say that after your

02:26:30     4            conversation with Mr. Hadaway -- well, strike

02:26:37     5            that.

02:26:37     6                        The next thing you did was take

02:26:40     7            Mr. Hadaway to meet with Mark Williams; is that

02:26:43     8            right?

02:26:43     9      A     That happened eventually, yes.       I don't know

02:26:45    10            exactly when it happened.

02:26:47    11      Q     Okay.    Sorry, that might not be the next thing.

02:27:00    12            Do you recall that your conversation with

02:27:02    13            Chaunte Ott that you spoke about occurred

02:27:04    14            before you talked to Mr. Hadaway?

02:27:08    15      A     I don't recall.

02:27:11    16      Q     Okay.    I'm going to show you Exhibit 15 to see

02:27:14    17            if it refreshes your recollection.

02:27:27    18                       (Exhibit No. 15 was marked.)

02:27:28    19      BY MS. DONNELL:

02:27:28    20      Q     I'm showing you what I've designated as

02:27:31    21            Exhibit 15 to your deposition.       It's Bates

02:27:32    22            stamped MPD570.     It's from M file 3084,

02:27:35    23            Section 4, Page 294.     Do you see -- do you

02:27:38    24            recognize this supp report from your partner,

02:27:42    25            James DeValkenaere, memorializing a



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02:27:44     1            conversation with Chaunte Ott on October 26th,

02:27:47     2            1995?

02:27:47     3      A     Yes.

02:27:48     4      Q     And so that was the day before you talked to

02:27:51     5            Sam Hadaway, right?

02:27:52     6      A     That's correct.

02:27:52     7      Q     And this is where Mr. Ott denied any

02:27:56     8            involvement or knowledge of the Payne homicide,

02:28:02     9            right?

02:28:02    10      A     Correct.

02:28:03    11      Q     Okay.    This is 16.

02:28:21    12                        (Exhibit No. 16 was marked.)

02:28:21    13      BY MS. DONNELL:

02:28:21    14      Q     Mr. Buschmann, I'm handing you what I've

02:28:24    15            designated as Exhibit 16 to your deposition.

02:28:26    16            This has Bates stamp MPD1162.       Do you recognize

02:28:32    17            Exhibit -- and it's from M file 3084, Section

02:28:35    18            14, Page 1.    Do you recognize Exhibit 16 as the

02:28:39    19            supp report for the charging conference that

02:28:41    20            occurred on Monday, October 30th?

02:28:44    21      A     Yes.

02:28:44    22      Q     And that was with District Attorney Mark

02:28:46    23            Williams?

02:28:47    24      A     Correct.

02:28:47    25      Q     And Mark Williams was the homicide DA, right?



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02:28:52     1      A     Correct.

02:28:52     2      Q     And so you worked with him frequently even

02:28:55     3            before this homicide investigation?

02:28:59     4      A     Yes.

02:28:59     5      Q     Okay.    Okay.   Okay.   The supp report you

02:29:26     6            prepared is dated November 6th, 1995; is that

02:29:31     7            right?

02:29:31     8      A     Yes.

02:29:31     9      Q     And so you met first for a charging conference

02:29:34    10            on October 30th; is that right?

02:29:38    11      A     Yes.

02:29:39    12      Q     But charges were not approved until the

02:29:43    13            following Monday on November 6th?

02:29:45    14      A     Yes.

02:29:46    15      Q     Okay.    And did Mr. Williams indicate he had

02:29:54    16            concerns about the investigation and things he

02:29:58    17            wanted followed up on before he was willing to

02:30:00    18            charge Mr. Hadaway with the Payne homicide?

02:30:05    19      A     Yes.

02:30:05    20      Q     What was Mr. Williams concerned about?

02:30:08    21      A     He wanted to make sure that both Gwin and

02:30:12    22            Hadaway were telling the truth.

02:30:14    23      Q     Did Mark Williams indicate to you why he had

02:30:20    24            concerns of whether Gwin and Hadaway were

02:30:24    25            telling the truth about implicating them- --



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02:30:29     1            Mr. Hadaway and Mr. Ott in the Payne homicide?

02:30:32     2      A     It was the only evidence we had implicating

02:30:35     3            Chaunte Ott in the homicide.

02:30:41     4      Q     Was Mark Williams concerned that there were no

02:30:52     5            eyewitnesses -- well, strike that.

02:30:53     6                        Was Mark Williams concerned that

02:30:56     7            there was no physical evidence to corroborate

02:30:58     8            the statements?

02:31:00     9                        MS. GEHLING:    Objection; foundation.

02:31:01    10                        THE WITNESS:    Not that I recall.

02:31:03    11      BY MS. DONNELL:

02:31:06    12      Q     Was Mark Williams concerned about Mr. Gwin as a

02:31:13    13            reliable witness?

02:31:14    14                        MS. GEHLING:    Objection; foundation.

02:31:15    15                        THE WITNESS:    I don't recall.

02:31:16    16      BY MS. DONNELL:

02:31:17    17      Q     How about with respect to Mr. Hadaway?        Was he

02:31:20    18            concerned about Mr. Hadaway?

02:31:22    19                        MS. GEHLING:    Objection; foundation.

02:31:23    20                        THE WITNESS:    I don't recall.

02:31:24    21      BY MS. DONNELL:

02:31:25    22      Q     Do you recall him expressing any concerns to

02:31:27    23            you other than what you've just testified to

02:31:29    24            that the only evidence implicating Mr. Ott was

02:31:31    25            the two witness statements by Gwin and Hadaway?



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02:31:34     1      A     No.

02:31:35     2      Q     Did -- well, Mr. Hadaway was taken to be

02:31:46     3            polygraphed the following day -- well, two days

02:31:50     4            later on November 1st, right?

02:31:51     5      A     Yes.

02:31:51     6      Q     Was that your decision?

02:31:57     7      A     No.

02:31:57     8      Q     Whose decision was it to polygraph Sam Hadaway?

02:32:01     9      A     I believe it was the -- Mr. Williams'.

02:32:04    10      Q     Why do you believe it was Mr. Williams'?

02:32:06    11      A     Because he's the one that had the concerns

02:32:08    12            about both Hadaway and Gwin telling the truth.

02:32:15    13            I don't know -- I'm going to say I don't know

02:32:18    14            for sure who requested the polygraph.

02:32:21    15      Q     Okay.   Thank you for clarifying.      When you say

02:32:26    16            Williams was the one -- Mark Williams was the

02:32:29    17            one that had concerns about Gwin and Hadaway

02:32:32    18            telling the truth about the Payne homicide and

02:32:35    19            any knowledge of it, did you share that concern

02:32:40    20            back in October/November 1995?

02:32:45    21      A     Who did I -- who would I have shared that

02:32:48    22            concern with?

02:32:48    23      Q     Did you share Mark Williams' concern about Gwin

02:32:51    24            and Hadaway telling the truth?

02:32:54    25      A     Not that I recall.



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02:32:55     1      Q     You recall that being the prosecutor's concern,

02:32:58     2            but not yours?

02:33:00     3      A     You're -- oh, I don't understand -- I didn't

02:33:03     4            understand the question.

02:33:04     5      Q     Oh, thank you.    Thanks for letting me know.

02:33:06     6            I'm happy to rephrase.

02:33:07     7                         So you said Mark Williams had

02:33:10     8            concerns about Gwin and Hadaway telling the

02:33:11     9            truth about what they said implicating

02:33:13    10            Mr. Hadaway and Mr. Ott in the Payne homicide,

02:33:16    11            right?

02:33:16    12      A     Correct.

02:33:16    13      Q     And I'm asking did you share his concern?         Did

02:33:19    14            you have the same concern?

02:33:20    15      A     Yes, I did.

02:33:21    16      Q     Okay.    Why were you concerned about Gwin and

02:33:24    17            Hadaway telling the truth?

02:33:26    18      A     Because that's the only evidence we had.

02:33:28    19      Q     And why did that concern you as the homicide

02:33:30    20            detective?

02:33:31    21      A     Because I'm not going to try to have an

02:33:34    22            innocent person charged with homicide without

02:33:37    23            going the extra steps of finding out if the

02:33:41    24            people that gave us statements were telling us

02:33:43    25            the truth.



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02:33:43     1      Q     But you took Hadaway and Ott to a charging

02:33:52     2            conference to seek charges or to seek approval

02:33:55     3            of charges, right?

02:33:59     4      A     Not for Gwin.

02:34:00     5      Q     Sorry.   You weren't seeking charges for Gwin.

02:34:03     6            Thanks for clarifying.      You were seeking

02:34:05     7            charges for Hadaway and Ott?

02:34:07     8      A     We were having the case reviewed at that time.

02:34:09     9      Q     And you were -- you were only proposing to have

02:34:13    10            charges for Hadaway and Ott?

02:34:16    11      A     Yes.

02:34:17    12      Q     But you are aware that there were criminal

02:34:22    13            charges that were possible charges that could

02:34:25    14            be brought against Mr. Gwin based on his

02:34:28    15            involvement?

02:34:29    16                         MS. GEHLING:   Objection; relevance.

02:34:32    17            You can answer.

02:34:32    18                         THE WITNESS:   No.

02:34:33    19      BY MS. DONNELL:

02:34:33    20      Q     Well, do you understand what accessory to a

02:34:36    21            murder is?

02:34:37    22      A     Yes.    He didn't give a statement implicating

02:34:42    23            himself in the murder at all.

02:34:43    24      Q     Okay.    So it's your -- your belief back in

02:34:47    25            October 1995 that there was no criminal charges



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02:34:51     1            for Mr. Gwin's conduct?

02:34:53     2      A     Correct.

02:34:53     3      Q     Okay.   Had you made that promise to Mr. Gwin

02:35:04     4            that he couldn't be charged?

02:35:06     5      A     No.

02:35:06     6      Q     Why not?

02:35:08     7      A     Because it's not my decision.

02:35:10     8      Q     Okay.   And Mr. Gwin was being brought to the

02:35:13     9            charging conference, right?

02:35:14    10      A     Correct.

02:35:14    11      Q     Okay.   But it sounds to me like your testimony

02:35:18    12            is neither you or DeValkenaere thought Gwin

02:35:21    13            should be charged?

02:35:24    14      A     No.

02:35:25    15      Q     Okay.   And -- but at that point on October 30th

02:35:32    16            when you were setting up the charging

02:35:35    17            conference with Mark Williams, you did think

02:35:37    18            that charges -- you were seeking review for

02:35:39    19            charging Mr. Ott and Mr. Hadaway, correct?

02:35:43    20      A     Yes.

02:35:44    21      Q     And it was at that point that Mr. Williams

02:35:46    22            indicated he had some concerns, right?

02:35:49    23      A     I don't recall how it went in the charging

02:35:56    24            conference.    I don't have independent

02:35:59    25            recollection of my conversation or the charging



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02:36:03     1            conference itself.

02:36:04     2      Q     But at the time that you brought Mr. Hadaway

02:36:11     3            and Mr. Ott to the charging conference, at that

02:36:15     4            point there wasn't any follow-up you and your

02:36:17     5            partner had planned to do before seeking

02:36:20     6            charges, right?

02:36:23     7      A     I'm not sure if -- I don't recall if we had

02:36:28     8            another plan or if anything else was planned.

02:36:31     9            I do not recall that.

02:36:32    10      Q     Okay.   Other than the polygraph of Mr. Hadaway,

02:36:48    11            do you have a recollection as you sit here

02:36:50    12            today of any other steps you took to address

02:36:54    13            the concern about the only evidence being

02:36:58    14            Mr. Gwin and Mr. Hadaway?

02:37:04    15      A     No, I don't recall.

02:37:06    16      Q     Okay.   Okay.   Do you remember anything as you

02:37:39    17            sit here today about taking Sam Hadaway to

02:37:45    18            be -- for a polygraph examination?

02:37:47    19      A     No.

02:37:47    20      Q     Did you review any of the documentation related

02:37:52    21            to Sam Hadaway's polygraph examination to

02:37:55    22            prepare for your deposition?

02:37:57    23      A     Yes, I read the statement prepared by Detective

02:38:01    24            Simons.

02:38:02    25      Q     Okay.   Did that refresh your recollection in



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02:38:04     1            any way as to your involvement in that

02:38:07     2            polygraph examination and statement?

02:38:09     3      A     Yes.

02:38:09     4      Q     Do you have any independent recollection now as

02:38:14     5            you sit here today of the polygraph

02:38:16     6            examination?

02:38:17     7      A     I remember just being called in by Detective

02:38:22     8            Simons to witness the statement.

02:38:24     9      Q     Okay.    This is going to be 17.     This is going

02:38:24    10            to be 18 and 19.

02:38:48    11               (Exhibit Nos. 17 through 19 were marked.)

02:39:28    12      BY MS. DONNELL:

02:39:28    13      Q     Okay.    Mr. Buschmann, I'm handing you what I've

02:39:32    14            designated as Exhibits 17, 18, and 19, okay?

02:39:35    15      A     Okay.

02:39:35    16      Q     Do you recognize -- hopefully I didn't just

02:39:45    17            give you my copy.     Oh, got it.    Okay.   Do you

02:39:50    18            recognize Exhibit 17 as the Milwaukee Police

02:39:54    19            Department polygraph examination report for the

02:39:56    20            examination that Examiner Simons conducted on

02:40:01    21            November 1st of 1995 of Mr. Hadaway?

02:40:05    22      A     Yes.

02:40:05    23      Q     And this is -- you again were the investigator

02:40:10    24            as the -- identified as the submitting officer,

02:40:12    25            right?



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02:40:12     1      A     Yes.

02:40:12     2      Q     And this indicates that Mr. Hadaway was

02:40:16     3            examined between 9:31 a.m. and 10:06 a.m. on

02:40:19     4            November 1st?

02:40:30     5      A     I can't read this.     Yes.

02:40:35     6      Q     Okay.    And then do you recognize Exhibit 18 as

02:40:43     7            the handwritten statement of the post-polygraph

02:40:45     8            interrogation of Mr. Hadaway on November 1st?

02:40:48     9      A     Yes.

02:40:49    10      Q     And that indicates that on November 1st at

02:40:52    11            11:26 a.m. the subject was questioned at CIB,

02:40:56    12            right?

02:40:56    13      A     Correct.

02:40:56    14      Q     And you were present for this as well?

02:40:58    15      A     Yes.

02:40:59    16      Q     Okay.    And you've also signed it on the back of

02:41:02    17            Exhibit 18?

02:41:03    18      A     Yes.

02:41:03    19      Q     Okay.    And then Exhibit 19, do you recognize

02:41:07    20            that to be the supplementary report prepared by

02:41:11    21            Detective Simons about the post-polygraph

02:41:14    22            examination?

02:41:14    23      A     Yes.

02:41:15    24      Q     Okay.    Okay.   And you again would have spoken

02:41:32    25            to Detective Simons before he conducted this



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02:41:39     1            examination of Mr. Hadaway, right?

02:41:41     2      A     Yes.

02:41:41     3      Q     And at this point in time was Mr. Hadaway still

02:41:43     4            under arrest?

02:41:45     5      A     Yes.

02:41:45     6      Q     For the Payne homicide?

02:41:48     7      A     Yes.

02:41:48     8      Q     Okay.    And here Mr. Hadaway was asked if

02:42:03     9            Chaunte Ott cut that white girl's throat,

02:42:11    10            right?   Or these are the relevant questions,

02:42:13    11            okay?

02:42:13    12      A     Oh, okay.

02:42:14    13                        MS. GEHLING:    Oh, okay.

02:42:15    14      BY MS. DONNELL:

02:42:16    15      Q     The relevant questions at the polygraph

02:42:20    16            examination were "Did Chaunte Ott cut the white

02:42:24    17            girl's throat," right?

02:42:25    18      A     Yes.

02:42:25    19      Q     "Did you," meaning Sam Hadaway, "cut the white

02:42:25    20            girl's throat," right?

02:42:27    21      A     Right.

02:42:27    22      Q     "While the white girl was fighting, did you

02:42:30    23            help hold her down," right?

02:42:32    24      A     Right.

02:42:32    25      Q     And then "Did you have any sexual contact with



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02:42:34     1            the white girl," right?

02:42:36     2      A     Yes.

02:42:36     3      Q     And those questions about -- or strike that.

02:42:40     4                        The information that you wanted in

02:42:43     5            the context of the Payne homicide investigation

02:42:46     6            after meeting with Mark Williams would have --

02:42:50     7            well, strike that.     Let me strike that.

02:42:52     8                        These questions would have come from

02:42:56     9            you and Detective -- well, strike that again.

02:42:59    10                        The questions that Detective Simons

02:43:02    11            decided to ask were after his meeting with you

02:43:06    12            and your partner, right, or you?       I'm sorry,

02:43:10    13            just you.

02:43:13    14                        MS. GEHLING:    Object to foundation.

02:43:14    15            You can answer if you know.

02:43:15    16                        THE WITNESS:    Yes.

02:43:15    17      BY MS. DONNELL:

02:43:15    18      Q     And this November 1st polygraph and

02:43:19    19            post-polygraph interview, your partner wasn't

02:43:22    20            present for, right?

02:43:23    21      A     I don't believe so.

02:43:24    22      Q     Okay.   Do you, as you sit here today, know why

02:43:30    23            Detective Simons was asking Mr. Hadaway if he

02:43:33    24            had sexual contact with Jessica Payne?

02:43:36    25                        MS. GEHLING:    Objection; foundation.



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02:43:39     1                        THE WITNESS:    I don't.

02:43:40     2      BY MS. DONNELL:

02:43:42     3      Q     But it's fair to say Detective Simons, he was

02:43:47     4            only -- was his -- he was not a homicide

02:43:48     5            detective; he was a polygraph examiner?

02:43:50     6      A     Correct, and he worked in the robbery unit.

02:43:54     7      Q     But he didn't work in homicide?

02:43:57     8      A     He did not.

02:43:58     9      Q     Okay.   Okay.   Looking at -- calling your

02:44:15    10            attention to Exhibit 18, on the back half, do

02:44:41    11            you see the paragraph that says "During the

02:44:43    12            interview, Sam and Detective Simons role-played

02:44:46    13            on what he did and what the white girl did"?

02:44:49    14            Do you see that?

02:44:49    15      A     Yes.

02:44:50    16      Q     And that "Sam held my hands about [sic] my head

02:44:55    17            just as he did to the white girl" to Detective

02:44:58    18            Simons.    Do you see that?

02:44:59    19      A     Yes.

02:44:59    20      Q     Does this refresh your recollection of you

02:45:01    21            observing Sam Hadaway and Detective Simons

02:45:05    22            role-playing?

02:45:12    23      A     I don't remember the role-playing.

02:45:14    24      Q     Okay.

02:45:14    25      A     I don't recall that, but I know that this is



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02:45:22     1            when I found out about the -- that I remembered

02:45:26     2            about the weak left arm.

02:45:31     3      Q     Okay.    Did you make any promises to Sam Hadaway

02:45:47     4            on November 1st that if he implicated Chaunte

02:45:52     5            Ott he'd only have to go to prison for five

02:45:56     6            years?

02:45:56     7      A     No.

02:45:56     8      Q     Did you threaten Mr. Hadaway at any point on

02:45:59     9            November 1st that if he didn't implicate

02:46:00    10            Chaunte Ott that he would go to prison?

02:46:01    11      A     No.

02:46:05    12      Q     Did you witness or observe Detective Simons

02:46:09    13            make any promises to Sam Hadaway on November

02:46:12    14            1st?

02:46:12    15      A     No.

02:46:12    16      Q     Did you witness Detective Simons make any

02:46:18    17            threats to Sam Hadaway on November 1st?

02:46:21    18      A     No.

02:46:22    19      Q     And there's nothing -- no information that

02:46:26    20            Mr. Hadaway provided on November 1st, 1995,

02:46:29    21            that indicated any additional facts related to

02:46:32    22            any injuries to Ms. Payne, right?

02:46:35    23      A     Correct.

02:46:35    24      Q     The only new information he provided was about

02:46:40    25            holding her hand at some point?



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02:46:42     1      A     Correct.

02:46:43     2      Q     Okay.    Do you remember seeking a search warrant

02:46:58     3            to search Chaunte Ott's house?

02:47:02     4      A     I know a search warrant was executed at his

02:47:06     5            house.

02:47:06     6      Q     Were you part of the actual search?

02:47:37     7      A     I would say yes.     Yes.

02:47:39     8      Q     Okay.    Do you remember obtaining evidence

02:47:45     9            there?

02:47:45    10      A     Yes.

02:47:45    11      Q     What do you remember obtaining?

02:47:48    12      A     Some knives.

02:47:50    13      Q     Was there ever -- was there any evidence that

02:47:56    14            you obtained during the search of Chaunte Ott

02:48:00    15            that was ever linked by biological or

02:48:06    16            fingerprints or any other kind of evidence to

02:48:08    17            Ms. Payne's murder?

02:48:11    18      A     Not conclusively.

02:48:13    19      Q     What does that mean?

02:48:14    20      A     The medical examiner looked at the instruments

02:48:19    21            we recovered --

02:48:23    22      Q     Meaning the knives?

02:48:26    23      A     Yeah.    I'm sorry, yes.

02:48:28    24                        -- and indicated that one of them

02:48:33    25            could have possibly been used.



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02:48:34     1      Q     That was just based on the shape or the size of

02:48:39     2            the knife?

02:48:39     3      A     I -- I don't recall.

02:48:40     4      Q     But there was no blood swab taken from any

02:48:43     5            knives or instruments obtained from Mr. Ott's

02:48:47     6            home that was linked to the blood of Jessica

02:48:49     7            Payne, correct?

02:48:50     8      A     No.

02:48:50     9      Q     Okay.    This is Exhibit 20.

02:49:03    10                       (Exhibit No. 20 was marked.)

02:49:03    11      BY MS. DONNELL:

02:49:16    12      Q     I'm handing you what I've just designated as

02:49:20    13            Exhibit 20 to your deposition.       This is an

02:49:22    14            affidavit in support of a search warrant

02:49:24    15            bearing Bates stamps MPD SJH756 consecutive to

02:49:30    16            760, and this is an affidavit in support of a

02:49:33    17            search warrant by you as the affiant, right?

02:49:36    18      A     Yes.

02:49:36    19      Q     Okay.    On the second page of the search

02:50:02    20            warrant, you were providing some of the

02:50:05    21            information about how Jessica Payne was found,

02:50:10    22            right?

02:50:11    23      A     Yes.

02:50:12    24      Q     And that included that her bra was torn in the

02:50:17    25            mid front portion -- is that right -- at the



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02:50:30     1            top, Jessica Payne's bra?

02:50:33     2      A     Yes.

02:50:33     3      Q     And that "he observed her pants were pulled

02:50:37     4            down to her ankles and the buttons unbuttoned,"

02:50:43     5            right?

02:50:43     6      A     Yes.

02:50:43     7      Q     And that she had bruising on her right hand,

02:50:43     8            right?

02:50:43     9      A     Yes.

02:50:44    10      Q     And a four-inch gash on her throat, right?

02:50:48    11      A     Yes.

02:50:49    12      Q     Okay.    And you were seeking to seize any bloody

02:51:18    13            clothing in the home of Chaunte Ott and any

02:51:21    14            cutting -- and there may be a cutting device?

02:51:24    15      A     Correct.

02:51:24    16      Q     Okay.    Was there another charging conference

02:51:33    17            after the polygraph and after the search of

02:51:39    18            Mr. Ott's home that you recall?

02:51:42    19      A     Not that I recall, but they hadn't been

02:51:51    20            officially charged yet, so I would say there

02:51:55    21            probably was one.

02:51:56    22      Q     Was that typically what was done, if charges

02:52:05    23            weren't approved, there'd be a second

02:52:07    24            conference?

02:52:07    25      A     If there was follow-up to be conducted before a



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02:52:10     1            final decision was made, yes.

02:52:12     2      Q     Okay.   And as you sit here today, do you have

02:52:18     3            an independent recollection of that?

02:52:19     4      A     Of a second conference?

02:52:21     5      Q     Yes.

02:52:21     6      A     I do not.

02:52:22     7      Q     Okay.   I'm looking back at Exhibit 16.

02:52:45     8      A     Yep.    Yes.

02:52:46     9      Q     There's no indication -- on Exhibit 16, it

02:52:52    10            indicates that "On Monday, November 6th, 1995,

02:52:56    11            after completing his review of the above

02:52:59    12            incident, ADA Williams proceeded to issue one

02:53:03    13            charge of first-degree intentional homicide,

02:53:06    14            party to a crime, and one count of attempted

02:53:06    15            robbery, party to a crime, against defendant,

02:53:08    16            Chaunte Ott," right?

02:53:09    17      A     Yes.

02:53:10    18      Q     And "one count of attempted robbery, party to a

02:53:13    19            crime, against defendant, Sam Hadaway," right?

02:53:15    20      A     Correct.

02:53:16    21      Q     And then it says "No charges were brought

02:53:18    22            against the subject, Richard Gwin"?

02:53:22    23      A     Correct.

02:53:22    24      Q     And there's no indication in this supplementary

02:53:24    25            report that you prepared of an additional



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02:53:27     1            conference sometime after October 30th, right?

02:53:30     2      A     Correct.

02:53:30     3      Q     Okay.    You were present for Mr. Ott's criminal

02:53:47     4            trial?

02:53:47     5      A     Yes.

02:53:47     6      Q     Okay.    But you didn't testify?

02:53:50     7      A     I did not.

02:53:51     8      Q     Were you prepared to possibly testify?

02:53:55     9      A     Yes.

02:53:56    10      Q     Okay.    And why -- what were you -- did Mark

02:54:00    11            Williams prepare you?

02:54:02    12      A     Yes.

02:54:02    13      Q     And in what -- what -- what was your testimony

02:54:08    14            going to be prepared to provide?

02:54:11    15      A     If Hadaway or -- if Hadaway would have given

02:54:17    16            testimony contrary to his statement that he had

02:54:21    17            provided to me.

02:54:21    18      Q     And was -- Gwin was not present to testify,

02:54:26    19            right?

02:54:28    20      A     I believe Gwin did testify.

02:54:29    21      Q     Oh, Gwin did testify, right.       I'm sorry.    So

02:54:32    22            was the same true for Gwin?

02:54:34    23      A     Yes.

02:54:34    24      Q     And at trial, Mr. Ott's trial, the entire

02:54:49    25            evidence against him was still just Gwin's



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02:54:51     1            statement and Hadaway's statement, correct?

02:54:53     2      A     Yes.

02:54:54     3      Q     There was no physical evidence corroborating

02:54:58     4            anything that implicated Mr. Ott in that

02:55:00     5            homicide?

02:55:01     6      A     Correct.

02:55:01     7      Q     And there was no other evidence from other

02:55:03     8            witnesses that was developed before trial,

02:55:06     9            correct?

02:55:06    10      A     Correct.

02:55:07    11      Q     Okay.   The same is true for Sam Hadaway, there

02:55:17    12            was nothing other than the statements that he

02:55:20    13            made and Mr. Gwin made, right?

02:55:24    14      A     Correct.

02:55:25    15      Q     There was no physical evidence corroborating

02:55:27    16            those statements?

02:55:28    17      A     Correct.

02:55:28    18      Q     And there was no eyewitnesses that ever

02:55:31    19            implicated Mr. Hadaway?

02:55:32    20      A     Correct.

02:55:33    21      Q     You -- I'm going to go back and ask you some

02:55:57    22            questions about the interrogation of

02:56:01    23            Mr. Hadaway back on October 27th, okay?

02:56:04    24      A     Okay.

02:56:04    25      Q     You previously testified that you spent



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02:56:10     1            somewhere between 45 minutes to an hour

02:56:13     2            building a rapport when talking to Mr. Hadaway,

02:56:19     3            okay?

02:56:19     4      A     Okay.

02:56:19     5      Q     Do you want to see your testimony in that

02:56:22     6            regard?

02:56:23     7      A     Is that from --

02:56:23     8      Q     It's from the Ott dep on Page 102 and 103 if

02:56:28     9            you'd like to refer to that.

02:56:52    10      A     Okay.

02:56:54    11      Q     Does that refresh your recollection that the

02:56:56    12            first 45 minutes to an hour was spent talking

02:56:59    13            to Mr. Hadaway and you weren't documenting it

02:57:01    14            in any way?

02:57:02    15      A     Correct.

02:57:04    16      Q     Okay.   You can put that down.      Sorry.   You also

02:57:22    17            previously testified that Mr. Hadaway was

02:57:26    18            emotional when you were interrogating him.         Do

02:57:30    19            you remember that testimony?

02:57:30    20      A     Yes.

02:57:31    21      Q     Do you have an independent recollection of

02:57:34    22            Mr. Hadaway being emotional?

02:57:36    23      A     Yes.

02:57:36    24      Q     Can you describe what you mean by that?         What

02:57:40    25            did you observe?



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02:57:41     1      A     He was crying at one point.

02:57:45     2      Q     Like, actual tears?

02:57:48     3      A     I don't know if they were actual tears, but he

02:57:52     4            was emotional and crying.

02:57:55     5      Q     Anything else you observed?

02:57:57     6      A     Not that I recall.

02:57:58     7      Q     If you would turn your attention to Page 105 of

02:58:05     8            your deposition from June 30th, 2010, in

02:58:08     9            Exhibit 1, and do you see on Page 105 at Line

02:58:25    10            10 you testified he did show tears?

02:58:29    11      A     Okay.

02:58:30    12      Q     Does that refresh your recollection that you

02:58:32    13            observed Mr. Hadaway with actual tears?

02:58:36    14      A     Yes.

02:58:37    15      Q     Okay.   And then at Line 12 you testified "That

02:58:46    16            was it.    He was pretty much -- that was pretty

02:58:48    17            much it.    He was pretty talkative.      It wasn't

02:58:52    18            like, you know, I had to pull these answers

02:58:53    19            from him.    As we talked, it flowed from him.

02:58:57    20            It was not a hard interview."       Do you see that

02:58:58    21            testimony at Lines -- Page 105, Lines -- 105,

02:59:00    22            Lines 12 to 15?

02:59:01    23      A     Yes.

02:59:01    24      Q     Does that -- do you remember that?

02:59:03    25      A     Yes.



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02:59:03     1      Q     Okay.   Can you tell me about that?       What does

02:59:07     2            it -- Mr. Hadaway wasn't a hard witness?         What

02:59:10     3            do you mean?

02:59:11     4      A     Because it was his doing that we were talking

02:59:14     5            to him in the first place.      He initiated the

02:59:17     6            contact with us.     He wanted to talk about the

02:59:22     7            event and decided that he wanted to tell the

02:59:27     8            truth, and it was a nonconfrontational type of

02:59:34     9            interview.    He told us about what happened.          We

02:59:40    10            asked questions in between, and it was very --

02:59:47    11            I don't want to say an easy interview, but it

02:59:52    12            was not a difficult interview.

02:59:54    13      Q     Did you make -- well, strike that.

03:00:14    14                         Do you remember any of that

03:00:15    15            back-and-forth with Mr. Hadaway, things you

03:00:18    16            were asking him or details you were asking him

03:00:21    17            to provide?

03:00:21    18      A     Specific details, no.

03:00:23    19      Q     But you -- it was a back-and-forth, right?

03:00:27    20      A     Yes.

03:00:28    21      Q     Was there any information you were hoping you

03:00:32    22            could elicit from Mr. Hadaway?

03:00:33    23      A     Just the truth.

03:00:34    24      Q     Did you try to seek to obtain -- was there

03:00:39    25            certain -- well, strike that.



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03:00:44     1                         Did you have any concerns that

03:00:48     2            Mr. Hadaway was of limited intelligence?

03:01:01     3      A     No.

03:01:02     4      Q     Did Mr. Hadaway convey to you that he was in

03:01:08     5            learning -- special education classes during --

03:01:11     6      A     No, not to my knowledge.

03:01:13     7      Q     You had also testified that you thought

03:01:23     8            Mr. Hadaway was remorseful, right?

03:01:26     9      A     I don't recall.

03:01:30    10      Q     Okay.   Do you have any memory as you sit here

03:01:35    11            today of Mr. Hadaway being remorseful?

03:01:38    12      A     Based on his writings at the end of the

03:01:43    13            statement, I would say he was remorseful.

03:01:45    14      Q     Do you have any information other than what's

03:01:49    15            documented at the end of Mr. Hadaway's

03:01:52    16            handwritten statement other than that?

03:01:57    17      A     No.

03:01:58    18      Q     So you have no independent recollection of any

03:02:02    19            observations you made of Mr. Hadaway that you

03:02:07    20            would describe as being remorseful?

03:02:09    21      A     That would go hand in hand with him being

03:02:13    22            emotional.

03:02:15    23      Q     Okay.   Other than your observation -- and when

03:02:24    24            you're saying "emotional," you're referring to

03:02:27    25            Mr. Hadaway as being tearful?



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03:02:30     1      A     Yes.

03:02:30     2      Q     Anything else that you observed other than

03:02:32     3            Mr. Hadaway being tearful that you would

03:02:34     4            describe as being emotional?

03:02:35     5      A     Not that I recall.

03:02:36     6      Q     Okay.   Is it true that one of the things you

03:02:48     7            did during your interrogation of Mr. Hadaway is

03:02:51     8            to provide him a copy of Mr. Gwin's statement

03:02:57     9            that he had given to you and Detective

03:03:00    10            DeValkenaere on the 25th?

03:03:01    11      A     No, I don't recall that.

03:03:03    12      Q     You don't recall that, but -- as you sit here

03:03:07    13            today, but is it -- are you denying that you

03:03:10    14            did it, or you just don't remember --

03:03:10    15      A     I don't remember --

03:03:12    16      Q     -- one way or the other?

03:03:13    17      A     I don't remember doing that.

03:03:15    18      Q     Okay.   Is that something that you would do from

03:03:17    19            time to time if you were interrogating a

03:03:20    20            suspect, provide them a copy of a witness

03:03:21    21            statement against them?

03:03:23    22      A     No.

03:03:23    23      Q     You never did that?

03:03:27    24      A     I would never give a -- a person a copy of

03:03:30    25            another defendant's or suspect's report.



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03:03:33     1      Q     Well, how about just a witness?       At this point

03:03:35     2            you didn't think Gwin was -- had implicated

03:03:40     3            himself in any criminal conduct.       Would you

03:03:43     4            have told Mr. Hadaway "We have this evidence

03:03:47     5            against you from Richard Gwin"?

03:03:49     6      A     I could have told him that.

03:03:50     7      Q     But you don't think you would have provided the

03:03:53     8            actual statement?

03:03:53     9      A     I would never have provided him with the

03:03:58    10            statement.

03:03:58    11      Q     Okay.   So you deny doing that?

03:03:59    12      A     Where he would have physical possession of the

03:04:01    13            statement?    No.

03:04:02    14      Q     Would you have it in your physical possession

03:04:04    15            and be reading from it to Mr. Hadaway?        Could

03:04:08    16            that happen?

03:04:08    17      A     That could happen.

03:04:09    18      Q     Okay.   That's something you've done before?

03:04:11    19      A     Yes.

03:04:11    20      Q     Okay.   And you'd do that to sort of demonstrate

03:04:15    21            to the suspect that you have actual evidence

03:04:17    22            against them from another witness?

03:04:19    23      A     It's a good -- in good faith.

03:04:21    24      Q     What do you mean "in good faith"?

03:04:23    25      A     That what I was telling them was the truth and



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03:04:28     1            so that he can tell that I'm not lying to him

03:04:32     2            about it, these things.      In good faith, I would

03:04:36     3            show him where his name was mentioned in the

03:04:39     4            other statement, but I would not read that

03:04:42     5            statement verbatim to him.

03:04:44     6      Q     So you might show him the physical copy and

03:04:47     7            point to his name?

03:04:48     8      A     Correct.

03:04:48     9      Q     And that would be a technique you could use in

03:04:51    10            interrogation to demonstrate, "Hey, we have

03:04:55    11            evidence against you"?

03:04:56    12      A     Correct.

03:04:56    13      Q     Okay.   Do you remember doing that in the

03:05:00    14            context of Mr. Hadaway's interrogation?

03:05:04    15      A     Not specifically, no.

03:05:06    16      Q     But it's a technique that you have used from

03:05:10    17            time to time in interrogations of homicide

03:05:11    18            suspects?

03:05:12    19      A     I have used it in the past.

03:05:14    20      Q     Okay.   Did you -- in your interrogation of

03:05:26    21            Mr. Hadaway, did you tell Mr. Hadaway that

03:05:29    22            Jessica Payne's body was found under a

03:05:32    23            mattress?

03:05:32    24      A     No.

03:05:32    25      Q     Did Jim DeValkenaere tell Sam Hadaway that



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03:05:36     1            Jessica Payne's body was found under a

03:05:38     2            mattress?

03:05:38     3      A     No.

03:05:38     4      Q     Did you tell Mr. Hadaway that her --

03:05:42     5            Ms. Payne's neck had been cut?

03:05:43     6      A     No.

03:05:44     7      Q     Did Jim DeValkenaere do that?

03:05:46     8      A     No.

03:05:46     9      Q     Did you tell Sam Hadaway that Ms. Hadaway --

03:05:49    10            Ms. Payne -- I'm sorry, strike that.

03:05:51    11                        Did you tell Sam Hadaway that

03:05:55    12            Ms. Payne was found with her shirt pulled up?

03:05:57    13      A     No.

03:05:57    14      Q     Did you tell Sam Hadaway that Ms. Payne was

03:06:01    15            found with her pants pulled down?

03:06:03    16      A     No.

03:06:03    17      Q     Did Jim DeValkenaere tell Sam Hadaway that

03:06:07    18            Ms. Payne was found with her shirt pulled up?

03:06:09    19      A     Not that I recall, no.

03:06:10    20      Q     And did Jim DeValkenaere tell Sam Hadaway that

03:06:15    21            Ms. Payne was found with her pants down?

03:06:16    22      A     No.

03:07:46    23      Q     Okay.   I'm going to switch gears and move

03:07:51    24            forward in time, okay?      Do you remember being

03:07:56    25            partners with Michael Wesolowski between 2000



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03:08:02     1            and 2004?

03:08:04     2      A     Yes.

03:08:04     3      Q     And, again, I'm sorry about his passing.         Were

03:08:17     4            you guys in the homicide unit when you were

03:08:19     5            partners?

03:08:20     6      A     Yes.

03:08:21     7      Q     Okay.   So sometime after Mr. Ott's criminal

03:08:30     8            trial in 1996 you moved to -- I'm sorry, was it

03:08:35     9            crimes against persons or robberies?

03:08:38    10      A     Robberies.

03:08:38    11      Q     So you went to bank robberies?

03:08:41    12      A     Yes.

03:08:41    13      Q     And then by 2000 you came back to homicide?

03:08:45    14      A     Yes.

03:08:45    15      Q     Okay.   And at that point you and Detective

03:08:51    16            Wesolowski were partners?

03:08:52    17      A     Yes.

03:08:53    18      Q     Had you requested to be partners together?

03:08:55    19      A     It was his request.

03:09:00    20      Q     Okay.   Were you guys -- had you been -- worked

03:09:03    21            together prior to that time?

03:09:04    22      A     Yes.

03:09:05    23      Q     When had you guys worked together, in bank

03:09:09    24            robberies?

03:09:09    25      A     No, we were police officers together.



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03:09:11     1      Q     Okay.    Did you guys go to the academy together?

03:09:14     2      A     No.

03:09:14     3      Q     And you're saying it was his request, not your

03:09:20     4            request to be together?

03:09:22     5      A     He was already in the unit and he requested

03:09:24     6            that I come back.

03:09:26     7      Q     Did he ask you about it before he made that

03:09:29     8            request?

03:09:30     9      A     Yes.

03:09:30    10      Q     But you didn't put in a similar request?

03:09:34    11      A     No.

03:09:34    12      Q     Okay.    Why not?

03:09:35    13      A     I don't know.

03:09:40    14      Q     Okay.    But you weren't, like, objecting to

03:09:53    15            being transferred back to homicide, right?

03:09:55    16      A     No.

03:09:55    17      Q     Why did you leave homicide -- or did you leave

03:10:11    18            homicide after you guys stopped being partners,

03:10:13    19            or you continued in homicide and just had

03:10:16    20            another partner?

03:10:17    21      A     After --

03:10:18    22      Q     Wesolowski.

03:10:20    23      A     After he retired, then I got a new partner.

03:10:22    24      Q     I see.   Okay.   Okay.   So during the time that

03:10:32    25            you were partners with Detective Wesolowski and



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03:10:37     1            back in the homicide unit, do you remember

03:10:40     2            there was DNA testing that linked DNA from

03:10:46     3            Ms. Payne to the Joyce Mims homicide?        Do you

03:10:51     4            remember that?

03:10:51     5      A     I recall something like that.

03:10:53     6      Q     Okay.   What do you recall about that?

03:10:54     7      A     Just what you said, that there was DNA found on

03:10:59     8            Mims that linked to Jessica Payne.

03:11:02     9      Q     When do you recall first learning that

03:11:05    10            information?

03:11:06    11      A     I don't recall.

03:11:07    12      Q     What do you recall doing, if anything, after

03:11:15    13            you learned that DNA from Jessica Payne was

03:11:24    14            linked to DNA obtained from Joyce Mims?

03:11:31    15      A     I don't know what I did.

03:11:32    16      Q     Is it possible you did nothing?

03:11:35    17      A     Yes.

03:11:36    18      Q     Do you remember who gave that information to

03:11:44    19            you?

03:11:44    20      A     I don't think that information was given

03:11:46    21            directly to me.

03:11:48    22      Q     Who did you get that information from, if you

03:11:52    23            recall?

03:11:52    24      A     I don't know.    I don't recall.

03:11:56    25      Q     Did you work on the Joyce Mims homicide also?



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03:12:05     1      A     No, I don't -- I don't think I did.

03:12:07     2      Q     Okay.   Do you remember how many homicides you

03:12:30     3            worked of women who had been killed in the

03:12:37     4            North Milwaukee area that had been strangled or

03:12:39     5            cut in their throat?

03:12:44     6      A     No.

03:12:44     7      Q     But it's fair to say there was more than just

03:12:47     8            Ms. Payne, correct?

03:12:50     9      A     That I was involved in?

03:12:51    10      Q     Yep.

03:12:52    11      A     I -- I don't recall.

03:12:53    12      Q     Okay.   Do you remember working on the Sheila

03:13:02    13            Farrior homicide?

03:13:03    14      A     No.

03:13:03    15      Q     How about Ophelia Preston?

03:13:11    16      A     Yes.

03:13:12    17      Q     McCormick?    I'm trying to think of McCormick's

03:13:21    18            first name.    Do you remember working on the

03:13:28    19            McCormick homicide?

03:13:29    20      A     No.

03:13:30    21      Q     How about Carron Kilpatrick?

03:13:34    22      A     No.

03:13:35    23      Q     Okay.   Can you --

03:13:45    24                         MS. GEHLING:   Florence McCormick.

03:13:45    25                         MS. DONNELL:   Florence McCormick?



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03:13:48     1            Thanks so much.

03:13:48     2      BY MS. DONNELL:

03:13:55     3      Q     Florence McCormick?

03:13:58     4      A     No.

03:13:58     5      Q     This will be 21.     This is 22.

03:14:24     6                    (Exhibit Nos. 21 and 22 were marked.)

03:14:29     7      BY MS. DONNELL:

03:14:30     8      Q     Okay.    I'm first handing you what it's

03:14:32     9            designated -- I've designated as Exhibit 21 to

03:14:34    10            your deposition.     Do you recognize Exhibit 21

03:14:36    11            as a Wisconsin Department of Justice crime

03:14:40    12            laboratory report?

03:14:41    13      A     Yes.

03:14:42    14      Q     And you've seen this report before, right?

03:14:44    15      A     Yes.

03:14:45    16      Q     And this is a report that's dated May 22nd,

03:14:49    17            2003?

03:14:49    18      A     Yes.

03:14:50    19      Q     And do you see at the bottom that it's received

03:14:54    20            June 18th, 2003?

03:14:57    21      A     Yes.

03:14:57    22      Q     I'm going to represent to you in the Ott

03:15:00    23            litigation, the City of Milwaukee provided

03:15:02    24            discovery responses that admitted it received

03:15:05    25            this report on June 18th, 2003, okay?



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03:15:09     1      A     Okay.

03:15:09     2      Q     Is any of this handwriting yours on Exhibit 21?

03:15:15     3      A     No.

03:15:15     4      Q     You see here, though, that your name is at the

03:15:20     5            bottom right-hand corner?

03:15:22     6      A     Yes.

03:15:22     7      Q     Do you know whose handwriting that's in?

03:15:26     8      A     I have no idea.

03:15:26     9      Q     Would you recognize Michael Wesolowski's

03:15:30    10            handwriting?

03:15:30    11      A     I don't know.

03:15:31    12      Q     What was the process -- do you know, did that

03:15:40    13            name indicate that that means this report was

03:15:43    14            to go to you?

03:15:44    15      A     I have no idea.

03:15:47    16      Q     Okay.   Is it accurate to say that when crime

03:15:52    17            lab reports from the state crime lab would come

03:15:55    18            in on a homicide they would be sent to the

03:15:57    19            attention of one of the lead detectives?

03:16:00    20                        MS. GEHLING:    Objection; foundation.

03:16:03    21                        THE WITNESS:    Not from the crime lab.

03:16:05    22      BY MS. DONNELL:

03:16:05    23      Q     Somebody in the police department would route

03:16:07    24            it to the detective, one of the detectives on

03:16:11    25            the case?



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03:16:13     1      A     Yes.

03:16:14     2      Q     Okay.   If you look at Exhibit -- here, I'm

03:16:17     3            going to hand you what's Exhibit 22 to your

03:16:19     4            deposition which is Bates MPD SJH863, okay, and

03:16:26     5            864.    Do you see this is a Wisconsin crime lab

03:16:30     6            report dated June 5th, 2003.       Do you see that?

03:16:35     7      A     Yes.

03:16:35     8      Q     And this report is also for the Jessica Payne

03:16:37     9            homicide?

03:16:38    10      A     Yes.

03:16:38    11      Q     And I think I forgot to ask you -- tell you,

03:16:41    12            like, the -- there's an M file number, murder

03:16:43    13            file number, at the top of both Exhibit 21 and

03:16:46    14            22 of 3084, right?

03:16:48    15      A     Yes.

03:16:48    16      Q     And that's the Payne homicide number for the

03:16:51    17            Milwaukee Police Department?

03:16:51    18      A     Correct.

03:16:52    19      Q     Okay.   And do you see on Exhibit 22 there's a

03:17:01    20            stamp that says "October 6th, 2003"?        Do you

03:17:05    21            see that?

03:17:05    22      A     Yes.

03:17:05    23      Q     And do you see here it's also written on here

03:17:08    24            at the top "Buschmann" at the -- at the -- just

03:17:12    25            over the stamp on Exhibit 22?       So on --



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03:17:17     1      A     Yes.

03:17:17     2      Q     -- Page 2 of Exhibit -- the June 5th, 2003,

03:17:21     3            report, on the second page --

03:17:21     4      A     Yes.

03:17:21     5      Q     -- do you see that your name is written,

03:17:23     6            "Buschmann"?

03:17:23     7      A     I do.

03:17:24     8      Q     And then in the stamp under -- after the

03:17:26     9            office, it says "Det. Carl Buschmann"?

03:17:30    10      A     Yep.

03:17:30    11      Q     Is that your signature?

03:17:31    12      A     Yes, it is.

03:17:32    13      Q     Okay.    So was it your practice to sign crime

03:17:38    14            lab reports when you received them?

03:17:40    15      A     Yes.

03:17:40    16      Q     And so Exhibit 22 indicates to you that you did

03:17:44    17            receive Exhibit 22, the June 5th, 2003, report,

03:17:49    18            right?

03:17:49    19      A     Yes.

03:17:50    20      Q     Okay.    And -- okay.   So looking back at

03:18:12    21            Exhibit 21 from the crime lab, this is the May

03:18:15    22            22nd, 2003, report.

03:18:18    23      A     Hm-hm.

03:18:19    24      Q     This report indicates that a short tandem

03:18:30    25            repeat (STR) DNA profile consistent of having



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03:18:33     1            originated from a mixture of DNA from Jessica

03:18:36     2            Payne and an unknown male individual was

03:18:36     3            developed from the vaginal swab remainder that

03:18:39     4            was Item B1a, right?

03:18:42     5      A     Yes.

03:18:42     6      Q     And that profile -- on September 24th, an

03:18:51     7            initial search of the unknown male STR profile

03:18:54     8            against the Wisconsin DNA Databank didn't

03:18:56     9            reveal any matches, right?

03:18:58    10      A     Right.

03:18:59    11      Q     And then on May 19th, 2003, a second search of

03:19:03    12            the evidentiary profile was run against the

03:19:05    13            Wisconsin DNA Databank and resulted in a match

03:19:08    14            between the STR profile developed from

03:19:11    15            Ms. Payne's vaginal swab remainder and an

03:19:13    16            evidentiary profile from the June 20th, 1997,

03:19:17    17            homicide, also from the City of Milwaukee, and

03:19:18    18            the victim was Joyce Mims, right?

03:19:21    19      A     Yes.

03:19:21    20      Q     And so the STR profile of the unknown male

03:19:26    21            evidentiary sample from the vaginal swab of

03:19:28    22            Ms. Mims was linked by -- with -- by the DNA

03:19:34    23            Databank to the unknown male evidentiary

03:19:36    24            profile obtained from the vaginal swab of

03:19:39    25            Ms. Payne, right?



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03:19:40     1      A     Yes.

03:19:40     2      Q     That these evidentiary -- then it indicates

03:19:58     3            that these evidentiary profiles from Ms. Payne

03:20:00     4            and Ms. Mims are going to continue to be

03:20:03     5            routinely searched against the national and

03:20:05     6            state -- at the national and state levels,

03:20:08     7            right?

03:20:09     8      A     Yes.

03:20:09     9      Q     And then the lab's indicating to the -- to you

03:20:13    10            or to the Milwaukee Police Department that if

03:20:14    11            there's any additional matches, the department

03:20:17    12            will be notified, right?

03:20:18    13      A     Yes.

03:20:18    14      Q     And do you consider the information that's

03:20:29    15            documented in Exhibit 21 as important

03:20:34    16            investigatory information to be followed up on?

03:20:36    17      A     Yes.

03:20:41    18      Q     Why?

03:20:42    19      A     Well, they want -- it would be important to

03:20:44    20            identify the supplier of the DNA that was found

03:20:48    21            on both Jessica Payne and the other, Mims.

03:20:55    22      Q     And why, as a homicide detective, would you

03:21:01    23            want to follow up on that information?

03:21:08    24      A     Because it could be important to the

03:21:10    25            investigation.



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03:21:14     1      Q     Is that because it may indicate a common

03:21:18     2            perpetrator?

03:21:20     3      A     That's what it says.

03:21:21     4      Q     Because the unknown male evidentiary profile of

03:21:26     5            two of these homicide victims were the --

03:21:29     6            appearing to be the same person, right?

03:21:32     7      A     Yes.

03:21:36     8      Q     Okay.   And in the Exhibit 22, the June 5th,

03:21:42     9            2003, report, that evidentiary profile that was

03:21:47    10            obtained from the vaginal swab of Ms. Payne

03:21:51    11            that was B1 designated sub-designation B1a was

03:21:56    12            run against the standard for the DNA profile of

03:22:01    13            Walter Moffett, Chaunte Ott, Richard Gwin, and

03:22:05    14            Sam Hadaway, right?

03:22:06    15      A     Yes.

03:22:06    16      Q     And all of those individuals were excluded as

03:22:10    17            being the contributor to the unknown male

03:22:14    18            profile of B1a, correct?

03:22:16    19      A     Correct.

03:22:17    20      Q     Okay.   Do you consider that important -- well,

03:22:27    21            strike that.

03:22:27    22                        Do you consider that -- these two

03:22:30    23            pieces of information, Exhibit 1 and Exhibit --

03:22:31    24            I mean Exhibit 21 and Exhibit 22 as also

03:22:36    25            important investigatory information to be



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03:22:38     1            followed up on?

03:22:39     2      A     I don't see where it would be followed up on.

03:22:44     3            It was just an elimination of known people that

03:22:47     4            had contact with Jessica Payne.       I don't know

03:22:52     5            where the follow-up would go from there because

03:22:54     6            the -- the DNA sample had not been identified.

03:22:59     7      Q     Sure.   But as a homicide detective, if you are

03:23:03     8            receiving information that there's a possible

03:23:06     9            link through DNA evidence of two homicide

03:23:10    10            victims, Ms. Payne and Ms. Mims, who were

03:23:13    11            killed approximately, you know, two years apart

03:23:19    12            and that individuals that had been suspects in

03:23:24    13            one of those, in the Payne homicide, were

03:23:28    14            excluded as the contributors, does that suggest

03:23:31    15            to you that somebody else did that crime?

03:23:35    16      A     No.

03:23:35    17      Q     Why not?

03:23:36    18      A     Because the fact that Chaunte Ott allegedly

03:23:43    19            killed her doesn't mean that he had sex with

03:23:46    20            her, and she was having sex with other people.

03:23:52    21            We know that she was having sex with other

03:23:57    22            people which could attribute itself to the DNA

03:24:02    23            that was left.    Her lifestyle, staying at where

03:24:09    24            she was staying, she was prostituting herself,

03:24:14    25            and she could have had sex with numerous men



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03:24:18     1            that could have been the contributors to that

03:24:20     2            DNA.

03:24:21     3      Q     So you would want to follow up on that

03:24:23     4            information, but it wouldn't necessarily be

03:24:25     5            preclusive, in your mind?

03:24:26     6      A     Well, we did follow up, and that's why all

03:24:28     7            these people were tested.

03:24:29     8      Q     Okay.   Did you request that all of these people

03:24:37     9            be tested that were tested and reported in the

03:24:40    10            June 5th, 2003, report?

03:24:47    11      A     Yes, I believe it was me.

03:24:49    12      Q     Okay.   And that's because you -- you signed

03:24:52    13            your name here?

03:24:52    14      A     Yes.

03:24:53    15      Q     Okay.   Do you remember having any conversations

03:24:56    16            with the lab about that?

03:24:59    17      A     No, I don't.

03:25:01    18      Q     How about with your supervisors?

03:25:04    19      A     I don't recall.

03:25:05    20      Q     How about with your partner, Michael

03:25:10    21            Wesolowski?

03:25:10    22      A     I -- again, I don't recall.

03:25:12    23      Q     Okay.   But as you sit here today, you think you

03:25:18    24            probably requested the follow-up investigation

03:25:22    25            to see if the unknown male profile could be run



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03:25:28     1            against the standards that were collected from

03:25:31     2            various individuals, including Ott, Gwin, and

03:25:35     3            Hadaway?

03:25:36     4      A     I would say yes, the fact that my signature is

03:25:39     5            on this report.

03:25:40     6      Q     Okay.   Do you remember what, if anything, you

03:25:57     7            did with the information you obtained from the

03:26:00     8            June 5th, 2003, report once you obtained it?

03:26:07     9      A     I -- I don't think I ever saw that report.

03:26:12    10      Q     I'm sorry, Exhibit 22, the one that has your

03:26:15    11            name on it.

03:26:16    12      A     Oh, okay.

03:26:17    13      Q     Do you remember what you -- what, if anything,

03:26:19    14            you did with the information once you got this

03:26:21    15            report from the lab?

03:26:23    16      A     The lab report should have been forwarded to

03:26:26    17            the district attorney's office.

03:26:28    18      Q     Do you have any independent recollection of

03:26:33    19            providing the June 5th, 2003, report to the

03:26:37    20            district attorney's office?

03:26:37    21      A     I do not.

03:26:39    22      Q     Okay.   Looking at both Exhibit 21 and Exhibit

03:26:44    23            22, is it fair to assume that you actually had

03:26:48    24            the information in the May 22nd, 2003, report

03:26:53    25            and that's what resulted in the follow-up



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03:26:55     1            investigation reported in the June 5th report?

03:27:06     2      A     I don't -- like, I don't recall seeing this

03:27:10     3            report.

03:27:11     4      Q     Exhibit 21, just for the record?       You don't

03:27:14     5            recall ever seeing Exhibit 21?

03:27:15     6      A     Okay.   Right, I don't recall seeing this

03:27:18     7            report.    Whether it triggered this, it's a good

03:27:21     8            possibility, but, again, I don't recall the

03:27:27     9            circumstances around it.

03:27:28    10      Q     It's -- right.    That makes sense.      So is it

03:27:35    11            accurate -- I think your testimony is seeing

03:27:38    12            Exhibit 21 and Exhibit 22 doesn't refresh your

03:27:40    13            recollection as you sit here today about

03:27:44    14            receiving the information contained in the May

03:27:46    15            22nd, 2003, report from the crime lab that

03:27:50    16            linked the evidentiary profile obtained from

03:27:53    17            the vaginal swab of Ms. Payne to the

03:27:55    18            evidentiary male profile obtained from the

03:27:58    19            vaginal swab of Ms. Mims, right?

03:28:00    20      A     Correct.

03:28:00    21      Q     However, as you sit here today, reviewing

03:28:03    22            Exhibit 22 and the additional testing of

03:28:08    23            running various standards obtained from

03:28:11    24            suspects in the Payne homicide against the

03:28:14    25            vaginal swab obtained from Ms. Payne to see if



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03:28:18     1            there was any connection, they seem like they

03:28:22     2            could be connected?     In other words, Exhibit 22

03:28:25     3            could have been a follow-up investigation

03:28:28     4            requested after the information about Payne

03:28:31     5            being linked to the Mims homicide?

03:28:35     6      A     Could have been.

03:28:36     7      Q     That's a reasonable assumption?

03:28:40     8      A     Yes.

03:28:41     9      Q     Okay.   And you don't recall specifically

03:28:48    10            providing the June 5th, 2003, report or

03:28:52    11            information contained in it to Mark Williams;

03:28:55    12            is that right?

03:28:55    13      A     Correct.

03:28:56    14      Q     Okay.   Was there a policy and procedure that

03:29:06    15            provided these reports to the district

03:29:09    16            attorney's office directly, or did the

03:29:12    17            requesting agency have to provide that

03:29:15    18            information to the DA's office?

03:29:17    19                        MS. GEHLING:    Objection; foundation.

03:29:18    20                        MS. DONNELL:    If you know.

03:29:19    21                        THE WITNESS:    I'm not sure.

03:29:19    22      BY MS. DONNELL:

03:29:20    23      Q     Okay.   Do you recall, as you sit here today,

03:29:59    24            receiving any additional DNA reports that

03:30:03    25            linked evidentiary DNA profiles of unknown



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03:30:08     1            males to the Mims, Payne, and additional

03:30:14     2            homicides?

03:30:15     3      A     No.

03:30:43     4      Q     Do you recall, as you sit here today, any

03:30:49     5            follow-up investigation you requested after

03:30:51     6            receiving the June 5th, 2003, DNA report from

03:30:57     7            the Wisconsin crime lab?

03:31:00     8      A     No.

03:31:29     9      Q     Did you ever -- do you know Gilbert Hernandez?

03:31:35    10      A     Yes.

03:31:35    11      Q     Did you and Gilbert Hernandez work together in

03:31:39    12            the homicide unit at any point in your career?

03:31:41    13      A     No.

03:31:42    14      Q     How do you know Gilbert Hernandez?

03:31:46    15      A     He's a fellow detective.

03:31:47    16      Q     But in a different unit?

03:31:49    17      A     He worked homicide on a different shift.

03:31:52    18      Q     Okay.   So you were both in homicide, just

03:31:55    19            different shifts?

03:31:55    20      A     Correct.

03:31:56    21      Q     And how about Katherine Hein?

03:32:02    22      A     Yes, I know her.

03:32:03    23      Q     Are you social friends with either one of them?

03:32:06    24      A     No.

03:32:06    25      Q     Did you have any conversations with Gilbert



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03:32:13     1            Hein [sic] or Katherine Hein about their

03:32:16     2            investigation of Walter Ellis?

03:32:18     3      A     No.

03:32:18     4      Q     Did you have any conversations with any

03:32:20     5            Milwaukee Police Department detectives

03:32:23     6            investigating Walter Ellis ever?

03:32:28     7      A     Ever?

03:32:29     8      Q     Yeah.

03:32:29     9      A     Not that I recall.

03:32:30    10      Q     Did you only read about Walter Ellis in the

03:32:35    11            newspaper?    Well, strike that.

03:32:39    12                         Other than conversations with your

03:32:40    13            attorneys, did you obtain information related

03:32:43    14            to Walter Ellis from any other sources other

03:32:49    15            than the newspaper?

03:32:50    16      A     I don't recall hearing the name Walter Ellis

03:32:53    17            until he was arrested.

03:32:56    18      Q     And after his arrest, did you have any

03:32:58    19            conversations with any of your colleagues or

03:33:00    20            former colleagues at the Milwaukee Police

03:33:02    21            Department about Ellis?

03:33:03    22      A     Not that I recall.

03:33:05    23      Q     Did you take any interest in his arrest based

03:33:22    24            on the fact that he was arrested and ultimately

03:33:24    25            convicted of a number of -- nine homicides from



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03:33:26     1            the period of time with which you were working

03:33:28     2            homicide?

03:33:29     3      A     I was retired for four years already from

03:33:33     4            there.

03:33:33     5      Q     Understood.     When he was charged and convicted

03:33:37     6            you were retired, but the cases for which he

03:33:39     7            was charged and convicted, a number of them

03:33:41     8            occurred when you were a detective with the

03:33:43     9            Milwaukee Police Department.

03:33:45    10      A     Okay.    Yes.

03:33:46    11      Q     So I'm just asking, did you take any interest

03:33:48    12            in it given that they were homicides you'd been

03:33:52    13            working up?

03:33:53    14      A     The only one I was interested in was the

03:33:56    15            Jessica Payne.

03:34:00    16      Q     Why were you interested in that one?

03:34:02    17      A     Because they had identified his DNA with her.

03:34:09    18            I was -- took interest in that.

03:34:13    19      Q     Did it concern you that Walter Ellis -- well,

03:34:21    20            what -- what interested you about the fact that

03:34:23    21            Walter Ellis's DNA was found in Jessica Payne?

03:34:27    22      A     I just was interested in the circumstances and

03:34:31    23            how his DNA was recovered from her.

03:34:36    24      Q     Did you talk to anybody in the department about

03:34:39    25            that?



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03:34:40     1      A     Not that I recall.

03:34:42     2      Q     Okay.    So you just read about that in the

03:34:45     3            newspaper?

03:34:46     4      A     No.    I remember talking to Mark Williams.

03:35:03     5      Q     What did you and Mark Williams talk about?

03:35:06     6      A     He just told me that they were charging this

03:35:11     7            guy with numerous homicides and that it was his

03:35:18     8            DNA that was identified with Jessica Payne.

03:35:22     9      Q     Anything else you recall about that

03:35:25    10            conversation with Mark Williams?

03:35:27    11      A     No.

03:35:28    12      Q     Was that when you were working as an

03:35:31    13            investigator with the DA's office?

03:35:32    14      A     Yes.

03:35:33    15      Q     Was that in Mark's office?

03:35:35    16      A     Yes.

03:35:36    17      Q     Anybody else other than you and Mark present

03:35:39    18            for that conversation?

03:35:40    19      A     Not that I recall.

03:35:41    20      Q     Was that conversation prior to the actual

03:35:45    21            criminal complaint being issued for Walter

03:35:47    22            Ellis?

03:35:48    23      A     I don't know.

03:35:48    24      Q     Did you and Mark have any conversation about

03:35:53    25            whether he was going to charge Walter Ellis



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03:35:55     1            with Jessica Payne's murder?

03:35:58     2      A     In particular, no, I don't have recollection of

03:36:05     3            our conversation about that.

03:36:07     4      Q     Did you have any conversation with Mark

03:36:14     5            Williams about whether he was considering to

03:36:17     6            charge Walter Ellis with the murder of Jessica

03:36:20     7            Payne based on the DNA evidence?

03:36:30     8      A     I believe -- I can't say for certain what the

03:36:36     9            conversation was.

03:36:37    10      Q     It sounds like you recall a vague conversation,

03:36:41    11            but you don't recall the specifics --

03:36:42    12      A     But I don't want to say something where I'm

03:36:45    13            guessing.    So I don't remember what the

03:36:49    14            conversation was.

03:36:49    15      Q     Okay.    And just so I have it clear, I don't

03:36:54    16            want you to speculate.      I don't need you to

03:36:56    17            guess.   So -- and I don't want you to do that

03:36:58    18            and neither does your attorney, so I'm not

03:37:00    19            asking you to do that, okay?       Okay?

03:37:03    20      A     Yes.

03:37:03    21      Q     Why don't you just tell me everything that you

03:37:09    22            do have a memory of.

03:37:10    23      A     I did already.

03:37:11    24      Q     Okay.    And so your memory is that you remember

03:37:24    25            having a conversation with Mark Williams about



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03:37:28     1            Walter Ellis's DNA being found on a number of

03:37:32     2            victims for which he was either going to be

03:37:36     3            charged or was already charged, right?

03:37:37     4      A     Yeah, I don't know if he had been charged yet

03:37:39     5            or was being looked at.      I don't know.    I don't

03:37:43     6            remember.

03:37:43     7      Q     But it was -- this conversation was sometime

03:37:45     8            after the point at which Walter Ellis's DNA had

03:37:49     9            been obtained and then was linked to these

03:37:52    10            various evidentiary profiles?

03:37:54    11      A     Yes.

03:37:54    12      Q     Okay.   And so Walter Ellis was -- had either

03:37:58    13            been charged or was going to be charged, one of

03:38:02    14            those two, right?

03:38:02    15      A     One of the two.

03:38:03    16      Q     Yep.    And Jessica Payne, her homicide was

03:38:09    17            brought up in that conversation in the context

03:38:11    18            of she was one of the people who Walter Ellis's

03:38:16    19            DNA was found in or on?

03:38:19    20      A     Correct.

03:38:19    21      Q     Okay.   And you don't recall one way or the

03:38:23    22            other whether you and Mark Williams had any

03:38:27    23            discussion about whether he was going to charge

03:38:30    24            Walter Ellis with Payne's homicide; you just

03:38:33    25            don't recall one way or the other?



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03:38:35     1      A     Correct.

03:38:35     2      Q     Okay.   And is that the extent of your memory as

03:38:42     3            you sit here today of that conversation with

03:38:44     4            Mark Williams --

03:38:45     5      A     Yes.

03:38:45     6      Q     -- in his office?

03:38:47     7      A     Yes.

03:38:47     8      Q     Okay.   Prior to the conversation you've just

03:39:00     9            testified about with Mark Williams, do you, as

03:39:03    10            you sit here today, remember any other

03:39:06    11            conversations you had with Mark Williams after

03:39:10    12            Mr. Ott's criminal trial concluded and this

03:39:15    13            conversation, whenever it occurred, regarding

03:39:18    14            Walter Ellis and the Payne homicide?        Do you

03:39:22    15            have any other memory of conversations you had

03:39:24    16            with Mark Williams about the Payne homicide

03:39:27    17            between those two time periods?

03:39:29    18      A     No, I don't.

03:39:31    19      Q     Okay.   Thank you.    Did you have any work -- do

03:40:08    20            you remember the Maryetta Griffin homicide?

03:40:11    21            Did you do any work on that homicide that you

03:40:13    22            remember?

03:40:13    23      A     No, not that I remember.

03:40:14    24      Q     Okay.   Okay.   Let's see.    Do you need a break,

03:40:47    25            or do you want to keep going?



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03:40:49     1      A     I'm okay.

03:40:51     2      Q     Okay.

03:40:51     3                         MS. DONNELL:   Are you okay?

03:40:52     4                         MS. GEHLING:   (Nods head.)

03:41:09     5                         MS. DONNELL:   Okay.

03:41:21     6                        (Exhibit No. 23 was marked.)

03:41:22     7      BY MS. DONNELL:

03:41:25     8      Q     Mr. Buschmann, I'm handing you what I've

03:41:27     9            designated as Exhibit 23 to your deposition,

03:41:31    10            and this is from the Florence McCormick

03:41:37    11            homicide, M No. 3044, and it's Bates stamped

03:41:43    12            HADAWAY38631 consecutive to 635, and it's part

03:41:50    13            of Section 13 of that M file, Pages 44 to 48,

03:41:56    14            okay?

03:41:56    15      A     Okay.

03:41:57    16      Q     This report was submitted by Detective Orley.

03:42:08    17            Do you know who Detective Orley was?

03:42:10    18      A     Yes.

03:42:10    19      Q     Okay.   And did you work with Detective Orley?

03:42:13    20      A     No.

03:42:14    21      Q     You never worked with him?

03:42:17    22      A     I did not.

03:42:18    23      Q     Okay.   Okay.   Do you see at the bottom of this

03:42:33    24            report "This was passed to Detective Buschmann

03:42:37    25            and Detective Valuch on the early shift," and



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03:42:42     1            detectives will take possible hair and blood

03:42:45     2            samples from an individual, a Mr. Scott, a

03:42:53     3            Mr. Sylvester Scott?     Do you see that?

03:42:54     4      A     Yes.

03:42:56     5      Q     Do you remember -- does that refresh your

03:42:59     6            recollection of any of your involvement on the

03:43:02     7            Florence McCormick homicide?

03:43:04     8      A     No.

03:43:04     9      Q     Okay.   Okay.   I'm going to mark this as

03:43:42    10            Exhibit 24.

03:43:53    11                       (Exhibit No. 24 was marked.)

03:43:54    12      BY MS. DONNELL:

03:43:54    13      Q     I'm handing you what I've designated as

03:43:58    14            Exhibit 24, Mr. Buschmann.      Do you see Exhibit

03:44:00    15            24 and recognize this as a supplementary report

03:44:04    16            prepared by Detective Michael Valuch -- is it

03:44:11    17            Valuch or Valuch?

03:44:11    18      A     Valuch.

03:44:12    19      Q     Valuch.

03:44:12    20                        -- documenting work you did with him

03:44:15    21            in June of 1995 on the Sheila Farrior homicide

03:44:19    22            investigation?

03:44:43    23      A     I don't remember this.

03:44:44    24      Q     You don't remember the work you did with

03:44:49    25            Detective Valuch on June 28th, 1995, in the



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03:44:55     1            Sheila Farrior homicide; is that right?

03:44:57     2      A     That's correct.

03:44:58     3      Q     But you don't disagree that you were doing work

03:45:01     4            on that homicide?

03:45:02     5      A     Correct.

03:45:02     6      Q     Okay.   Did you ever work with confidential

03:45:08     7            informants when you were a homicide detective?

03:45:12     8      A     No.

03:45:12     9      Q     You never did?

03:45:13    10      A     No.

03:45:13    11      Q     Why not?

03:45:14    12      A     It was not something I did.

03:45:17    13      Q     Okay.   Was there a reason why you didn't work

03:45:20    14            with confidential informants?

03:45:22    15      A     I never had a reason to.

03:45:24    16      Q     You certainly were permitted to, right?

03:45:27    17      A     Yes.    I've never worked with a confidential

03:45:38    18            informant.

03:45:39    19      Q     Did any of your partners ever work with

03:45:48    20            confidential informants --

03:45:51    21                         MS. GEHLING:   Objection; foundation.

03:45:51    22      BY MS. DONNELL:

03:45:51    23      Q     -- that you're aware of?

03:45:53    24      A     I don't know.

03:45:53    25      Q     But there's no particular reason why you



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03:45:55     1            didn't?

03:45:56     2      A     No.

03:46:19     3      Q     Do you remember any of the circumstances of the

03:46:21     4            Sheila Farrior homicide?

03:46:23     5      A     No.

03:46:24     6      Q     How about the Debra Maniece homicide?

03:46:27     7      A     No, not really.     I know Maniece was one of the

03:46:38     8            homicide victims, and I think Detective

03:46:44     9            Wesolowski and I did some work on that, that

03:46:45    10            case.

03:46:46    11      Q     Okay.   What do you remember about your work on

03:46:51    12            the Maniece homicide, the Debra Maniece

03:46:54    13            homicide?

03:46:55    14      A     I -- I don't know the person's name, but there

03:47:00    15            was DNA found that was identified, and this

03:47:04    16            person was in prison out of state, and we had

03:47:07    17            gone to that prison and talked to him.

03:47:09    18      Q     Was that George Jones?

03:47:11    19      A     I'm not sure.

03:47:12    20      Q     And that was down in Mississippi?

03:47:17    21      A     It could have been.     I know it was down south.

03:47:22    22      Q     Do you remember who you went with?

03:47:24    23      A     It would have been with Detective Wesolowski.

03:47:27    24      Q     Okay.   How about the Mims homicide?       Do you

03:47:40    25            remember working on the Joyce Mims homicide?



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03:47:42     1      A     I do not.

03:47:43     2      Q     Okay.   This will be Exhibit 25.

03:48:05     3                        (Exhibit No. 25 was marked.)

03:48:05     4      BY MS. DONNELL:

03:48:05     5      Q     I'm handing you what I've designated as

03:48:09     6            Exhibit 25.    Do you recognize Exhibit 25 as a

03:48:18     7            report submitted by Detective Michael

03:48:22     8            Wesolowski?

03:48:22     9      A     Yes.

03:48:23    10      Q     And this report actually is documenting some

03:48:29    11            work that you did with him in April of 2003.

03:48:33    12            Do you see that down at the bottom?

03:48:35    13      A     Yes.

03:48:35    14      Q     But Joyce Mims was somebody who was murdered

03:48:38    15            back in June 1997.     Do you see that?

03:48:41    16      A     Yes.

03:48:42    17      Q     Okay.   And do you see here that -- so this

03:49:18    18            investigation that you were doing in April of

03:49:21    19            2003, basically there was items that were

03:49:32    20            resubmitted for testing in February of 2003,

03:49:35    21            right --

03:49:35    22      A     Yes.

03:49:35    23      Q     -- for Ms. Mims in the first paragraph?

03:49:40    24      A     Yes.

03:49:41    25      Q     Okay.   And there was DNA -- on April 10th of



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03:49:57     1            2003, there was a hit, a positive hit, in the

03:50:00     2            DNA Databank regarding the semen that was found

03:50:03     3            in the underpants located next to the body of

03:50:06     4            Ms. Mims with a Mr. Fabian Reyes, right?

03:50:10     5      A     Yes.

03:50:10     6      Q     And so you and your partner, Mr. Wesolowski,

03:50:15     7            went and talked to him, right?

03:50:17     8      A     Yes.

03:50:21     9      Q     Okay.   And Mr. Reyes gave you guys a buccal

03:50:37    10            swab; is that right?

03:50:50    11      A     Yes.

03:50:50    12      Q     And then there's some other follow-up interview

03:50:53    13            and this was presented to Mark Williams and he

03:50:55    14            decided not to charge Fabian Reyes, right?

03:51:03    15      A     Yes.

03:51:04    16      Q     Okay.   And then not too long after this work

03:51:10    17            that you did on the Joyce Mims investigation

03:51:14    18            was when there was that DNA hit less than a

03:51:18    19            month later, right, or around a month later on

03:51:22    20            May 22nd where there was the hit between --

03:51:27    21            that the lab identified between Payne --

03:51:27    22      A     Oh, okay.

03:51:29    23      Q     -- and Mims, right?

03:51:30    24      A     Okay.   Yes.

03:51:31    25      Q     So you and Wesolowski were working on the Mims



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03:51:35     1            case in April of 2003, a little more than a

03:51:41     2            month before that hit came through, right?

03:51:44     3      A     Yes.

03:51:44     4      Q     Okay.   Does that refresh your recollection in

03:51:46     5            any way of the work you were doing back then?

03:51:49     6      A     No.

03:51:49     7      Q     Okay.   As you sit here today, are you now aware

03:51:57     8            that the -- Walter Ellis was charged with the

03:52:01     9            Mims homicide?

03:52:02    10      A     I wasn't aware of that, no.

03:52:05    11      Q     Are you -- as you sit here today, are you also

03:52:09    12            aware that he was charged with the Sheila

03:52:12    13            Farrior homicide?

03:52:13    14      A     No.

03:52:14    15      Q     How about Debra Harris?      Did I ask you about

03:52:19    16            Debra Harris?    Did you work on that homicide?

03:52:21    17      A     No.    I don't know which homicides he was

03:52:23    18            charged with.

03:52:24    19      Q     Okay.   As you sit here today, you don't know

03:52:26    20            any of them?

03:52:26    21      A     No.

03:52:27    22      Q     Okay.

03:52:56    23                        MS. DONNELL:    Let's go off the

03:52:57    24            record.

03:52:58    25                        THE VIDEOGRAPHER:     Going off the



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03:52:59     1            record at 3:52.

03:53:01     2                         (Brief recess taken.)

04:00:33     3                        THE VIDEOGRAPHER:     We're back on the

04:00:34     4            record at 4:00.

04:00:37     5      BY MS. DONNELL:

04:00:39     6      Q     Okay.   Detective Buschmann, thank you for your

04:00:41     7            time.   I do have some follow-up questions.

04:00:45     8      A     Okay.

04:00:45     9      Q     Earlier you testified that you gave Mr. Hadaway

04:00:49    10            the Miranda card to read to himself because you

04:00:53    11            wanted to make sure he could read.        Do you

04:00:56    12            remember that testimony?

04:00:56    13      A     I had him read it out loud to me.

04:00:58    14      Q     And that was because you wanted to make sure he

04:01:01    15            could read; is that right?

04:01:01    16      A     Yes.

04:01:01    17      Q     Was that something you did for everybody you

04:01:04    18            interviewed after you read their Miranda --

04:01:08    19            read their Miranda warnings, or was that unique

04:01:10    20            to individuals that you wanted to make sure

04:01:12    21            they could read?

04:01:15    22      A     I wouldn't say I did it all the time.

04:01:20    23      Q     Did you have a reason why you would do it

04:01:25    24            sometimes and not other times or a practice?

04:01:30    25      A     It was a practice that I picked up from some



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04:01:33     1            other detectives when I was watching them and I

04:01:36     2            liked it, so then I started using it.

04:01:39     3      Q     Was there a reason -- was there certain

04:01:43     4            situations that you chose to use it versus not

04:01:46     5            use it?

04:01:47     6      A     I didn't really consider it when I first

04:01:51     7            started.    It's something I just picked up

04:01:54     8            around -- at some point.

04:01:58     9      Q     Once you picked up that practice, did you do it

04:02:00    10            with everybody you interviewed that was -- that

04:02:03    11            you apprised them of their rights?

04:02:05    12      A     I don't recall.

04:02:07    13      Q     I guess what I'm trying to get at is was there

04:02:12    14            anything that you had observed in your

04:02:14    15            interactions with Mr. Hadaway or had been

04:02:17    16            informed by other detectives in their

04:02:19    17            interactions with Mr. Hadaway that made you

04:02:21    18            want to make sure he could read?

04:02:25    19      A     When reviewing the statement that I wrote, I

04:02:30    20            had him follow along, and I wanted to make sure

04:02:33    21            that, as he was following along, he could

04:02:35    22            actually read what I was reading to him.

04:02:40    23      Q     Why did you read it to him instead of having

04:02:44    24            Mr. Hadaway read it to himself?

04:02:46    25      A     That's what I do.



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04:02:48     1      Q     You do that for everybody?

04:02:49     2      A     Yes.

04:02:49     3      Q     Why do you do that?

04:02:53     4      A     That's the way I -- that was the way I

04:02:57     5            operated.

04:02:58     6      Q     Any particular reason --

04:02:59     7      A     No.

04:02:59     8      Q     -- for that being the reason why you operated

04:03:02     9            that way?

04:03:02    10      A     That's what I liked to do.      That's what I

04:03:05    11            thought worked good for me.

04:03:07    12      Q     But you didn't have a particular reason, it

04:03:09    13            sounds like?

04:03:10    14      A     No.

04:03:10    15      Q     Because I thought earlier you would give people

04:03:13    16            the option to read it to themselves or have it

04:03:16    17            read to them and then they could -- they'd

04:03:19    18            write down which one happened?

04:03:21    19      A     Well, I wanted to make sure that he was

04:03:23    20            actually reading what I had written down.

04:03:25    21      Q     But did you sometimes give people the option to

04:03:29    22            read the statements you'd written to

04:03:32    23            themselves?

04:03:32    24      A     No.

04:03:33    25      Q     Okay.   Have you, in your career with the



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04:03:42     1            Milwaukee Police Department, ever investigated

04:03:47     2            homicides that had a modus operandi or certain

04:03:57     3            idiosyncratic circumstances that were being

04:03:58     4            investigated as possibly victims of a serial

04:04:03     5            killer?

04:04:03     6      A     That I was involved in?

04:04:05     7      Q     Yes.

04:04:11     8      A     It would have been the prostitution homicides.

04:04:18     9      Q     Other than the prostitution homicides, any

04:04:20    10            other homicides that were investigated for a

04:04:23    11            possible serial killer?

04:04:24    12      A     Not that I can recall.

04:04:26    13      Q     Okay.   And I -- forgive me, but was the Jeffrey

04:04:47    14            Dahmer, was that in your career as a detective?

04:04:50    15      A     Yes.

04:04:50    16      Q     Did you have any involvement in that case?

04:04:52    17      A     I did not.

04:04:55    18      Q     Okay.   I forgot to ask you, did you know who

04:05:03    19            Latonya Cooper is?

04:05:05    20      A     No.

04:05:05    21      Q     How about Denise Ball?

04:05:10    22      A     No.

04:05:10    23      Q     How about Stanley Hueble?

04:05:22    24      A     No.

04:05:22    25      Q     I forgot to ask you this.      Were you trained as



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04:05:32     1            an officer at the Milwaukee Police Department

04:05:34     2            on any duties to disclose exculpatory

04:05:40     3            information?

04:05:42     4      A     No.

04:05:44     5      Q     Okay.   Do you have an understanding of the word

04:06:00     6            "exculpatory" as you sit here today?

04:06:01     7      A     Yes.

04:06:01     8      Q     What's your understanding of it?

04:06:04     9      A     Evidence that could change the way a person is

04:06:09    10            charged or if it can exonerate that person.

04:06:16    11      Q     Do you have an understanding of the word

04:06:21    12            "inculpatory"?

04:06:22    13      A     Not that much.

04:06:23    14      Q     You don't know what it means, inculpatory?

04:06:26    15      A     Inculpatory?

04:06:27    16      Q     Yeah.

04:06:29    17      A     No.

04:06:29    18      Q     Okay.   This is Exhibit 26.

04:06:54    19                       (Exhibit No. 26 was marked.)

04:06:54    20      BY MS. DONNELL:

04:06:58    21      Q     I'm handing you what I've designated as

04:07:01    22            Exhibit 26 to your deposition.       Do you

04:07:03    23            recognize Exhibit 26?      Have you seen it before?

04:07:06    24      A     I've never seen this before.

04:07:07    25      Q     Okay.   This was produced in this litigation by



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04:07:10     1            the City of Milwaukee as MPD SJH1434 through

04:07:17     2            1445, and it includes what appears to be your

04:07:27     3            in-service training curriculum, and then at the

04:07:31     4            last page -- as well as specialized training,

04:07:33     5            okay, for the first pages of it.       Then the back

04:07:35     6            page -- two pages is a Statement [sic] of

04:07:36     7            Wisconsin Law Enforcement Standards Board

04:07:40     8            Transcript of Recruit Course Completion for the

04:07:43     9            Milwaukee Police Academy May 23rd, '77, to

04:07:47    10            September 16th, 1977.

04:07:49    11      A     Yes.

04:07:49    12      Q     Have you seen these last two pages?

04:07:51    13      A     No.

04:07:52    14      Q     And you haven't seen any of the pages in

04:07:54    15            Exhibit 26; is that right?

04:07:56    16      A     No.

04:07:57    17      Q     Okay.   Do you see on -- it has the Bates stamp

04:08:20    18            1443 -- there's a specialized training report

04:08:24    19            for you?   Do you see that?

04:08:36    20      A     Yes.

04:08:36    21      Q     And you see here it listed as a "New Detective

04:08:39    22            Orientation" for 80 hours?

04:08:41    23      A     Correct.

04:08:41    24      Q     And this looks like you completed that between

04:08:44    25            August 31st, 1990, and September 14th, 1990?



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04:08:50     1      A     Yes.

04:08:50     2      Q     So did you attend the detective academy before

04:08:53     3            you became a detective in April '91?

04:08:56     4      A     Yes.

04:08:56     5      Q     And that was because you'd already taken the

04:08:58     6            test and it was -- you were going to be

04:09:00     7            promoted or probably going to be promoted?

04:09:02     8      A     I was going to be promoted, correct.

04:09:05     9      Q     Okay.   And these last two pages -- or the very

04:09:09    10            last page of Exhibit 26 has your -- the hours

04:09:14    11            and subject matter from your police academy

04:09:17    12            training.      Do you see that?

04:09:18    13      A     Oh, I didn't see that.

04:09:19    14      Q     Have you ever seen this before?

04:09:21    15      A     No.

04:09:21    16      Q     Okay.   It looks like you were given various

04:09:37    17            categories of instruction, and then it says the

04:09:39    18            hours completed.     So there was introduction,

04:09:43    19            fundamentals of human behavior, juvenile

04:09:47    20            procedures, police proficiencies, legal

04:09:48    21            principles, investigate -- crime investigation

04:09:51    22            and apprehension, traffic supervision, patrol

04:09:55    23            procedures, and administrative procedures, and

04:09:58    24            conclusion.     Do you see that?

04:09:58    25      A     Yep.    Yes.



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04:10:01     1      Q     And it looks here that you were given in the

04:10:08     2            crime investigation and apprehension, that

04:10:12     3            there was interviewing techniques for two

04:10:16     4            hours.   Do you see that?     It's under Category

04:10:25     5            VI.    I'm sorry, V.   VI, yeah, crime

04:10:28     6            investigation and apprehension.

04:10:34     7      A     Okay.

04:10:35     8      Q     Do you see that little section that says

04:10:37     9            "Interviewing Techniques, Mandatory Hours: 2"?

04:10:41    10      A     Yes.

04:10:41    11      Q     Okay.    But it looks like you -- it says that --

04:10:52    12            we don't know, but it says the total hours

04:10:55    13            completed, and it looks like 84 there, right?

04:10:58    14      A     Yep.    Yes.

04:10:58    15      Q     But we don't know how many of that was for

04:11:01    16            interviewing, right?

04:11:03    17      A     No.

04:11:03    18      Q     Does that refresh your recollection in any way

04:11:05    19            of techniques you were trained on in

04:11:08    20            interviewing at the academy?

04:11:10    21      A     I don't have any current recollection, but this

04:11:14    22            shows that I did attend some training.

04:11:19    23      Q     Yep.    I'm just asking if it refreshes your

04:11:25    24            recollection in any way.

04:11:26    25      A     No.



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04:11:27     1      Q     No.    Okay.   Going back to that May 22nd, 2003,

04:11:50     2            DNA report and the June 5th, 2003, DNA report,

04:11:56     3            Exhibits 21 and 22, do you remember those?

04:11:58     4      A     Yes.

04:11:58     5      Q     Do you, as you sit here today, have a belief

04:12:02     6            about whether that information contained in

04:12:04     7            those reports was exculpatory?

04:12:09     8      A     No.

04:12:11     9      Q     Meaning "No," you don't have a belief, or "No,"

04:12:14    10            it wasn't exculpatory?

04:12:16    11      A     No, I don't have a belief.

04:12:17    12      Q     Okay.    Do you have an understanding of whether

04:12:21    13            that information should have been turned over

04:12:24    14            to the prosecutor, Mark Williams?

04:12:27    15      A     I can't say that it wasn't.

04:12:30    16      Q     Fair.    You can't say one way or the other,

04:12:32    17            right?

04:12:33    18      A     Correct.

04:12:33    19      Q     Because you just don't remember, right?

04:12:36    20      A     Correct.

04:12:36    21      Q     My question's a little bit different.        Do you,

04:12:39    22            as you sit here today, think that information

04:12:42    23            should have been provided to the prosecutor?

04:12:47    24      A     Yes.

04:12:47    25      Q     Why?



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04:12:48     1      A     Because it concerned a case that he had

04:12:54     2            prosecuted.

04:12:55     3      Q     Do you, as you sit here today, have an

04:13:00     4            understanding that the information contained in

04:13:02     5            those two DNA reports was exculpatory

04:13:08     6            information for Mr. Hadaway?

04:13:12     7      A     No.

04:13:13     8      Q     You don't think it was exculpatory as to

04:13:17     9            Mr. Hadaway?

04:13:18    10      A     No.

04:13:18    11      Q     How about with respect to Mr. Ott?

04:13:20    12      A     No.

04:13:20    13      Q     And can you explain for me why your answer is

04:13:25    14            "No," that information is not exculpatory as to

04:13:27    15            Mr. Hadaway and his conviction for the robbery

04:13:32    16            of Ms. Payne?

04:13:34    17      A     There was no indication that either one of them

04:13:38    18            had sexually -- had any sexual contact with the

04:13:42    19            victim.

04:13:45    20      Q     Okay.   And do you think -- well, so based on

04:14:00    21            that, you think that that -- based on your

04:14:03    22            belief that there was no evidence that

04:14:05    23            Mr. Hadaway or Mr. Ott had sexual contact with

04:14:08    24            Ms. Payne, then you don't think those DNA

04:14:10    25            reports were exculpatory as to them; is that



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04:14:15     1            right?

04:14:15     2      A     Correct.

04:14:15     3      Q     Any other reason?

04:14:17     4      A     No.

04:14:18     5      Q     Do you remember the Chaunte Ott case?

04:14:23     6      A     Yes.

04:14:24     7      Q     And other than communications with your

04:14:26     8            attorneys, do you have an understanding of how

04:14:29     9            that case was resolved?

04:14:32    10      A     Yes.

04:14:32    11      Q     And what's your understanding of how the Ott

04:14:35    12            case was resolved?

04:14:36    13      A     The City paid him.

04:14:38    14      Q     Okay.    Do you have any opinions or feelings

04:14:43    15            about that?

04:14:45    16      A     Yes.

04:14:45    17      Q     What's that?

04:14:46    18      A     I feel Chaunte Ott is guilty, and I feel Sam

04:14:49    19            Hadaway is guilty.

04:14:51    20      Q     Okay.    And can you tell me, as you sit here

04:14:57    21            today, what you base your belief on that Sam

04:15:01    22            Hadaway is guilty of the murder of Ms. Payne?

04:15:05    23      A     I didn't say he's guilty of the murder.

04:15:08    24      Q     I'm sorry.

04:15:09    25      A     He's guilty of the attempted robbery of her.



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04:15:12     1      Q     Okay.   And what's that based upon?

04:15:14     2      A     Based upon his own statement, his own words.

04:15:20     3      Q     And you understand the allegations in this case

04:15:25     4            is that Mr. Hadaway is alleging that he was

04:15:28     5            coerced into providing that statement and that

04:15:31     6            it was a false and fabricated statement, right?

04:15:34     7      A     Yes.

04:15:35     8      Q     Okay.   And you -- well, how about Mr. Ott?        Do

04:15:44     9            you think Mr. Ott, as you sit here today, is

04:15:45    10            guilty of the murder of Jessica Payne?

04:15:47    11                         MS. GEHLING:   Objection; relevance.

04:15:48    12            That -- that case is over.      That has nothing to

04:15:51    13            do with this case.     This case is about Sam

04:15:54    14            Hadaway, not about Chaunte Ott.       He literally

04:15:56    15            just said it was settled, so what does it

04:15:58    16            matter what he thinks about it?

04:15:58    17                         MS. DONNELL:   But, yes, you

04:15:59    18            understand relevance isn't an objection, so he

04:16:00    19            said he --

04:16:00    20                         MS. GEHLING:   I do, but it doesn't

04:16:01    21            have anything to do with this case.

04:16:03    22                         MS. DONNELL:   Well, it does --

04:16:04    23                         MS. GEHLING:   It does not relate to

04:16:06    24            any admissible evidence because that case is

04:16:08    25            over and his feelings on what Chaunte Ott's



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04:16:12     1            guilt is have nothing to do with this civil

04:16:13     2            case -- either civil case at all.

04:16:14     3                        MS. DONNELL:    Okay.   Well, I'm going

04:16:15     4            to ask the question, and if you want to make

04:16:18     5            your record, you can.

04:16:18     6                        MS. GEHLING:    That's fine.

04:16:19     7                        MS. DONNELL:    Okay.

04:16:19     8      BY MS. DONNELL:

04:16:19     9      Q     So, again, you testified earlier that you think

04:16:21    10            Mr. Ott is guilty of the murder of Ms. Payne,

04:16:24    11            right?

04:16:24    12      A     Yes.

04:16:25    13      Q     And what is that based upon?

04:16:27    14      A     Based on the statement of Sam Hadaway.

04:16:33    15      Q     The statement that Sam Hadaway provided to you

04:16:35    16            on October 27th, 1995?

04:16:38    17      A     Correct.

04:16:38    18      Q     Anything else?

04:16:43    19      A     Some of Richard Gwin's statement also stating

04:16:49    20            that Ott was with them in that location.

04:16:53    21      Q     Anything else?

04:16:56    22      A     Nope.

04:16:56    23      Q     Okay.

04:17:15    24                        MS. DONNELL:    Okay.   Thank you for

04:17:16    25            your time today.     I don't have any questions at



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04:17:18     1            this time, but I don't know if your attorney

04:17:20     2            has questions that I might want to follow up

04:17:22     3            on.

04:17:22     4                                EXAMINATION

04:17:22     5      BY MS. GEHLING:

04:17:23     6      Q     I just have one question about Exhibit 12, if

04:17:26     7            you can take it out, and it could be that I'm

04:17:27     8            remembering your questions -- Attorney

04:17:32     9            Donnell's questions incorrectly, but I -- when

04:17:33    10            you were talking about it, I recall her asking

04:17:38    11            if just the signatures were -- well, the

04:17:42    12            handwritten statement was written by you,

04:17:44    13            correct?

04:17:44    14      A     Yes.

04:17:44    15      Q     And then she asked if the only other

04:17:47    16            handwriting on the -- on the paper was the

04:17:50    17            signatures of Mr. Hadaway.      Do you remember

04:17:53    18            that --

04:17:53    19      A     Yes.

04:17:53    20      Q     -- conversation?

04:17:54    21      A     Yes.

04:17:54    22      Q     And you answered "Yes," right?

04:17:56    23      A     Yes.

04:17:56    24      Q     I just want to make sure, but there are also

04:17:59    25            initials at the bottom of the page, "SH."         Did



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04:18:02     1            you write those?

04:18:03     2      A     No, Mr. Hadaway did.

04:18:04     3      Q     Okay.   And there are a couple corrections on

04:18:11     4            Page -- like, at 3 of the -- Page 3 of 6.         So

04:18:20     5            it's marked -- Bates marked 744 is the ending.

04:18:24     6      A     Yes.

04:18:24     7      Q     There's a correction on the fourth line.

04:18:27     8      A     Correct.

04:18:28     9      Q     I see there are two initials, two sets of

04:18:33    10            initials.

04:18:34    11      A     The "CB" are mine, and the "SH" are Hadaway's.

04:18:41    12      Q     Okay.   And then is that similar for the

04:18:45    13            corrections that we see on Page 4?        There are

04:18:49    14            one, two, three of them.

04:18:53    15      A     Yes.

04:18:53    16      Q     I believe.

04:18:55    17      A     That would be correct.

04:18:56    18      Q     And the same for Page 5?      There's one -- one

04:19:04    19            that kind of goes from one line to the next.

04:19:06    20      A     Yes.

04:19:06    21      Q     Okay.   And then -- and then the signatures that

04:19:13    22            appear on Page 1 and 6 are Mr. Hadaway's?

04:19:18    23      A     Correct.

04:19:18    24      Q     Okay.

04:19:19    25                         MS. GEHLING:   That's all.    I just



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04:19:20     1            wanted to make clear to everybody what was

04:19:23     2            written on there.

04:19:24     3                         MS. DONNELL:   I don't have any

04:19:24     4            further questions.     Do you want to reserve

04:19:28     5            signature?

04:19:29     6                         MS. GEHLING:   Yes, please.

04:19:31     7                         MS. DONNELL:   Okay.

04:19:31     8                         THE VIDEOGRAPHER:    Going off the

04:19:32     9            record at 4:19.

            10                  (Proceedings concluded at 4:19 p.m.)

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  1      STATE OF WISCONSIN  )
                             ) SS:
  2      COUNTY OF MILWAUKEE )

  3

  4

  5                     I, SAMANTHA J. SHALLUE, a Registered

  6      Professional Reporter and Notary Public in and for

  7      the State of Wisconsin, do hereby certify that the

  8      above deposition of CARL BUSCHMANN was recorded by

  9      me on April 7, 2021, and reduced to writing under my

 10      personal direction.

 11                     I further certify that I am not a

 12      relative or employee or attorney or counsel of any

 13      of the parties, or a relative or employee of such

 14      attorney or counsel, or financially interested

 15      directly or indirectly in this action.

 16                     In witness whereof I have hereunder set

 17      my hand and affixed my seal of office at Milwaukee,

 18      Wisconsin, this 15th day of April, 2021.

 19

 20

 21                            _________________________________
                                          Notary Public
 22                            In and for the State of Wisconsin

 23

 24
         My Commission Expires:      June 3, 2023.
 25



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  1      STATE OF               )
                                ) SS:
  2      COUNTY OF              )

  3

  4                     I, CARL BUSCHMANN, do hereby certify

  5      that I have read the foregoing transcript of

  6      proceedings, taken on April 7, 2021, at Brown &

  7      Jones Reporting, Inc., 735 North Water Street, Suite

  8      M185, Milwaukee, Wisconsin, and the same is true and

  9      correct, except for the list of corrections noted on

 10      the annexed page.

 11

 12                     Dated at ______________________________

 13      this _______day of ____________________, 2021.

 14

 15

 16                                 _________________________

 17                                        CARL BUSCHMANN

 18

 19      Subscribed and sworn to before me
         this_________day of ___________ 2021.
 20

 21

 22      _________________________
         Notary Public
 23

 24
         My Commission Expires:
 25



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